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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                          x
CITY OF WESTLAND POLICE AND FIRE :            Civil Action No. 1:12-cv-00256-LAK
RETIREMENT SYSTEM, Individually and on :
Behalf of All Others Similarly Situated,  :   CLASS ACTION
                                          :
                              Plaintiff,  :   AMENDED CLASS ACTION COMPLAINT
                                          :   FOR VIOLATION OF THE FEDERAL
       vs.                                :   SECURITIES LAWS
                                          :
METLIFE INC., et al.,                     :
                                          :
                              Defendants.
                                          :
                                          x   DEMAND FOR JURY TRIAL




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I.         INTRODUCTION AND OVERVIEW

           1.   This is a securities class action alleging violations of the anti-fraud provisions of the

federal securities laws on behalf of all purchasers of the common stock of MetLife, Inc. (“MetLife”

or the “Company”) between February 2, 2010 and October 6, 2011, inclusive (the “Class Period”).

The claims asserted herein are brought against MetLife and certain of its current and former officers

and directors, including C. Robert Henrikson (“Henrikson”), former Chairman of the Board of

Directors (the “Board”) and former President and Chief Executive Officer (“CEO”), William J.

Wheeler (“Wheeler”), the Company’s current President of the Company’s Americas Division and

former Executive Vice President and Chief Financial Officer (“CFO”) and William Mullaney, the

Company’s former President of U.S. Business and several other key officers and directors as set

forth below (collectively, the “Individual Defendants”).

           2.   This action is also brought on behalf of all persons who purchased or acquired

MetLife common stock pursuant or traceable to the Company’s August 3, 2010 public offering of 75

million shares of its common stock and MetLife’s March 4, 2011 public offering of 68.5 million

shares of its common stock, respectively (the “Offerings”).

           3.   MetLife is a leading global provider of insurance, annuities and employee benefit

programs, serving 90 million customers in over 60 countries. According to the Company, MetLife

holds leading market positions in the United States, Japan, Latin America, Asia Pacific, Europe and

the Middle East. The Company is headquartered in New York, New York and trades on the New

York Stock Exchange (“NYSE”) under ticker symbol “MET.” During the Class Period, the

Company is organized into five business segments: Insurance Products, Retirement Products,

Corporate Benefit Funding and Auto & Home (collectively, “U.S. Business”) and International.




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           4.      MetLife has sold and serviced insurance products for more than one hundred years in

the United States. The Company has, in the past, built a reputation based in part upon marketing

itself as the Company that “pays” with a catchy slogan, “GET MET IT PAYS.” A significant

amount of the Company’s operating income and investment income is inextricably intertwined with

historical processes, procedures and policies for investigation and paying claims. For example, the

Company has engaged in the use of the Social Security Administration’s Death Master File

(“SSA-DMF”) since the 1980s. The SSA-DMF is a government-maintained database of all deaths

recorded in the United States, including demographic information about decedents, including, for

example, their social security numbers. The SSA-DMF is described on the National Technical

Information Service website as providing information to help government agencies and private

organizations and individuals verify and track death records as follows:

           Verify Death

                   The Death Master File, available as an online search application or as raw
           data files, is important for death verification. Medical researchers, hospitals,
           oncology programs all need to track former patients and study subjects. Investigative
           firms use the data to verify the death of persons, in the course of their investigations.
           Pension funds, insurance organizations, Federal, State and Local governments and
           others responsible for payments to recipients/retirees all need to know if they might
           be sending checks to deceased persons. Individuals may search for loved ones, or
           work toward growing their family trees. Professional and amateur genealogists can
           search for missing links.

           Data File

                   The Death Master File (DMF) from the Social Security Administration (SSA)
           contains over 89 million records of deaths that have been reported to SSA. This file
           includes the following information on each decedent, if the data are available to the
           SSA: social security number, name, date of birth, date of death, state or country of
           residence (2/88 and prior), ZIP code of last residence, and ZIP code of lump sum
           payment. The SSA does not have a death record for all persons; therefore, SSA does
           not guarantee the veracity of the file. Thus, the absence of a particular person is not
           proof this person is alive.



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           5.   MetLife, since the 1980s, has accessed the SSA-DMF regularly or even

systematically for purposes beneficial to its bottom line. For example, the Company had utilized the

SSA-DMF in order to determine, among other things, whether its annuity policyholders have died so

that the Company can immediately stop making annuity payments to deceased policyholders. The

Company has utilized the SSA-DMF as a valuable and, in fact, reliable tool in that regard and as a

practice, once an annuitant was identified in the SSA-DMF, the Company required no further proof

of death, i.e., a death certificate, in order to stop annuity payments. In fact, the Company, through

high level executives, has conceded that it views identifications in the SSA-DMF as “substantial

evidence” that someone is deceased.

           6.   Conversely, however, notwithstanding its utilization of the SSA-DMF to stop

payments to deceased annuitants, the Company did not utilize the SSA-DMF, or information known

to the Company through its utilization of the SSA-DMF, to identify and locate policyholder

beneficiaries, adjust Company reserves or inform state authorities that it was in possession of

unclaimed property subject to escheatment pursuant to state unclaimed property laws.

           7.   Further, even when the Company learned of the death of a policyholder and

confirmed the death through its in-house death indices or through the use of the SSA-DMF, it would

not immediately recognize the death as a liability, but instead, would only begin an investigation into

the apparent proof of death. These processes and procedures had the effect of maintaining monies

and accounts that could have and likely should have been paid out to beneficiaries of its

policyholders or instead escheated to the relevant state authorities after the “dormancy period”

expired.

           8.   As a result of these practices and procedures, during the Class Period, defendants

caused the Company to issue materially false and misleading statements concerning the Company’s

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current and future financial condition and its potential liability to policyholders, their beneficiaries or

relevant state authorities for millions of dollars in benefits that should have been paid out to

policyholders or escheated to the states long ago and the Company’s exposure to claims of state and

federal law violations.

           9.    Due in part to maintaining funds that properly belong to policyholders’ beneficiaries

or state unclaimed property funds during the Class Period, the Company reported strong revenue

and income and operating earnings as a result of the Company’s purportedly strong underwriting

and investing activities, while failing to disclose that reported income was materially overstated due

to the Company’s failure to account and reserve for known liabilities associated with policyholders

who had died long ago. For example, throughout the Class Period, the Company bragged to Wall

Street securities analysts and investors that operating earnings, underwriting and mortality results

were a product of strong leadership and a discipline approach to risk and expense managements:

                Insurance Products operating earnings were $400 million, up 55% due in large part
                 to higher net investment income, solid underwriting results in both group life and
                 individual life . . . .

                From an earnings perspective, results came in considerably ahead of expectations,
                 driven mostly by its individual life insurance operations where the company
                 benefited from favorable claims trends.

                The growth we’re seeing in the bottom line demonstrates the discipline we have
                 maintained in our underwriting, pricing, risk management and expense control.

                We experienced excellent mortality results in our group life business due to a
                 decrease in severity, as well as favorable reserve refinements in the current year.

                Operating earnings grew by 5%, reflecting solid mortality results.

           10.   The Company also falsely reported that its methods for setting loss reserves, and

specifically reserves for claims that were incurred but not reported (“IBNR”), were in accordance

with Generally Accepted Accounting Principles (“GAAP”) and applicable regulatory standards. For


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example, during the Class Period, the Company made positive statements about quarterly and annual

results as follows:

                         We compute the amounts for actuarial liabilities reported in our
                         consolidated financial statements in conformity with accounting
                         principles generally accepted in the United States of America (“GAAP”).

                        Such liabilities are established based on methods and underlying
                         assumptions in accordance with GAAP and applicable actuarial
                         standards. Principal assumptions used in the establishment of liabilities for
                         future policy benefits are mortality . . . .

                        Assumptions as to mortality and persistency are based upon the
                         Company’s experience when the basis of the liability is established.

           11.   In July 2010, allegations surfaced that MetLife had for years retained monies

belonging to policyholder beneficiaries in its retained asset account (also known as the Total Control

Account or “TCA”), and the New York State Attorney General announced that he had begun a major

fraud probe into whether the Company had routinely, and in violation of relevant law and insurance

regulations, retained monies that it knew it had no right to in order to profit from the accumulation

and investment of such monies and avoid paying beneficiaries or escheating monies to the relevant

state authorities.

           12.   Notwithstanding these allegations and the knowledge that the Company was retaining

monies in its retaining funds properly belonging to policyholder beneficiaries or that should have

been escheated to the states, the Company continued to report false strong financial results, including

operating earnings, purportedly based upon strong underwriting and results in insurance products

and completed two public offerings of MetLife common stock, raising more than $4 billion.

           13.   With respect to whether the Company timely and appropriately paid policyholder

beneficiaries and escheated monies to the states, the Company falsely stated as follows:




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                         “Our priority is to pay insurance benefits to those who are entitled to them
                          . . . . When beneficiaries cannot be located, we turn those benefits over to
                          the state.”

           14.   In addition, the Company in its financial statements filed with the U.S. Securities and

Exchange Commission (“SEC”) claimed that allegations of fraud or violations of law related to its

retained asset accounts were wholly without merit and, in any event, would not affect its financial

statements taken as a whole:

                         “Management believes that any allegations that information about the
                          TCA [Total Control Account] is not adequately disclosed or that the
                          accounts are fraudulent or otherwise violate state or federal laws are
                          without merit.”

           15.   As a result of the Company’s misrepresentations concerning the strength of its

business, including reported operating earnings, and the lack of merit related to ongoing regulatory

investigations, the Company’s stock traded at a Class Period high of $48.72 per share on February 7,

2011.

           16.   On July 28, 2011, the Company issued its financial results for the second quarter of

2011 (“2Q11”), reporting net income of $1.2 billion or $1.13 per share and operating earnings of

$1.3 billion or $1.24 per share. The 2Q11 results were purportedly the result of “[e]xcellent

underwriting results” in group life and individual life products.

           17.   After the July 28, 2011 announcement of its 2Q11 financial results, the Company’s

stock price spiked from a close of $39.81 on July 28, 2011 to a close of $41.21 on July 29, 2011, on

increased trading volume.

           18.   In truth, defendants’ representations in concerning: (i) reported financial results

during the Class Period, in particular, reported income and overall segment operating earning; (ii)

strong or disciplined underwriting results and expense management; and (iii) reported mortality



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results and experience were each knowingly or recklessly false when made for the following

reasons:

                 (a)    The Company failed to account for known incurred liabilities (deaths of

policyholders that the Company actually knew of or had reason to know of), causing the Company’s

income and operating earnings to be materially misstated;

                 (b)    Through the prior utilization of the SSA-DMF, that the Company was in

possession of or had access to information that was strong evidence of death of policyholders and

knew that the Company’s processes and procedures were designed or implemented to largely ignore

that evidence, escheating monies to state agencies or increasing reserves;

                 (c)    Underwriting results in both group life and individual life were materially

misstated due to the Company’s known failure to identify, account for and pay beneficiaries of

policyholders the Company actually knew had died or had reason to know had died;

                 (d)    But for the failure to utilize the SSA-DMF to identify deceased policyholders

and recognize known incurred liabilities, paid beneficiaries or properly escheated monies to the

states as required by state law and insurance regulations, the Company would have reported financial

results materially different than those reported during the Class Period; and

                 (e)    The Company’s financial statements failed to comply with and make

disclosures required by GAAP and SEC disclosures rules.

           19.   Defendants’ knowledge or reckless disregard of the material falsity of the statements

alleged herein have been largely admitted through a combination of disclosures, including: (i) the

testimony of top MetLife executives – Todd Katz (“Katz”), Executive Vice President U.S. Business

Insurance Products and Frank Cassandra (“Cassandra”), Senior Vice President Insurance Products

Financial; (ii) $143 million charge to earnings for account for liabilities in excess of reserves

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identified as a result of utilizing the SSA-DMF; and (iii) settlement with state regulators valued at

$500 million, including detailed corporate reforms designed to enhance usage of the SSA-DMF to

refine processes for identifying policyholder beneficiaries and escheatment of unclaimed property to

states.

           20.    On August 5, 2011, only one week after the July 28, 2011 announcement of its 2Q11

results, the Company filed with the SEC its Form 10-Q for the period ended June 30, 2011. The

Company disclosed that:

                           The regulatory investigation into its death benefits practices had expanded
                            to more than 30 jurisdictions;

                           The investigations could result in additional escheatment to the states;

                           The Company could be subjected to administrative penalties; and

                           The costs related to said investigations and procedures could be
                            “substantial.”

           21.    In addition to the disclosures above, the Form 10-Q no longer asserted denials that

allegations concerning the Company’s retained asset accounts and potential violations of state and

federal laws were “without merit”:

                    Unclaimed Property Inquiries. More than 30 U.S. jurisdictions are auditing
           MetLife, Inc. and certain of its affiliates for compliance with unclaimed property
           laws. . . . It is possible that the audits and related activity may result in additional
           payments to beneficiaries, additional escheatment of funds deemed abandoned
           under state laws, administrative penalties, and changes to the Company’s
           procedures for the identification and escheatment of abandoned property. The
           Company is not currently able to estimate the reasonably possible amount of any
           such additional payments or the reasonably possible cost of any such changes in
           procedures, but it is possible that such costs may be substantial.

           22.    The August 5, 2011 disclosure in MetLife’s Form 10-Q caused the Company’s stock

price to decline 11% between Friday, August 5, 2011, and Monday, August 8, 2011. By close of

market hours on August 8, 2011, MetLife stock traded down from a close of $36.90 on Thursday,

August 4, 2011, to a close of $32.74 on Monday, August 8, 2011.
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           23.    On October 6, 2011, the Company filed with the SEC a Form 8-K quantifying the

impact of the regulatory investigations reported on August 5, 2011, stating among other things that it

would take at least a $115 million after-tax charge to increase its reserves in connection with its use

of the SSA-DMF to identify deceased policyholders:

                  MetLife, Inc. . . . has identified the following non-recurring charges that it
           expects to incur for the third quarter of 2011:

                  (1)     The Company expects to incur a $115 million to $135 million, after
                  tax, charge to adjust reserves in connection with the Company’s use of the
                  U.S. Social Security Administration’s Death Master File and similar
                  databases to identify certain group life insurance certificates, individual life
                  insurance policies and other contracts where the covered person may be
                  deceased, but a claim has not yet been presented to the Company.

           24.    On this news reported on October 6, 2011, the Company’s stock price declined from

$30.69 on October 6, 2011 to $28.80 on October 7, 2011.

II.        JURISDICTION AND VENUE

           25.     The claims asserted herein arise under and pursuant to §§11, 12(a)(2) and 15 of the

Securities Act [15 U.S.C. §§77k, 77l(a)(2) and 77o], §§10(b) and 20(a) of the Exchange Act [15

U.S.C. §§78j(b) and 78t(a)] and Rule 10b-5 promulgated thereunder [17 C.F.R. §240.10b-5].

           26.    This Court has jurisdiction over this action pursuant to §22 of the Securities Act [15

U.S.C. §77v], §27 of the Exchange Act [15 U.S.C. §78aa] and 28 U.S.C. §§1331 and 1337.

           27.    Venue is properly laid in this District pursuant to §22 of the Securities Act, §27 of the

Exchange Act and 28 U.S.C. §1391(b) and (c). The acts and conduct complained of herein occurred

in substantial part in this District. MetLife’s headquarters are located in New York, New York. The

Company’s shares are traded on the New York Stock Exchange (“NYSE”), which is based in this

District, and the Underwriter Defendants (defined below) maintain executive offices in this District.




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           28.   In connection with the acts and conduct alleged in this complaint, defendants, directly

or indirectly, used the means and instrumentalities of interstate commerce, including the mails,

telephonic communications and the facilities of the NYSE.

III.       THE PARTIES

           29.   Lead Plaintiff Central States, Southeast and Southwest Areas Pension Fund (“Central

States”) purchased MetLife common stock during the Class Period as set forth in the certification

previously filed with the Court and was damaged thereby.

           30.   Defendant MetLife is a leading global provider of insurance, annuities and employee

benefit programs, serving 90 million customers in over 60 countries. According to the Company,

MetLife holds leading market positions in the United States, Japan, Latin America, Asia Pacific,

Europe and the Middle East. The Company is headquartered in New York, New York and trades on

the NYSE under ticker symbol “MET.”

           31.   Defendant C. Robert Henrikson was, at all relevant times during the Class Period,

until his retirement on May 1, 2011, President, CEO and Chairman of the Board of Directors of the

Company. In addition, Henrikson continued to serve as the Company’s Chairman of the Board until

January 1, 2012. During the Class Period, Henrikson was a Director and Chairman of the American

Council of Life Insurers (“ACLI”), a lobbying group for the insurance industry. During the Class

Period, Henrikson was one of the key spokespersons for the Company. Henrikson was quoted in

financial press releases published during the Class Period and led or participated in multiple

Company hosted conference calls for analysts and investors during which false and misleading

statements alleged herein were made. During fiscal years 2009, 2010 and 2011, Henrikson was

compensated $11.6 million, $13.8 million and $17.8 million, respectively.




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           32.   Defendant William J. Wheeler is currently President of the Company’s Americas

Division and has held that position since November 2011. Prior to his appointment as President,

Wheeler served as Executive Vice President and CFO of the Company and was responsible for

overseeing financial reporting risk management corporate actuarials. Wheeler was credited for

architecting the acquisition of the American Life Insurance Company (“ALICO”). During the Class

Period, Wheeler participated in multiple Company hosted conference calls for analysts and investors

during which false and misleading statements alleged herein were made. For fiscal years 2009, 2010

and 2011, Wheeler was compensated $5.9 million, $4.9 million and $8.9 million, respectively.

           33.   Defendant Peter M. Carlson (“Carlson”) was, at all relevant times during the Class

Period, Executive Vice President, Finance Operations and Chief Accounting Officer of the

Company. Carlson executed certain Forms 10-Q and 10-K and other Company documents which

were filed with the SEC during the Class Period.

           34.   Defendant Steven A. Kandarian (“Kandarian”) is and has been since May 1, 2011, the

Company’s President and CEO. Prior to May 1, 2011, Kandarian served as the Company’s Chief

Investment Officer. As Chief Investment Officer, Kandarian oversaw the Company’s general

account portfolio. For fiscal years 2009, 2010 and 2011, Kandarian was compensated $5.4 million,

$4.1 million and $10.6 million, respectively. Kandarian participated in multiple Company hosted

conference calls during the Class Period during which false and misleading statements alleged herein

were made.

           35.   Defendant William J. Mullaney (“Mullaney”) was, at all relevant times during the

Class Period, President of U.S. Business. Mullaney participated in multiple Company hosted

conference calls for analysts and investors during which false and misleading statements alleged

herein were made. Mullaney resigned from the Company in or around November 2011. For fiscal

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years 2009, 2010 and 2011, Mullaney was compensated $3.5 million, $4.6 million and $10.3

million, respectively.

           36.   The defendants named in ¶¶30-35 are referred to herein as the “Individual

Defendants.”

           37.   Defendant Sylvia Mathews Burwell (“Burwell”) is and was a member of the Board of

Directors. Burwell has been a Director since 2004. During the Class Period, Burwell served on the

Company’s Governance and Corporate Responsibility Committee of the Board of Directors.

           38.   Defendant Eduardo Castro-Wright (“Wright”) was a member of the Board of

Directors during the Class Period and was a Director since 2008 until he resigned his position on

April 24, 2012. During the Class Period, Wright served on the Governance and Corporate

Responsibility and Compensation Committees of the Board of Directors.

           39.   Defendant Cheryl W. Grisé (“Grisé”) is and was a member of the Board of Directors

at all relevant times during the Class Period and has been a Director of the Company since February

2004. During the Class Period, Grisé served on the Audit, Compensation and Governance and

Corporate Responsibility Committees of the Board of Directors.

           40.   Defendant R. Glenn Hubbard (“Hubbard”) is and was a member of the Board of

Directors at all relevant times during the Class Period and has been a Director since 2007. During

the Class Period, Hubbard served on the Finance and Risk Committee of the Board of Directors.

           41.   Defendant John M. Keane (“Keane”) is and was a member of the Board of Directors

at all relevant times during the Class Period and has been a Director since 2003. During the Class

Period, Keane served on the Audit and Governance and Corporate Responsibility Committees of the

Board of Directors.




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           42.   Defendant Alfred F. Kelly, Jr. (“Kelly”) is and was a member of the Board of

Directors at all relevant times during the Class Period and has been a Director of the Company since

2009. During the Class Period, Kelly served on the Audit, Compensation and Finance and Risk

Committees of the Board of Directors.

           43.   Defendant James M. Kilts (“Kilts”) is and was a member of the Board of Directors at

all relevant times during the Class Period and has been a Director of the Company since 2005.

During the Class Period, Kilts served on the Compensation Committee of the Board of Directors.

           44.   Defendant Catherine R. Kinney (“Kinney”) is and was a member of the Board of

Directors at all relevant times during the Class Period and has been a Director of the Company since

2009. During the Class Period, Kinney served on the Audit and Finance and Risk Committees of the

Board of Directors.

           45.   Defendant Hugh B. Price (“Price”) is and was a member of the Board of Directors at

all relevant times during the Class Period and has been a Director of the Company since 1999.

During the Class Period, Price served on the Audit and Compensation Committees of the Board of

Directors.

           46.   Defendant David Satcher (“Satcher”) is and was a member of the Board of Directors

at all relevant times during the Class Period and has been a Director of the Company since 2007.

During the Class Period, Satcher served on the Executive and Governance and Corporate

Responsibility Committees of the Board of Directors.

           47.   Defendant Kenton J. Sicchitano (“Sicchitano”) is and was a member of the Board of

Directors at all relevant times during the Class Period and has been a Director of the Company since

2003. During the Class Period, Sicchitano served on the Audit and Compensation Committees of

the Board of Directors.

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           48.   Defendant Lulu C. Wang (“Wang”) is and was a member of the Board of Directors at

all relevant times during the Class Period and has been a Director of the Company since 2008.

During the Class Period, Wang served on the Finance and Risk Committees of the Board of

Directors.

           A.    Underwriter Defendants

           49.   Defendant Goldman Sachs & Co. (“Goldman”) is a financial holding company, which

provides global banking, securities, underwriting and investment management services in the United

States and internationally. Goldman also provides debt and equity underwriting, mergers and

acquisitions and corporate restructuring advisory services, securities dealing and brokerage, and

trade execution services for large-market companies and institutional investors.

           50.   Defendant Citigroup Global Markets Inc. (“CGMI”) is the brokerage and securities

arm of banking Citigroup. CGMI provides investment banking services to corporate, institutional

and government entities including underwriting, structuring, sales and trading across such asset

classes as equities, corporate, government and agency bonds, and mortgage-backed securities.

           51.   Defendant Credit Suisse Securities (USA) LLC is an investment bank in the United

States. Credit Suisse Securities was formed in 1997 and is based in New York City, and operates as

a subsidiary of Credit Suisse (USA), Inc. Credit Suisse Securities (USA) LLC provides securities

underwriting, sales and trading, investment banking, private equity, alternative assets and financial

advisory services.

           52.   Defendant Wells Fargo Securities, LLC provides banking services in the United

States including services related to public offering private placements, debt offering and

underwriting. Wells Fargo Securities, LLC is headquartered in San Francisco, California.




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           53.   Defendant BofA Merrill Lynch, Pierce, Fenner & Smith Incorporated provides

securities, brokerage and dealership services as well as investment advisory services.

           54.   Defendant HSBC Securities (USA) Inc. (“HSBC”) is an investment banking firm that

provides financial advisory services. HSBC’s services include mergers and acquisitions, capital

raising and operates as a subsidiary of HSBC Investments (North America) Inc.

           55.   The defendants referenced above in ¶¶49-54 are referred to herein as “Underwriter

Defendants.”

IV.        CONTROL PERSONS

           56.   Because of the Individual Defendants’ executive management positions at the

Company, they had access to, and knew of, the adverse undisclosed information about its business,

operations, products, operational trends, financial statements, markets and present and future

business prospects via access to internal corporate documents (including the Company’s operating

plans, budgets and forecasts, and reports of actual operations compared thereto), conversations and

connections with other corporate officers and employees, attendance at management and/or Board

meetings and committees thereof, and via reports and other information provided to them in

connection therewith.

           57.   It is appropriate to treat the Individual Defendants as a group for pleading purposes

and to presume that the false, misleading and incomplete information conveyed in the Company’s

public filings, press releases and other publications as alleged herein are the collective actions of the

narrowly defined group of defendants identified above. Each of the above officers of MetLife, by

virtue of their high-level positions with the Company: (i) directly participated in the management of

the Company; (ii) was directly involved in the day-to-day operations of the Company at the highest

levels; and (iii) was privy to confidential proprietary information concerning the Company and its


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business, operations, products, growth, financial statements and financial condition, as alleged

herein. Said defendants: (i) were involved in drafting, producing, reviewing and/or disseminating

the false and misleading statements and information alleged herein; (ii) were aware, or recklessly

disregarded, that the false and misleading statements were being issued regarding the Company; and

(iii) approved or ratified these statements, in violation of the federal securities laws.

           58.   As officers and controlling persons of a publicly held Company whose common stock

was, and is, registered with the SEC pursuant to the Exchange Act, traded on the NYSE and

governed by the provisions of the federal securities laws, the Individual Defendants each had a duty

to promptly disseminate accurate and truthful information with respect to the Company’s financial

condition and performance, growth, operations, financial statements, business, products, markets,

management, earnings, and present and future business prospects; and to correct any previously

issued statements that had become materially misleading or untrue, so that the market prices of the

Company’s publicly traded securities would be based upon truthful and accurate information. The

Individual Defendants’ misrepresentations and omissions during the Class Period violated these

specific requirements and obligations.

           59.   As alleged above, the Individual Defendants: (i) participated in the drafting,

preparation and/or approval of the various press releases, shareholder reports, SEC filings and other

public statements/communications complained of herein; (ii) were aware of, or recklessly

disregarded, the misstatements contained therein and omissions therefrom; and (iii) were aware of

their materially false and misleading nature. Each of the Individual Defendants was provided with

copies of the documents alleged herein to be misleading prior to or shortly after their issuance and/or

had the ability and/or opportunity to prevent their issuance or cause them to be corrected. In fact, the

Individual Defendants certified the accuracy of the quarterly results, and consented to the content of

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the financials. Accordingly, each of the Individual Defendants is responsible for the accuracy of the

public reports and releases detailed herein, and is therefore primarily liable for the representations

contained therein.

           60.   Because of their Board membership and/or executive and managerial positions with

MetLife, each of the Individual Defendants had access to the adverse undisclosed information about

MetLife’s business, prospects and financial condition as particularized herein, and knew (or

recklessly disregarded) that these adverse facts rendered the positive representations made by or

about MetLife and its business issued or adopted by the Company materially false and misleading.

           61.   In particular, pursuant to the Audit Committee Charter, the members of the Board

who were also members of the Audit Committee of the Board, part of their duties, were to monitor:

(i) the Company’s accounting and financial reporting processes; (ii) the audits of the Company’s

financial statements; (iii) the adequacy of the Company’s internal control over financial reporting;

and (iv) the Company’s compliance with legal and regulatory requirements. With respect to

compliance with state and regulatory requirements, the Audit Committee was required to do the

following:

                 (a)    Periodically discuss the Company’s guidelines and policies with respect to the

process by which the Company undertakes risk assessment and risk management;

                 (b)    Review with management, the internal auditor and the independent auditor,

any correspondence with regulators or governmental agencies and any employee complaints or

published reports that are brought to its attention that raise material issues regarding the Company’s

financial statements or accounting policies; and

                 (c)    Receive reports from the Company’s General Counsel concerning significant

legal and regulatory matters.

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           62.      During fiscal year 2009 (“FY09”), defendants Sicchitano (Chairman of the Audit

Committee), Burwell, Grisé, Keane, Kelly, Kinney and Price served on the Company’s Audit

Committee and issued a report recommending that the audited consolidated financial results be

included in the Form 10-K for the fiscal year ended December 31, 2009.

           63.      During FY10, defendants Sicchitano, Grisé, Keane, Kelly, Kinney and Price served

on the Company’s Audit Committee and issued a report recommending the inclusion of the FY10

audited consolidated financial results to be included in the Form 10-K for fiscal year ended

December 31, 2010.

V.         FRAUDULENT SCHEME AND FALSE AND MISLEADING STATEMENTS
           DURING THE CLASS PERIOD

           64.      On February 2, 2010, the Company issued a press release announcing its 4Q09 and

FY09 financial results. The Company’s reported 4Q09 results included reported false overall and

segment operating earnings of $793 million and $0.96 earnings per share (“EPS”) for 4Q09, which

beat Wall Street analysts consensus estimates of $0.95 by one penny. The press release also made

false statements concerning purported solid underwriting, including underwriting results in group

and individual life products:

           MetLife Announces Fourth Quarter and Full Year 2009 Results

                                             *      *       *

           MetLife, Inc. . . . today reported fourth quarter 2009 net income of $289 million, or
           $0.35 per share, which reflects net investment gains and losses. Operating earnings
           for the fourth quarter of 2009 were $793 million, or $0.96 per share.

                    Operating earnings for the full year 2009 were $2.4 billion, or $2.87 per
           share.

                                             *      *       *

                   “MetLife delivered a very strong fourth quarter, with operating earnings
           significantly higher than a year ago, and both our fourth quarter and full year
           2009 earnings are above the estimates we provided at Investor Day in December,”
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           said C. Robert Henrikson, chairman, president & chief executive officer of MetLife,
           Inc. . . . Furthermore, in 2009 we had solid underwriting, better expense margins
           as well as both improving investment income and declining investment losses.”1

                                            *       *      *

           U.S. BUSINESS

                                            *       *      *

                          Operating earnings of $882 million, up significantly from $277
                           million, largely due to strong business growth, [and] significant
                           equity market improvements . . . .

           Insurance Products

                                            *       *      *

                   Insurance Products operating earnings were $400 million, up 55% due in
           large part to higher net investment income, solid underwriting results in both group
           life and individual life . . . .

           Retirement Products

                 Premiums, fees & other revenues for Retirement Products were $732 million,
           up 32% on increased sales of immediate annuities and higher fee income.

           65.    On February 3, 2010, the Company hosted a conference call for analysts and investors

to discuss the 4Q09 and FY09 results. The call was hosted by defendants Henrikson, Kandarian and




1
        According to the Company’s February 26, 2010 Form 10-K for the period ended December
31, 2009, “operating earnings” is the measure of segment profit or loss the Company uses to evaluate
segment performance and allocate resources. Consistent with GAAP accounting guidance for
segment reporting, it is the Company’s measure of segment performance reported below. Operating
earnings is not determined in accordance with GAAP and should not be viewed as a substitute for
GAAP income (loss) from continuing operations, net of income tax. However, the Company
believes the presentation of operating earnings herein as we measure it for management purposes
enhances the understanding of segment performance by highlighting the results from operations and
the underlying profitability drivers of the businesses. Operating earnings is defined as operating
revenues less operating expenses, net of income tax. According to the Company, operating earnings
is also an important feature of the Company’s incentive compensation program.



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Wheeler. During the call, defendants repeated the false financial results reported in the February 2,

2010 press release and discussed the false favorable mortality ratios for the quarter and for FY09 in

its insurance business, particularly in individual life and group life:

                  [WHEELER:] The growth of insurance products revenues of 8% in the fourth
           quarter reflects across-the-board strength in Group life, Individual Life and non-
           medical health.

                                            *       *      *

                    Turning to our operating margins, lets start with our underwriting results.
           In US business, our mortality results were very strong in both Group Life and
           Individual Life with full-year mortality ratios coming in below investor day ranges.
           The Group Life mortality ratio for the quarter was 89.7.% bringing the full year
           ratio to 90.3 % versus our estimated range of 91% to 93%. Our individual mortality
           ratio for the quarter was 81.1%, bringing the full-year ratio to 82.5% versus our
           estimated range of 84% to 86%.

           66.    Securities analysts and investors viewed the February 2, 2010 financial reports and

information provided in the February 3, 2010 conference call as positive news for the Company,

which according to defendants had rebounded significantly from the downturn and financial crisis,

which began in 2008 and had carried through 2009. For example, on February 3, 2010, Morgan

Stanley published a report entitled “MetLife Regaining Solid Momentum,” which substantially

repeated the Company’s false 4Q09 and FY09 results highlighting performance of the Company’s

U.S. insurance business, favorable mortality trends in the individual life business and the likely

impact of the anticipated acquisition of ALICO, the American International Group, Inc.’s (“AIG”)

international life insurance business:

           MetLife

           Regaining Solid Momentum

           We were encouraged by MetLife’s results, with operating earnings beating our
           expectations, very strong business growth almost across the board . . . .



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                  . . . Operating EPS was $0.96, although excluding a range of abnormal
           items, management put core EPS at $0.97, beating both our estimate of $0.93 and
           the consensus at $0.95.

                                            *      *       *

                   Insurance earnings: Earnings ran $90 million ahead of expectations, with
           the largest upside being in individual life insurance on favorable mortality trends
           in the quarter.

                                            *      *       *

           From an earnings perspective, results came in considerably ahead of expectations,
           driven mostly by its individual life insurance operations where the company
           benefited from favorable claims trends.

           67.    After the Company’s press release announcing its 4Q09 and FY09 financial results,

MetLife’s shares traded at prices above $33.00 per share.

           68.    On February 26, 2010, the Company filed with the SEC its Form 10-K for the year

ended December 31, 2009. The Form 10-K was signed by defendant Henrikson and other members

of the Board.2 The February 26, 2010 Form 10-K repeated the false 4Q09 and FY09 financial results

reported in the February 2, 2010 press release. In addition to the false financial results, which

materially overstated reported income and operating earnings, the February 26, 2010 Form 10-K also

misrepresented the Company’s compliance with GAAP and failed to account for known liabilities

for policyholders, who defendants knew but disregarded had already died, the February 26, 2010

Form 10-K also made the following false representations concerning policyholder funds and




2
       The February 26, 2010 Form 10-K for the year ended December 31, 2009 was also signed by
Burwell, Wright, Grisé, Hubbard, Keane, Kilts, Kinney, Price, Satcher, Sicchitano, Wang, Wheeler
and Carlson.



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described the manner in which the Company set and adjusted its IBNR reserves, including liabilities

for deaths that had occurred but had not yet been reported:

           We establish, and carry as liabilities, actuarially determined amounts that are
           calculated to meet our policy obligations when a policy matures or is surrendered,
           an insured dies or becomes disabled or upon the occurrence of other covered events,
           or to provide for future annuity payments. We compute the amounts for actuarial
           liabilities reported in our consolidated financial statements in conformity with
           accounting principles generally accepted in the United States of America
           (“GAAP”).

           Liability for Future Policy Benefits and Policyholder Account Balances

                   The Company establishes liabilities for amounts payable under insurance
           policies, including traditional life insurance, traditional annuities and non-medical
           health insurance. . . . Such liabilities are established based on methods and
           underlying assumptions in accordance with GAAP and applicable actuarial
           standards. Principal assumptions used in the establishment of liabilities for future
           policy benefits are mortality . . . .

                                              *       *       *

           Assumptions as to mortality and persistency are based upon the Company’s
           experience when the basis of the liability is established.

                                              *       *       *

           Other Policyholder Funds

                                              *       *       *

                   The liability for policy and contract claims generally relates to incurred but
           not reported death, disability, long-term care and dental claims, as well as claims that
           have been reported but not yet settled. The liability for these claims is based on the
           Company’s estimated ultimate cost of settling all claims. The Company derives
           estimates for the development of incurred but not reported claims principally from
           actuarial analyses of historical patterns of claims and claims development for each
           line of business.

           69.    The February 26, 2010 Form 10-K was accompanied by the required certifications of

defendants Henrikson and Wheeler pursuant to §§302 and 906 of the Sarbanes-Oxley Act of 2002,

which stated as follows:

           1.     I have reviewed this annual report on Form 10-K of MetLife, Inc.;

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           2.    Based on my knowledge, this report does not contain any untrue statement
                 of a material fact or omit to state a material fact . . . ;

           3.    Based on my knowledge, the financial statements, and other financial
                 information included in this report, fairly present in all material respects
                 the financial condition, results of operations and cash flows of the
                 registrant . . .;

           4.    The registrant’s other certifying officer(s) and I are responsible for
                 establishing and maintaining disclosure controls and procedures (as defined
                 in Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over
                 financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15(d)-
                 15(f)) for the registrant and have:

                                           *       *       *

                 b)     Designed such internal control over financial reporting, or caused
                        such internal control over financial reporting to be designed under our
                        supervision, to provide reasonable assurance regarding the reliability
                        of financial reporting and the preparation of financial statements
                        for external purposes in accordance with generally accepted
                        accounting principles;

                                           *       *       *

                 d)     The registrant’s other certifying officer(s) and I have disclosed, based
                        on our most recent evaluation of internal control over financial
                        reporting, to the registrant’s auditors and the audit committee of the
                        registrant’s board of directors (or persons performing the equivalent
                        functions):

                 a)     All significant deficiencies and material weaknesses in the design
                        or operation of internal control over financial reporting which are
                        reasonably likely to adversely affect the registrant’s ability to
                        record, process, summarize and report financial information . . . .


           A.    MetLife Announces Agreement to Purchase AIG’s International Life
                 Insurance Business “ALICO” for $15.5 Billion

           70.   On March 5, 2010, the Company announced that it would enter into an agreement

with AIG to purchase AIG’s ALICO unit for approximately $15.5 billion. The Company announced

that it expected to finance the deal by issuing $8.7 billion in equity and $6.8 billion in cash. On

March 8, 2010, the Company issued a press release announcing the same, including describing an

Investor Rights Agreement that would require AIG to hold its MetLife stock for a defined time

period, later disclosed to be at least nine months:
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           MetLife to Acquire American Life Insurance Company from American
           International Group for Approximately $15.5 Billion

                                             *       *       *

                   NEW YORK, Mar 08, 2010 (BUSINESS WIRE) – MetLife, Inc. (NYSE:
           MET) announced today a definitive agreement to acquire one of American
           International Group, Inc.’s (AIG) international subsidiaries, American Life Insurance
           Company (ALICO), for approximately $15.5 billion. The consideration will consist
           of $6.8 billion in cash and approximately $8.7 billion in MetLife equity securities,
           subject to closing adjustments.

                   Specifically, the equity security portion of the purchase price will consist of
           78.2 million shares of MetLife common stock valued at $3.0 billion, 6.9 million
           shares of contingent convertible preferred stock valued at $2.7 billion and 40 million
           equity units having an aggregate stated value of $3.0 billion.

                                             *       *       *

                   MetLife and AIG will enter into an Investor Rights Agreement which will,
           among other things, require AIG to hold specified amounts of MetLife securities
           for certain designated periods of time. Certain lock-ups will begin to expire nine
           months after closing. The ALICO special purpose vehicle intends to monetize the
           MetLife securities over time, subject to market conditions, following the lapse of
           agreed-upon minimum holding periods.

           71.    On March 8, 2010, the Company held a conference call for analysts and investors to

discuss the agreement and announcement that MetLife would acquire ALICO from AIG for $15.5

billion. The call was hosted by defendants Henrikson, Kandarian and Wheeler. During the call,

defendants further explained the terms of the ALICO acquisition and, in particular, the terms of 78.2

million common stock and 6.9 million in convertible preferred shares scheduled to later convert into

MetLife common shares and staged lock-up periods to which AIG would be subject. The number of

shares to be delivered to AIG would be fixed and, pursuant to the lock-up agreement, AIG would not

be permitted to sell any of its MetLife shares acquired in the acquisition until at least nine months

after the close of the deal:

           [WHEELER:] [W]e are paying approximately $15.5 billion to acquire Alico and it is
           a mixture of cash and MetLife equity and convertible equity units. . . . 78.2 million
           common shares and 6.9 million shares of a non-cumulative perpetual preferred stock,
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           which is convertible into 68.6 million common shares. You should think of these
           convertible preferreds as common equivalent securities. And for both the common
           and common equivalent securities, these share amounts are fixed.

                                             *      *       *

                  And with respect to the MetLife equity and mandatory converts held by
           AIG, these are subject to staged lockups and volume limitations to ensure that they
           are disposed of in an orderly manner.

                                             *      *       *

                  [ANALYST:] Can you give us a little bit more detail about the staged
           lockup? . . .

                   [HENRIKSON:] . . . Nine months after closing, they have the ability to sell
           up to 50% of their holdings and that would – think of that as both the common and
           the common equivalents.

                                             *      *       *

                  Then at three months later, they have the right to sell another 50% and
           these are obviously when they can first do it and the maximum amounts we don’t
           know actually what they will do.

           72.    Between March 5, 2010 and March 9, 2010, MetLife’s stock price rose from a close

of $38.92 to $40.81.

           73.    On March 15, 2010, defendant Wheeler gave a presentation on behalf of MetLife at

the UBS Asset Gatherers’ Conference. During the presentation, Wheeler bragged (falsely) of the

Company’s underwriting and expense management including low mortality ratios and, in particular,

stating that they were lower than they had been in all of the years he has been CFO:

                   [WHEELER:] Underwriting experience and expense management, a couple
           of interesting charts here. We obviously sell a lot of different types of life – or
           insurance. Both has a mortality or a morbidity angle to it. And what’s interesting to
           me about our mortality experience, which is mainly through Group Life or
           Individual Life . . . .

                  The mortality experience we had in 2009 was better than any time since
           I’ve been CFO . . . .



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           74.    On April 29, 2010, the Company issued a press release announcing MetLife’s 1Q10

financial results. The Company’s report of materially false operating earnings of $1.01 EPS beat

Wall Street analyst consensus expectations of $0.97 per share. The press release made materially

false and misleading statements regarding the Company’s expense savings efforts, and favorable

underwriting as contributing factors in its reported financial performance. The press release stated as

follows:

           MetLife Announces Strong First Quarter 2010 Results

                                            *       *      *

           MetLife, Inc. . . . today reported first quarter 2010 net income of $805 million, or
           $0.97 per share, which reflects net investment gains and losses. Operating earnings
           for the first quarter of 2010 were $834 million, or $1.01 per share.

                  “MetLife delivered very strong first quarter results, generating significant
           earnings growth . . . “Improved equity market levels, solid underwriting results and
           our expense savings efforts also contributed to our strong performance in the
           quarter.”

                                            *       *      *

           U.S. BUSINESS

                                            *       *      *

           Insurance Products

                                            *       *      *

                   Operating earnings for Insurance Products were $298 million, up 92% due
           in large part to higher net investment income, favorable group life underwriting
           results and lower expenses.

           Retirement Products

                                            *       *      *

                  Operating earnings for Retirement Products were $159 million, compared
           with a $118 million operating loss.



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           75.      On April 30, 2010, Wells Fargo Securities issued a report entitled “MetLife Inc.,

MET: Snoopy Gets His Groove; Q1 Results Look Like ‘New Normal.’” The report repeated the

false financial results in the April 29, 2010 press release:

           MetLife, Inc.

                MetLife reported Q1 operating earnings of $1.01, higher than our estimate of
                 $0.95 and the consensus of $0.97. . . . We believe MET shares will react positively
                 to the earnings results.

                                             *       *      *

                MetLife reported U.S. Insurance operating earnings of $298 million, up 92% from
                 Q1 2009 though lower than our $321 expectation. . . .

                Annuities reported operating income of $159 million in Q1 2010, better than the
                 operation loss produced in Q1 2009.

                                             *       *      *

                  Group Life earnings of $118 million were 38.8% higher than Q1 2009
           operating earnings and better than our modeled result, primarily due to lower
           expenses. . . .

                   Individual Life operating earnings of $115 million were meaningfully
           better than the $20 million reported for the first quarter of last year . . . .

           76.      On April 30, 2010, after the Company’s press release announcing its 1Q10 financial

results, defendants held a conference call for analysts and investors to discuss the details of the

results. During the call, in addition to reiterating the Company’s financials as reported in the press

release, defendants made false and misleading statements concerning the Company’s operating

earnings and margins, disciplined underwriting, mortality ratios and expense management:

                   [HENRIKSON:] Thank you, Connor, and good morning, everyone. We are
           off to an excellent start in 2010, delivering strong results across the board.

                                             *       *      *

                  The growth we’re seeing in the bottom line demonstrates the discipline we
           have maintained in our underwriting, pricing, risk management and expense
           control.
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                                             *       *       *

                   [WHEELER:] MetLife reported $1.01 of operating earnings per share for
           the first quarter. As Rob mentioned, this strong bottom-line result represents solid
           business growth, higher investment income, improved equity markets and the results
           of our expense management efforts.

                                             *       *       *

                  Turning to our operating margins, let’s start with our underwriting results.
           In US Business, our mortality results were mixed this quarter. The Group Life
           mortality ratio for the quarter was 89.5% versus our estimated range of 90% to
           95%, which is an excellent result. Our individual life mortality ratio for the quarter
           was 87.6%, which is slightly below our plan.

                                             *       *       *

                  [MULLANEY:] But I think the real testament to the way that we run our
           business is in the mortality ratio. And we had one of the strongest mortality ratios
           that we’ve had in Group Life in the first quarter . . . .

           77.    Similarly, on May 11, 2010, Mullaney gave a presentation at the UBS Global

Financial Services Conference. Mullaney again discussed the Company’s 1Q10 false financial

results and false strong reported mortality ratios, risk management discipline and the positive impact

on the Company’s underwriting results:

                   [MULLANEY:] We have also maintained our pricing and risk management
           discipline.

                                             *       *       *

                   Now let’s talk a little bit about underwriting and expense management,
           because even though we had a strong performance in the first quarter as it relates
           to investment earnings, we also had very good performance both from an
           underwriting perspective as well as an expense management. And because of that,
           those were two key areas that really drove the strong performance that we had overall
           for the quarter.

                  . . . [O]ur group mortality ratio for the quarter, 89.5%.

                   We typically target to have that ratio somewhere between 90 and 94%. A
           number of companies that reported in the first quarter, so [average] mortality in both
           their group area as well as in their individual business, we did not see that at all.


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                 We had a very, very strong mortality quarter in our group life business. It
           may actually be the best mortality quarter that we have had for a first quarter in
           Group life.

                   Group life seasonally tends to be a little higher from a mortality perspective,
           but we really had a strong underwriting quarter in the first quarter, and I think
           that really is reflective of the discipline that we’ve used in terms of managing that
           book of business and pricing new business as well as renewal businesses in our
           group life (inaudible)[.]

                   Individual mortality, 87.6%, it’s higher than we saw in the first quarter of last
           year when the mortality was unusually good. But 87.6% is right about at plan. It’s
           right about what we expected in terms of individual mortality for the first quarter, so
           we were pretty pleased with that result.

           78.     On May 12, 2010, MetLife’s stock price closed at $43.84 per share.

           79.     Defendants’ representations in ¶¶64-69 concerning: (i) reported financial results for

4Q09, FY09 and 1Q10, in particular, reported income and overall segment operating earnings for

each period; (ii) strong or disciplined underwriting results and expense management (¶64); and

(iii) reported mortality results and experience (¶¶65, 66), were each knowingly or recklessly false

when made for all the reasons set forth in ¶¶86(a)-(o) below.

           80.     On July 29, 2010, the Company issued a press release announcing its 2Q10 financial

results. The press release again falsely touted strong net income, operating earnings, strong

underwriting results in group life, including operating earnings in insurance products, based in part

on the Company’s disciplined approach to expense management. The press release stated as

follows:

           MetLife Announces Strong Second Quarter 2010 Results

                                              *       *       *

                    MetLife, Inc. . . . today reported second quarter 2010 net income of $1.5
           billion, or $1.84 per share. Net income reflects net investment gains of $767 million,
           after tax, including gains on derivatives. Operating earnings for the second quarter
           of 2010 were $1.0 billion, or $1.23 per share.


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                  “MetLife continued to deliver strong . . . and increased operating earnings
           by 41% over the prior year period,” . . . “Highlights of the quarter included strong
           underwriting results, higher net investment income and our disciplined approach
           to expense management.”

                                             *      *       *

           U.S. BUSINESS

                                             *      *       *

                          Excellent underwriting results in group life; improved experience
                           in dental and solid underwriting results in individual life

                                             *      *       *

                          Operating earnings of $918 million, up 39% due to favorable
                           underwriting, higher net investment income and lower expenses

           Insurance Products

                                             *      *       *

                  Operating earnings for Insurance Products were $369 million, up 29% due
           to favorable underwriting, higher net investment income and lower expenses.

           Retirement Products

                                             *      *       *

                  Operating earnings for Retirement Products were $238 million, up 66%.

           81.    On July 29, 2010, after the Company reported its financial results, securities analysts

raved about the EPS results and specifically about the Company’s financial performance including

operating earnings above consensus estimates and reported favorable mortality results. For example,

Credit Suisse issued a report entitled “Read On 2Q10,” which stated as follows:

           MET reported operating earnings of $1.23, well above the consensus estimate of
           $1.00. . . . [T]he $144 million of “normalized” group life earnings were unusually
           strong, driven by favorable mortality results.

                                             *      *       *

           [T]he group life mortality ratio was just 86.6%, compared to 89-90% in the past
           four quarters.

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           82.    On July 30, 2010, the Company held a conference call for analysts and investors to

discuss the Company’s 2Q10 results. The call was hosted by defendants Henrikson, Kandarian,

Wheeler, Mullaney and Carlson. Defendants reiterated the false financial results in the July 29, 2010

press release and added the following false statements concerning the Company’s underwriting

results and mortality ratios:

                  [WHEELER:] Operating margins – turning to our operating margins, let’s
           talk about underwriting results. In US Business, our mortality results were quite
           strong this quarter. The Group Life mortality ratio for the quarter was 86.6%
           versus our estimated range of 90% to 95%, which is an excellent result. Our
           Individual life mortality ratio for the quarter was 80.4%. While higher than the
           exceptionally strong prior-year quarter of 74.9%, the results were quite favorable
           and well below our plan.

           83.    On July 30, 2010, Morgan Stanley issued a report entitled “Delivering the Results in a

Tough Environment,” relating to the 2Q10 results which encouraged investors, based upon

defendants’ reported results, to accumulate their positions in the stock:

           Delivering the Results in a Tough Environment

                                            *       *       *

                   Key Results Highlights: MetLife reported 2Q10 operating EPS of $1.23,
           versus both our estimate and the consensus of $1.00. Excluding a broad range of
           items, core operating EPS was $1.11. Among the divisions, there existed solid
           upside almost across the board, although the insurance products division drove most
           of the upside surprise.

                                            *       *       *

           Insurance product earnings ran considerably above expectations, reflecting
           favorable mortality, and to a lesser-extent, strong spreads and tightly controlled
           expenses.

           84.    After the July 29, 2010 press release and July 30, 2010 conference call, the

Company’s stock traded at artificially inflated prices upwards of $40.00 per share.

           85.    On August 2, 2010, the Company filed with the SEC its Form 10-Q for the period

ended June 30, 2010. The Form 10-Q, signed by Carlson, Executive Vice President of Finance
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Operations and Chief Accounting Officer, substantially repeated the false 2Q10 financial results

reported in the July 29, 2010 press release. In addition, in discussing the New York Attorney

General’s investigation and the manner in which the Company treats its retained asset accounts, the

Company stated that any allegations that its retained asset accounts or the treatment of funds therein,

including disclosures regarding the same, violated any state or federal laws were “without merit”

and, in any event, would not affect the financial statements taken as a whole:

           Retained Asset Account Matters

                                             *      *       *

                   The New York Attorney General recently announced that his office had
           launched a major fraud investigation into the life insurance industry for practices
           related to the use of retained asset accounts and that subpoenas requesting
           comprehensive data related to retained asset accounts have been served on MetLife
           and other insurance carriers. We received the subpoena on July 30, 2010. It is
           possible that other state and federal regulators or legislative bodies may pursue
           similar investigations or make related inquiries. We cannot predict what effect any
           such investigations might have on our earnings or the availability of the TCA, but we
           believe that our financial statements taken as a whole would not be materially
           affected. We believe that any allegations that information about the TCA is not
           adequately disclosed or that the accounts are fraudulent or otherwise violate state
           or federal laws are without merit.

           86.    Defendants’ representations in ¶¶64-85 concerning: (i) reported financial results for

4Q09, FY09, 1Q10 and 2Q10, in particular, reported income and overall segment operating earnings

for each period; (ii) strong or disciplined underwriting results and expense management (¶¶64,65,

76); and (iii) reported mortality results and experience (¶¶81-83), were each knowingly or recklessly

false when made for the following reasons:

                  (a)     Defendants knew or recklessly disregarded that 4Q09 financial results and

FY09 financial results, as reported in the February 26, 2010 Form 10-K and 1Q10 and 2Q10

reported financial results, particularly reported income and operating earnings were materially

misstated both quantitatively and qualitatively. Because the Company, for years prior to the Class

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Period and during the Class Period, admittedly failed to account for known incurred liabilities

(deaths of policyholders that the Company actually knew of or had reason to know of), which

MetLife owed benefits to beneficiaries or state authorities pursuant to unclaimed property laws,

defendants knowingly or recklessly caused the Company’s income and operating earnings to be

materially misstated. See ¶¶150-167; see also Section VIII, MetLife’s Financial Statements Were

Materially Misstated in Violation of GAAP and SEC Disclosure Rules;

               (b)     In addition, the Company’s 4Q09, FY09, 1Q10 and 2Q10 financial statements

were false and misleading for all of the reasons set forth below in Section VIII, MetLife’s Financial

Statements Were Materially Misstated in Violation of GAAP and SEC Disclosure Rules;

               (c)     Defendants also knew that the Company had, for years, systematically used

the SSA-DMF across its business units for purposes beneficial to the Company’s bottom line,

including stopping payments to annuitants identified in the SSA-DMF, responding to regulatory

agency inquiries, and complying settlement agreements in litigation. Defendants also knew, through

the prior utilization of the SSA-DMF, that the Company was in possession of, or had access to,

information that was strong evidence of death of policyholders and knew that the Company’s

processes and procedures were designed or implemented to largely ignore that evidence or

information to the extent that it would require locating beneficiaries, escheating monies to state

agencies or increasing reserves – all of which would negatively impact operating earnings;

               (d)     Had defendants utilized the SSA-DMF to identify deceased policyholders and

recognized known incurred liabilities, paid beneficiaries or properly escheated monies to the states

as required by state law and insurance regulations, the Company would have reported operating

earnings of materially less than $0.96 reported in 4Q09, $2.87 in FY09, $1.01 in 1Q10 and $1.23 in

2Q10;

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               (e)     Defendants admit, contrary to representations that its financial statements

taken as a whole would not be materially impacted by investigations into its retained asset accounts,

charges to earnings would do just that. In October 2011, the Company was forced to disclose that

because of its failure to incorporate information known or accessible to the Company through

utilization of the SSA-DMF, its liabilities were in excess of its reserves. Thus, because the Company

had failed to properly account for deaths it actually knew, or should have known of, the Company

would take a $117 million after-tax charge, and operating earnings were reduced by $0.11 operating

earnings per share in 3Q11 alone. ¶¶135-139;

               (f)     Defendants’ statements, in ¶¶64, 65, 74, 76, 77, 80, 82, regarding the

Company’s purported solid underwriting experience and results in group life and individual life

products and better expense savings efforts were also knowingly materially false and misleading

when they were made. In truth, defendants knew but failed to disclose that the reported underwriting

results in both group life and individual life for 4Q09, FY09 and 1Q10 and 2Q10, to the extent that

they contributed to purported strong financial performance was in part due to the Company’s known

failure to identify, account for and pay beneficiaries of policyholders the Company actually knew

had died or had reason to know had died, and died long ago;

               (g)     In addition, defendants knew or recklessly disregarded that its statements

concerning expense management (¶¶74, 76, 77), July 29, 2010 and July 30, 2010 (¶¶80-84), were

false when made. In truth, as the Company has now admitted, in addition to the reasons set forth

above, defendants’ reported expense management was in part due to the Company’s failure to

escheat monies (unclaimed property), belonging to policyholders’ beneficiaries, which had not been

claimed, and that the Company owed to states pursuant to state unclaimed property laws.

Defendants’ knowing failure to recognize and account for known liabilities and expenses caused

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their public statements about strong underwriting and expense management and their purported

contribution to strong financial results to be knowingly and materially false and misleading;

               (h)     Defendants’ statements on February 2 and February 3, 2010 (¶¶65, 66, 68),

March 15, 2010 (¶73), April 30, 2010 (¶¶75, 76), July 29, 2010 and July 30, 2010 (¶¶80-84),

concerning the Company’s favorable mortality results, including an individual life mortality ratio of

81.1% and group life mortality ratio of 89.7% for 4Q09; 89.5% group life and 87.6% individual life

for 1Q10; and 86.6% group life and 80.4% individual life for 2Q10, were also knowingly or

recklessly false and misleading when made. In truth, defendants knew or recklessly disregarded that

the favorable reported mortality ratios (which were purportedly more favorable than its competitors’

reported mortality ratios) were similarly due to the Company’s failure to account for known deaths

of policyholders or access to evidence of death of policyholders. Defendants’ failure to account for

and include known evidence of death and liabilities into its risk assumptions and results materially

skewed the reported mortality ratios to be favorable for the Company as opposed to the true, less

favorable mortality experience. On October 27, 2011, when the Company reported its financial

results for 3Q11, which included the $117 million charge to earnings related to the failure to utilize

the SSA-DMF, for purposes designed to actually locate and pay policyholder beneficiaries as

opposed to avoiding payments, the Company reported sharply increased mortality ratios including

98.5% for group life and 98.5 % for individual life. The increase in reported mortality ratios was

admittedly due to the $117 million reserve charge. ¶142;

               (i)     As alleged herein, defendants misrepresented the Company’s mortality

experience throughout the Class Period. The chart below shows reported mortality ratios in group

and individual life between 1Q09 and 3Q11, evidencing the long-term favorable impact of

undisclosed truth concerning the failure to utilize the SSA-DMF to calculate the true mortality ratios:

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                              Reported Mortality Ratios During the Relevant Period
             1Q09          2Q09      3Q09      4Q09      1Q10      2Q10       3Q10      4Q10      1Q11      2Q11      3Q11
   Reported
             G 92.2%      G 91.3%   G 92.2%   G 89.7%   G 89.5%   G 86.6%     G 89%    G 89.7%   G 88.2%   G 82.1%   G 98.5%
   Mortality
             I 82.6%      I 74.9%   I 91.1%   I 81.1%   I 87.6%   I 80.4%    I 86.7%   I 82.9%   I 92.5%   I 84.4%   I 98.5%
    Ratio




                    (j)        In addition to the above, the Company’s financial statements for 4Q09, FY09

and 1Q10 and 2Q10 in their entirety, including the consolidated results reported in the February 26,

2010 Form 10-K were knowingly or recklessly false and misleading. Defendants knew but failed to

disclose and have now admitted that monies for years, including the Class Period, effectively

reported as assets as opposed to liabilities, likely hundreds of millions of dollars belonging to

beneficiaries of policyholders related to its individual life insurance policies, group life insurance

policies, annuities, life insurance with retained asset account features or should have been escheated

to the states as opposed to being withheld by MetLife, and invested for its own account to inflate the

Company’s balance sheet. See ¶¶150-167. MetLife’s Financial Statements Were Materially

Misstated in Violation of GAAP and SEC Disclosure Rules;

                    (k)        Defendants Henrikson’s and Wheeler’s Sarbanes-Oxley certifications dated

February 26, 2010 were also materially false. Defendants also knew or deliberately disregarded that

its internal controls and practices and procedures were designed and/or implemented to ignore, for

purposes of paying beneficiaries, escheating monies to states or increasing reserves, reliable

evidence in the Company’s possession or available to it, of death of policyholders, which required

the Company to pay. These deficiencies in the Company’s internal controls adversely affected the

Company’s financial reporting and defendants knew or recklessly disregarded the facts. The

Company has admitted that for at least 30 years it has used the SSA-DMF and for 15 or more years

has used it “systematically” for certain parts of its business, in particular its annuities business. See

¶123. See generally Exhibits A and B, attached hereto. The Company has also admitted in 2007
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that it used the SSA-DMF to match individual life policies and that match process revealed that the

Company held at least $80 million that had belonged to policyholder beneficiaries or should have

been escheated to states. Some of those policyholders died in the 1970s;

               (l)    Moreover, as further evidence of defendants’ knowledge and intent to

withhold beneficiaries’ monies or ignore evidence of death in its possession, defendants admit even

when the Company conducted the 2007 SSA-DMF match, when the Company found a death that

had occurred years before 2007 it used June 1, 2007 as the beginning of the dormancy period, which

starts the clock for the state escheatment of unclaimed property to states. For example, defendants

admitted during testimony before insurance regulators on May 19, 2011 and May 23, 2011 that as

part of a 2007 match of individual life policies against the SSA-DMF, when they found and

confirmed that the death of a policyholder had occurred in the 1960s or 1970s, the Company

generally and intentionally used June 1, 2007 as the date of proof of death to start the dormancy

period;

               (m)    Defendants knew but failed to disclose that notwithstanding knowledge based

upon the running of a SSA-DMF match against its individual life policies in 2007 that the Company

had possession of beneficiary monies that should have been reserved for, paid to beneficiaries or

escheated to the state, it had never, for purposes of determining whether it was holding monies

belonging to policyholder beneficiaries, run a SSA-DMF match against its group life policies. See

¶123. See also Exhibits A and B. Moreover, as of May 2011, the Company still had not used the




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SSA-DMF to match against group life policies.3 Nor did the Company reserve for the reasonable

likelihood, based on its knowledge of information available to it that significant money was owed to

the beneficiaries of group life policyholders;

               (n)     Defendants also knew but failed to disclose that the Company had in its

possession monies that had not been paid to beneficiaries and had not been escheated to the states

that were due to policyholder beneficiaries of industrial policies; policies, which had been sold door-

to-door to low-income families more than 50 years ago that the Company had stopped selling in

1964;

               (o)     Defendants admit that the Company had in place written policies about the

usage of the SSA-DMF, knew and understood how to access and use the information in the

SSA-DMF and how such usage pertained to its businesses. Company executives have testified that

the Company understood that making annuity payments to deceased annuitants would result in

economic losses to the Company that were likely not recoverable. Thus, the Company instituted or

applied policies to match annuity contracts against the SSA-DMF to avoid such losses. Conversely,

defendants knew or recklessly disregarded that maintaining or withholding death benefits from

beneficiaries even where the Company knew the policyholder was deceased, would be and in fact

was financially beneficial to the Company such that reported earnings would be inflated and

expenses and liabilities would appear to be less than the Company’s actual experience.




3
       As alleged in ¶142 infra, when defendants took the charge to earnings of $117 million in
3Q11, 75% was related to group life matches in the SSA-DMF.



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           B.     MetLife Prices Secondary Offering of 75 Million Shares at $42.00 Per Share
                  to Acquire AIG International Life Insurance Business ALICO

           87.    On August 2, 2010, the Company issued a press release announcing that it had priced

a secondary offering of 75 million shares of MetLife stock at $42.00 per share to fund the purchase

of ALICO from AIG:

           MetLife Prices Public Offering of Common Stock

                                             *       *       *

                   MetLife, Inc. . . . announced today that it has priced a public offering of 75
           million shares of common stock at $42.00 per share for gross proceeds of $3.15
           billion. In addition, the underwriters have an option to purchase an additional 11.25
           million shares of common stock to cover over-allotments, if any.

                   Net proceeds from the sale of the common stock will be used to help finance
           the $6.8 billion cash portion of the purchase price for MetLife’s previously
           announced acquisition of American Life Insurance Company from American
           International Group, Inc. In addition to the common stock offering, MetLife also
           plans to offer approximately $3 billion in senior debt in several series with varying
           maturities and interest rates. The remainder of the cash portion of the purchase price
           will be funded with cash on hand.

           88.    On August 3, 2010, the Company filed with the SEC a Form 424(b)(5) Prospectus

Supplement (the “August 3, 2010 Registration Statement”) setting forth the terms of a common

stock, debt and equity offering in connection with the acquisition of AIG’s ALICO international life

insurance business.4 The August 3, 2010 Registration Statement was issued pursuant to the

Company’s November 6, 2007 Prospectus.5




4
       The August 3, 2010 Registration Statement incorporated the following documents by
reference:

           Annual Report on Form 10-K for the year ended December 31, 2009; Quarterly
           Reports on Form 10-Q for the quarters ended March 31, 2010 and June 30, 2010;
           Definitive Proxy Statement filed on March 23, 2010; Registration Statement on Form


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           89.    The August 3, 2010 Registration Statement incorporated by reference the Form 10-K

for fiscal year ended December 31, 2009 and Forms 10-Q for periods ended March 31, 2010 and

June 30, 2010, each of which contained knowing or reckless false financial statements as detailed

above at ¶86(a)-(o) and further explained below. See MetLife’s Financial Statements Were

Materially Misstated in Violation of GAAP and SEC Disclosure Rules, infra ¶¶150-167.

           90.    On August 6, 2010, the Company issued a press release announcing that it had

completed the offering of 86.25 million shares of its common stock and raised gross proceeds of

$3.6 billion:

           MetLife Completes Public Offerings

           NEW YORK, Aug 06, 2010 (BUSINESS WIRE) –

                   MetLife, Inc. (NYSE: MET) announced today that it has closed its recently
           announced public offering of 75 million shares of common stock and issued an
           additional 11.25 million shares of common stock pursuant to the exercise in full by
           the underwriters of their over-allotment option. The total offering of 86.25 million
           shares produced gross proceeds of approximately $3.6 billion.

                  MetLife also has closed its public offerings of $3 billion in aggregate
           principal amount of senior debt in several series with varying maturities and interest
           rates.




           8-A, relating to MetLife, Inc.’s common stock and Series A Junior Participating
           Preferred Stock purchase rights, filed on March 31, 2000, as amended and restated by
           the Registration Statement on Form 8-A/A, Amendment No. 1 filed on March 11,
           2010; and Current Reports on Form 8-K filed on January 29, 2010, February 22,
           2010, March 5, 2010, March 11, 2010, April 13, 2010, May 3, 2010, May 7, 2010,
           May 17, 2010 and August 2, 2010.
5
        On November 6, 2007, the Company filed a Form S-3 Registration Statement with the SEC
for the offering of securities through underwriting syndicates managed or co-managed by one or
more underwriters, through agents or directly to purchasers.



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                   Net proceeds from the common stock and senior debt offerings will be used
           to help finance the company’s previously announced acquisition of American Life
           Insurance Company from American International Group, Inc. . . . .

           91.    On August 6, 2010, MetLife’s share price closed at $41.42.

           92.    On October 28, 2010, the Company reported its 3Q10 financial results in a press

release, boasting of increased operating earnings, strong underwriting and lower expenses,

particularly in the Company’s insurance business:

           MetLife Announces Third Quarter 2010 Results

                                            *      *       *

           NEW YORK, Oct 28, 2010 (BUSINESS WIRE) –

                  MetLife, Inc. (NYSE: MET) today reported third quarter 2010 net income of
           $286 million, or $0.32 per share, which reflects net investment and net derivatives
           gains and losses. Operating earnings for the third quarter of 2010 were $878
           million, or $0.99 per share.

                  “MetLife has delivered another strong quarter as we grew our top line and
           also increased operating earnings 22% over the third quarter of 2009,” . . . our
           focus on disciplined growth and strong underwriting contributed to the earnings
           increase we reported.

                                            *      *       *

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                                            *      *       *

                          Operating earnings of $764 million, up 21% due to solid
                           underwriting, higher net investment income and lower expenses

                   . . . Operating earnings for Insurance Products were $345 million, up 14%
           due to favorable underwriting, higher net investment income and lower expenses.

           93.    On October 29, 2010, the Company held a conference call for analysts and investors

to discuss the 3Q10 results. The call was hosted by defendants Henrikson, Kandarian, Wheeler and

Mullaney. During the call, in addition to repeating the false financial results in the October 28, 2010



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press release, defendants again boasted falsely of increased operating earnings, strong underwriting

results, expense management and very good mortality ratios:

                   [HENRIKSON:] Turning to our domestic business segment results, US
           business generated premium fees and other revenues of $7.1 billion, flat over the
           prior year period though up modestly excluding the impact of lower pension close
           out activity which as you know can vary from quarter to quarter.

                  Operating earnings grew by 21% with significant increases in each of the
           major segments, largely driven by very strong underwriting results as well as the
           benefits of ongoing expense management.

                  In our insurance products segment . . . . And operating earnings grew 14%,
           up in each product line. Group life premiums grew 2% and operating earnings
           were up 6% compared with the prior year period.

                  The group life mortality ratio was very good at 89%, and has remained
           below investor day guidance each quarter this year. . . .

                  . . . Individual life premium fees and other revenues were down, due to
           unusual items in the year ago period and flat when normalized. Operating earnings
           grew by 5%, reflecting solid mortality results.

           94.    On November 1, 2010, the Company issued a press release announcing the

completion of its acquisition of ALICO from AIG for a total of $16.2 billion:

           MetLife Completes Acquisition of American Life Insurance Company

                                             *       *       *

                  MetLife, Inc. . . . announced today that it has completed its acquisition of
           American Life Insurance Company (Alico) from American International Group, Inc.
           (AIG) for $16.2 billion.

                                             *       *       *

                   Consideration paid by MetLife to AIG for the acquisition of Alico consisted
           of $7.2 billion in cash consideration after adjustments and $9.0 billion in MetLife
           equity and other securities, subject to closing adjustments. The securities portion of
           the purchase price consisted of 78.2 million shares of MetLife common stock, 6.9
           million shares of contingent convertible preferred stock and 40 million equity units.
           The values of the common and preferred stock are based on the closing price of
           MetLife’s common stock on October 29, the trading date prior to closing.



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           95.    On November 30, 2010, the Company filed a Form S-3 Shelf Registration Statement

and Prospectus for the purposes of offering securities through underwriting syndicates managed or

co-managed by one or more underwriters, through agents or directly using a prospectus supplement

in remarketing or other resale transaction.6

           96.    On February 9, 2011, the Company issued a press release announcing its 4Q10 and

FY10 financial results. The press release boasted of strong overall operating earnings, insurance

products operating earnings and solid group life underwriting results:

                  MetLife Announces Fourth Quarter and Full Year 2010 Results

                                            *       *      *

           MetLife, Inc. . . . today reported fourth quarter 2010 net income of $51 million, or
           $0.05 per share, and operating earnings of $1.2 billion, or $1.14 per share. . . .

                  MetLife today also reported full year 2010 net income of $2.7 billion, or
           $3.00 per share. Operating earnings for the full year 2010 were $3.9 billion, or
           $4.38 per share.

                  “Our 2010 financial results were strong, including a 65% increase in
           operating earnings, which is consistent with the guidance we provided in
           December at Investor Day,” said C. Robert Henrikson . . . .

                                            *       *      *




6
         The November 30, 2010 Form S-3 incorporated by reference, the Company’s Annual Report
on Form 10-K and Form 10-K/A for the year ended December 31, 2009; Quarterly Reports on Form
10-Q and Form 10-Q/A for the quarter ended March 31, 2010 and Quarterly Reports on Form 10-Q
for the quarters ended June 30, 2010 and September 30, 2010; the Registration Statement on Form 8-
A, dated March 31, 2000, relating to registration of shares of MetLife Inc.’s common stock;
Definitive Proxy Statement filed on March 23, 2010; and Current Reports on Form 8-K filed January
29, 2010, February 22, 2010, March 5, 2010, March 11, 2010, April 13, 2010, May 3, 2010, May 7,
2010, May 17, 2010, August 2, 2010, August 5, 2010, August 6, 2010, August 16, 2010, October 18,
2010, October 28, 2010, October 29, 2010, November 2, 2010, November 15, 2010 and November
30, 2010.



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           U.S. BUSINESS

                                            *      *       *

                         Operating earnings of $841 million, down 5% as strong results in
                          Corporate Benefit Funding earnings were offset by lower earnings
                          in Insurance Products and Retirement Products; increased
                          amortization of DAC and other adjustments as a part of the annual
                          review of DAC assumptions reduced U.S. Business earnings by $17
                          million ($0.02 per share), after tax

           Insurance Products

                                            *      *       *

                   Operating earnings for Insurance Products were $309 million, down 23%
           as higher net investment income was more than offset by increased amortization of
           DAC and other adjustments. In addition, group life underwriting results remained
           solid and were consistent with fourth quarter 2009 results.

           Retirement Products

                                            *      *       *

                   Operating earnings for Retirement Products were $175 million, down 17%
           as higher net investment income and separate account fees were more than offset
           by the impact of the company’s variable annuity hedge program described above as
           well as less favorable unlocking of DAC and other adjustments.

           97.    On February 10, 2011, after the report of the 4Q10 and FY10 financial results, the

Company held a conference call for analysts and investors to discuss the results. During the call,

defendants made false positive statements concerning operating earnings, purportedly favorable

mortality results, underwriting and expense management. The call was hosted by Henrikson,

Kandarian, Wheeler and Mullaney:

           [HENRIKSON:] In US business, premiums, fees, and other revenues were $7.2
           billion, down from the prior year and flat versus the prior quarter. Operating
           earnings grew by 10% over the prior quarter and we were down slightly over the
           prior-year period. I am pleased with the financial results in US business, a direct
           result of our disciplined pricing and continued focus on risk management.

                  . . . Group life earnings were down somewhat year-over-year as expected.
           Individual life earnings were down $74 million versus the prior year. The earnings


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           decline is almost entirely attributable to the net difference in DAC unlocking and
           other adjustments between years.

                                            *       *      *

           [WHEELER:] MetLife reported $1.14 of operating earnings per share for the
           fourth quarter and $4.38 per share for the full year 2010.

                                            *       *      *

                  Turning to our operating margins let’s start with our underwriting results.
           In US business our mortality results were favorable across the board this quarter.
           The group life mortality ratio for the quarter was 89.7%, which was flat versus the
           prior-year period and in line with our expectations. For the full year group life’s
           mortality ratio was 88.7%, right in the middle of the 2010 investor day guidance
           range of 88% to 90%, which is a good result.

                  Our individual life mortality ratio for the quarter was 82.9%. This
           quarter’s results were a little higher than the very favorable prior-year quarter of
           81.1%, but it’s still very favorable to our plan.

                                            *       *      *

           Our investment performance continued to improve, our operating margins remained
           strong driven by disciplined underwriting and expense management, and our
           earnings continued to grow.

           98.    On February 15, 2011, defendant Wheeler spoke at the Bank of America Merrill

Lynch Insurance Conference. Wheeler was a stand in for Henrikson who was in Tokyo handling

matters pertaining to the ALICO acquisition. During the conference, Wheeler discussed more details

concerning the 4Q10 and FY10 financial results that were announced on February 9, 2011. In

addition, Wheeler made very specific comments about the Company’s underwriting results and its

mortality ratios:

                   [WHEELER:] Underwriting this quarter was only okay. It can clearly get
           better. Insurance product, this says from higher mortality. I think that should
           actually be higher morbidity. Mortality was decent for the quarter – not
           extraordinary, but decent.

                                            *       *      *



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                   Underwriting. Now, I’m going to spend a second on this chart, because these
           are our four most important underwriting ratios. Obviously, in almost every product
           we sell there is some kind of an underwriting margin element. But I picked the most
           important four.

                   So Group Life mortality, steady. And that is just always steady for us. Our
           peers, not so much. But we are very disciplined about how we price product. . . .

                   . . . This is clearly one of our strongest businesses and it is a very steady
           business for us.

                   Individual Life mortality, it was up a little bit year-over-year, but you can
           tell – but if you look at the overall last three years, it was still a very good quarter
           for us. You know, this number can move around a little bit, depending on high life
           claims generally. But we’ve kind of shown over time that we’ve remained pretty
           disciplined here in terms of our loss experience.

           99.    On February 25, 2011, the Company filed with the SEC its Form 10-K for the fiscal

year ended December 31, 2010. The Form 10-K substantially repeated the false 4Q10 and FY10

financial results reported in the February 9, 2011 press release. The Form 10-K was signed by

defendants Henrikson, Burwell, Grisé, Hubbard, Keane, Kelly, Kilts, Kinney, Price, Satcher,

Sicchitano, Wang, Wheeler and Carlson. In addition to the false financials, the Form 10-K also

made the following false purported warning representations concerning the Company’s reserve

methodologies, mortality results (which were regularly reviewed) and compliance with state and

regulatory capital requirements:

           We experienced excellent mortality results in our group life business due to a
           decrease in severity, as well as favorable reserve refinements in the current year.

                                              *       *       *

           Liability for Future Policy Benefits and Policyholder Account Balances

                    The Company establishes liabilities for amounts payable under insurance
           policies, including traditional life insurance, traditional annuities, certain accident
           and health, and non-medical health insurance. . . . Such liabilities are established
           based on methods and underlying assumptions in accordance with GAAP and
           applicable actuarial standards. Principal assumptions used in the establishment of
           liabilities for future policy benefits are mortality . . . .

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                                             *      *       *

           Assumptions as to mortality and persistency are based upon the Company’s
           experience when the basis of the liability is established.

                                             *      *       *

           Other Policy-Related Balances

                                             *      *       *

                  The liability for policy and contract claims generally relates to incurred but
           not reported death, disability, long-term care and dental claims, as well as claims
           which have been reported but not yet settled. The liability for these claims is based
           on the Company’s estimated ultimate cost of settling all claims. The Company
           derives estimates for the development of incurred but not reported claims
           principally from actuarial analyses of historical patterns of claims and claims
           development for each line of business.

           100.   Finally, the February 25, 2011 Form 10-K again purported to disclose that the New

York Attorney General had in July 2010 launched an investigation into the manner in which the

Company keeps and reports the value of its retained asset accounts. The retained asset accounts

were subject to state unclaimed property laws and included monies that had not been claimed by

policyholders or their beneficiaries and had not been escheated to the relevant state authorities which

defendants knew based on prior utilization of the SSA-DMF to match retained asset accounts but

failed to disclose these facts. Nevertheless, the Company continued to falsely assure investors,

however, that while the investigations were ongoing and certain other regulatory bodies might join

said investigations, any allegations that any information concerning the retained asset accounts was

not disclosed or that it violated any state or federal laws were simply “without merit.” Moreover,

defendants knew but did not disclose that other state regulations had already initiated investigations

and had developed into market conduct examinations or related inquiries into the Company’s overall

payment of death benefits (or failure to pay death benefits to policyholders, including holders of




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retained assets accounts who had died long ago), regulatory investigations it was cooperating with

and producing documents:

           Retained Asset Account Matters

                   The New York Attorney General announced on July 29, 2010 that his office
           had launched a major fraud investigation [TCA] into the life insurance industry for
           practices related to the use of retained asset accounts as a settlement option for death
           benefits and that subpoenas requesting comprehensive data related to retained asset
           accounts had been served on MetLife and other insurance carriers. . . . Management
           believes that any allegations that information about the TCA is not adequately
           disclosed or that the accounts are fraudulent or otherwise violate state or federal
           laws are without merit.

           101.   The February 25, 2011 Form 10-K also purported to make the following warnings

concerning policyholder liabilities, underwriting, claims and reserve experiences and litigation

contingencies:

           Policyholder Liabilities

                  We establish, and carry as liabilities, actuarially determined amounts that
           are calculated to meet our policy obligations when a policy matures or is
           surrendered, an insured dies. . . . We compute the amounts for actuarial liabilities
           reported in our consolidated financial statements in conformity with GAAP.

           102.   The February 25, 2011 Form 10-K was accompanied by the required certifications of

defendants Wheeler and Henrikson pursuant to §§302 and 906 of the Sarbanes-Oxley Act of 2002,

which stated as follows:

                  1.      I have reviewed this annual report on Form 10-K of MetLife, Inc.;

                  2.      Based on my knowledge, this report does not contain any untrue statement
                          of a material fact or omit to state a material fact necessary to make the
                          statements made, in light of the circumstances under which such statements
                          were made, not misleading . . .;

                  3.      Based on my knowledge, the financial statements, and other financial
                          information included in this report, fairly present in all material respects the
                          financial condition, results of operations and cash flows of the
                          registrant . . .;


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                  4.     The registrants other certifying officer(s) and I are responsible for
                         establishing and maintaining disclosure controls and procedures (as defined
                         in Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over
                         financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15(d)-
                         15(f)) for the registrant and have:

                                            *      *       *

                         b)     Designed such internal control over financial reporting, or caused
                                such internal control over financial reporting to be designed under our
                                supervision, to provide reasonable assurance regarding the reliability
                                of financial reporting and the preparation of financial statements for
                                external purposes in accordance with generally accepted accounting
                                principles;

                                            *      *       *

                  5.     The registrant’s other certifying officer(s) and I have disclosed, based on our
                         most recent evaluation of internal control over financial reporting, to the
                         registrant’s auditors and the audit committee of the registrants board of
                         directors (or persons performing the equivalent functions):

                         a)     All significant deficiencies and material weaknesses in the design or
                                operation of internal control over financial reporting which are
                                reasonably likely to adversely affect the registrant’s ability to record,
                                process, summarize and report financial information . . . .

           103.   Each of the statements in, and in connection with, the February 25, 2011 Form 10-K

was false and misleading because defendants failed to disclose material facts described in ¶¶150-

167.

           C.     MetLife and AIG Jointly Offer 146 Million Shares of MetLife Common
                  Stock Six Months Earlier than Investors Expected and Contemplated by the
                  Agreement with AIG

           104.   On March 2, 2011, the Company issued a press release announcing the pricing of its

offering of more than 146 million shares of MetLife common stock at $43.25 per share. MetLife

announced that it was offering more than 68 million of the shares for proceeds of $2.97 billion and

AIG was offering more than 78 million of the shares:

           MetLife Announces Pricing Of Common Stock And Common Equity Unit
           Offerings
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           – Offerings Will Eliminate AIG Ownership of MetLife Securities Received in
           Acquisition of Alico –

           MetLife, Inc. . . . announced today that it and ALICO Holdings LLC, a subsidiary of
           American International Group, Inc. (AIG), have priced their combined offerings of
           146,809,712 shares of MetLife common stock at $43.25 per share.

                  MetLife offered 68,570,000 shares of its common stock to the public for
           gross proceeds of $2.97 billion. . . .

                  AIG offered 78,239,712 shares of MetLife common stock to the public for
           gross proceeds of $3.38 billion.

           105.   The timing of the announced 146 million share offering was a surprise to analysts and

investors as it was delivered many months before an offering to sell the AIG shares was

contemplated, in particular, in light of the reported Investor Rights Agreement and nine month lock-

up agreement with AIG. See ¶70. Though securities analysts were initially dismayed by the

announcement they concluded that the March 4, 2011 offering appeared to be designed to simply

allow AIG to dispose of its MetLife shares in an orderly fashion as defendants had previously

indicated was the plan. The truth, however, which had not been disclosed, but was later admitted by

the Company during testimony on May 19, 2011, was that the Company was in discussions with

state regulators in the summer of 2010 concerning the Company’s use or non-use of the SSA-DMF,

which led to changes in the utilization of the SSA-DMF later in the year. Company executives have

testified, in particular Todd Katz, Executive Vice President U.S. Business Insurance Products, that in

the summer of 2010, the Company in part due to discussions with regulators began to devise a plan

toward making a decision to utilize the SSA-DMF more regularly across its business units.

According to Katz, the summer 2010 discussions and decisions to devise a plan to use the SSA-DMF

regulatory were lead by his “leadership team” and then President of the U.S. Business, Mullaney,

who reported directly to the CEO Henrikson. Indeed, according to Katz, the Company had

developed knowledge based upon prior and even systematic usage of the SSA-DMF that it was an

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effective tool for identifying deceased policyholders and helpful in identifying their beneficiaries to

whom benefits were owed or designating funds for escheatment to the relevant states.

           106.   In December 2010, top executives at the Company, including defendant Mullaney,

had decided to adopt and begin to implement internal policies that would include the utilization of

the SSA-DMF in all business units on a regular basis, at least annually. Defendants knew that such

implementation would undoubtedly identify deceased policyholders and help identify their

beneficiaries as it had, for example, in 2007. This SSA-DMF matching utilization would in turn

result in additional expenses, higher reported mortality rates, lower underwriting results and lower

operating earnings. Moreover, disclosure of the new procedures would highlight historical failures

and falsity of prior statements including the Company’s financial statements and would likely have a

negative impact on MetLife’s stock price. However, MetLife consideration in the form of stock

delivered to AIG to complete its consideration for ALICO was at risk of MetLife stock price

declining before AIG could sell. But AIG was subject to a nine month lock-up agreement beginning

from the close date of the transactions in November 2010.

           107.   Knowing these facts, defendants thus hurriedly, on March 1, 2011, entered into a

“Coordination Agreement” with AIG, which would relieve AIG from its nine month lock-up

restrictions, allowing for AIG to offer and sell all 78 million shares of MetLife common stock

immediately, and require MetLife to use all of the net proceeds from the March 4, 2011 offering to

fund the repurchase of the 78 million shares of common stock from AIG.7 The Coordination




7
       The March 1, 2011 Coordination Agreement would be attached to the March 4, 2011
Registration Statement.



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Agreement set the stage for the March 4, 2011 offering of 146 million shares to the public in order to

raise money and pay AIG the remaining consideration for ALICO.

           108.   In light of facts later disclosed, the most plausible inference to be drawn is that the

MetLife defendants under intensifying scrutiny of state regulators, particularly the states of Illinois

and Florida, needed to both raise cash and allow AIG to dispose of its shares prior to internal and

regulator findings being publicly disclosed. Had the true facts, which were known to defendants but

concealed from the public, concerning the Company’s usage and failure to use the SSA-DMF and

the impact on MetLife’s financial condition and financial impact of the investigations, and plan to

implement new controls and usage of the SSA-DMF been disclosed, the Company and AIG risked a

steep decline in the Company’s stock price and thus, the value of the consideration provided to AIG.

Because the number of shares MetLife delivered to AIG in November 2010 were “fixed,” the

Company could not fill the gap with new shares.

           109.   On March 2, 2011, Janney Capital Markets issued a report entitled “MetLife . . .

Thoughts on Common Stock Offering.” Janney Capital Markets, unaware of the undisclosed facts,

highlighted that the offering appeared to be occurring several months in advance of previous

expectations:

           MetLife (MET: Buy) - Thoughts on Common Stock Offering

                   MET and AIG are selling common equity (147M shares, 14% of outstanding
           shares) and common equity units (40M units) this week. As stated in MET’s press
           release, “The offerings are intended to provide for an orderly disposition of the
           MetLife securities owned by AIG.” We (and the rest of the world) had expected
           these sales to occur beginning in August of this year, the time given when AIG sold
           its subsidiary, Alico, to MET for cash/stock/securities in November 2010.

           110.   On March 2, 2011, Morgan Stanley issued a report entitled “MetLife Inc. Quick

Comment: Surprising AIG Early Disposal Likely to Weigh on Stock.” The Morgan Stanley report



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similarly discussed investor surprise at the timing of the offering, noting that it was indeed

“significantly earlier” than expected:

           MetLife Inc.

           Quick Comment: Surprising AIG Early Disposal Likely to Weigh on Stock

                   Impact on our views: The surprising announcement that MetLife is
           allowing AIG to sell its entire ownership stake earlier than originally agreed upon
           is a sizable surprise that has the potential to meaningfully pressure MetLife’s
           stock. Not only is the proposed sale significantly earlier than we originally
           expected, but we were also expecting the sale to occur in smaller amounts over an
           extended time frame. . . .

                   What’s new: AIG announced its plans to sell its entire stake in MetLife,
           which includes 78.2 million shares and its $3 billion of equity units. Further, it also
           plans to sell its contingent convertible preferred stock to MetLife, who will fund the
           acquisition with an equally sized common stock offering of 68.6 million shares. The
           net result is a pending sale of 146.8 million shares of common stock (roughly $6.8
           billion based on last night’s closing price) in addition to the $3 billion of equity units.

           111.    On March 4, 2011, the Company filed a Form 424 (b)(5) Prospectus Supplement to

the shelf registration statement and prospectus filed with the SEC on November 30, 2010 (“March 4,

2011 Registration Statement”). The March 4, 2011 Registration Statement offered 146 million

shares of common stock of Met Life, including 68 million shares of the Company’s common stock at

$43.25 per share and AIG offering another 78 million shares of MetLife common stock. The March

4, 2011 Registration Statement, incorporated by reference, the Company’s Annual Report on Form

10-K for the year ended December 31, 2010 and in Amendment No. 1 to the Form 10-K filed with

the SEC on March 1, 2011. The March 4, 2011 Registration Statement also incorporated

by reference, the Company’s Forms 8-K filed on August 2, 2010, November 30, 2010 and March 2,

2011, each of which contained false financial statements and other misrepresentations discussed

above.

           112.    The March 4, 2011 Registration Statement, by virtue of incorporating the February

25, 2011 Form 10-K and other financial statements, included false financial statements, in particular,
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income, operating earnings, underwriting and mortality results. The March 4, 2011 Registration

Statement made additional misrepresentations of fact and made purported warnings and repeated the

disclosures concerning the New York Attorney General’s investigations, and maintained false

statements that the Company’s retained asset accounts were adequately disclosed and any suggestion

of fraud or violations of law were “without merit.”

           113.   On March 8, 2011, the Company issued a press release announcing that it had

completed the public offering of more than 146 million shares of its common stock, raising gross

proceeds of $2.97 billion and that AIG had sold all of its MetLife securities received in the ALICO

acquisition:

           MetLife Announces Completion of Common Stock and Common Equity Unit
           Offerings

           NEW YORK, Mar 08, 2011 (BUSINESS WIRE) –

                   MetLife, Inc. (NYSE: MET) announced today that it and ALICO Holdings
           LLC, a subsidiary of American International Group, Inc. (AIG), have closed their
           recently announced offering of 146,809,712 shares of MetLife common stock.

                   MetLife offered 68,570,000 shares of its common stock to the public for
           gross proceeds of $2.97 billion. Net proceeds from MetLife’s sale of its common
           stock were used to repurchase and cancel 6,857,000 shares of contingent convertible
           preferred stock owned by AIG.

                   AIG offered 78,239,712 shares of MetLife common stock to the public for
           gross proceeds of $3.38 billion. In addition, AIG has completed its public offering of
           40,000,000 common equity units of MetLife for gross proceeds of $3.32 billion.
           MetLife did not receive any proceeds from the offerings of the MetLife common
           stock or common equity units that were owned by AIG.

                  As a result of the offerings, AIG has sold all of the MetLife securities it
           received in MetLife’s acquisition of American Life Insurance Company (Alico).

                  Goldman, Sachs & Co., Citi and Credit Suisse were the book-running
           managers for the common stock transaction. Goldman, Sachs & Co. and Citi were
           the book-running managers for the common equity units transaction.




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           114.   Defendants’ statements, in ¶¶92-102, concerning key business metrics in 3Q10, 4Q10

and FY10, including the respective financial statements filed with the SEC were knowingly or

recklessly false and misleading for all of the reasons set forth below in ¶¶120(a)-(l).

           115.   On March 21, 2011, the MetLife Board announced that defendant Kandarian, then

current Executive Vice President and Chief Investment Officer, would become the Company’s new

CEO, effective May 1, 2011.

           D.     State and Regulator Investigations into MetLife’s Failure to Pay Benefits
                  When It Knew Policyholders Were Deceased Begin to Indemnify

           116.   On April 25, 2011, the California Insurance Commissioner issued a press release

announcing that it had issued a subpoena to MetLife pertaining to an investigation into MetLife’s

practices regarding the withholding of death benefits, even after having notice that a policyholder

had died. The press release noted that based upon its preliminary findings, developed through an

investigation that began in 2008 by the California Insurance Commission, that for two decades

MetLife failed to pay life insurance benefits even after learning that a policyholder had died:

           Insurance Commissioner Jones, Controller Chiang Launch Investigation Into
           Death Payment Practices

                                            *       *      *

                   Insurance Commissioner Dave Jones and State Controller John Chiang today
           announced the issuance of a subpoena and joint investigative hearing into the
           practices of Metropolitan Life Insurance Company (MLIC), also known as MetLife.
           The hearing will focus on MetLife’s practices regarding payment of benefits under
           life insurance policies after MetLife learns of an insured’s death – either to the
           beneficiaries or, if they cannot be located for three years or more, to the State’s
           Unclaimed Property program. MetLife learned of the deaths of insureds through a
           database prepared by the Social Security Administration called “Death Master,”
           which lists all Americans who die.

                  The Commissioner and the Controller are responding to preliminary
           findings from an audit the Controller launched in 2008, indicating that for two
           decades, MetLife failed to pay life insurance policy benefits to named beneficiaries
           or the State even after learning that an insured had died. . . . The Controller’s
           unclaimed property audit indicates that MetLife did not take steps to determine
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           whether policy owners of dormant accounts are still alive, and if not, pay the
           beneficiaries, or the State if they cannot be located.

                  Simultaneously, the preliminary findings show, when MetLife knew that an
           owner of an annuity contract – which generates income for the policy owner at the
           time the annuity matures – had died, or the annuity had matured, the company did
           not contact the policy holder or beneficiary, even though it subscribed to the
           “Death Master” database. Furthermore, MetLife continued making premium
           payments from the policy holder’s account until the cash reserves were used up,
           and then cancelled the contract.

           117.   On May 4, 2011, the Company issued a press release announcing its false 1Q11

financial results noting an increase in operating earnings of 64% year-over-year and 15% in

insurance products. The press release stated as follows:8

                   METLIFE ANNOUNCES FIRST QUARTER 2011 RESULTS

                                             *      *       *

           MetLife, Inc. . . . today reported first quarter 2011 net income of $830 million, or
           $0.78 per share, and operating earnings of $1.4 billion, or $1.33 per share.

                   “With record top-line performance and a 64% increase in operating
           earnings over the first quarter of 2010, MetLife delivered very strong results in the
           first quarter of 2011,” said Steven A. Kandarian, [W]e grew operating earnings in




8
           As reported in the Company’s Form 10-K for the period ended December 31, 2010:

              Operating earnings is the measure of segment profit or loss we use to evaluate segment
              performance and allocate resources and, consistent with GAAP accounting guidance for
              segment reporting, is our measure of segment performance. Operating earnings is also a
              measure by which our senior management’s and many other employees’ performance is
              evaluated for the purposes of determining their compensation under applicable
              compensation plans.
                                           *        *       *
              [T]he presentation of operating earnings and operating earnings available to common
              shareholders as we measure it for management purposes enhances the understanding of
              our performance by highlighting the results of operations and the underlying profitability
              drivers of our businesses.



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           our U.S. Business by 15% while total net investment income increased 14% over
           the first quarter of 2010.

                                             *       *       *

           U.S. BUSINESS

                                             *       *       *

                          Operating earnings of $908 million, up 15% due to increases in
                           Insurance Products, Retirement Products and Corporate Benefit
                           Funding

           118.   On May 5, 2011, the Company held a conference call for analysts and investors to

discuss the 1Q11 financial results. The call was hosted by Henrikson, Kandarian, Wheeler and

Mullaney. Defendants again discussed the Company’s mortality rate experience, including that in

1Q11 individual life mortality ratio was 92.5%, higher than its plan and unfavorable. Defendants

failed to disclose, however, that it was not necessarily increased severity experience in 1Q11 that

resulted in higher reported mortality ratios, but instead, as later admitted by Katz and Frank

Cassandra on May 19, 2011 and May 23, 2011, the implementation of processes to include SSA-

DMF matching in its life insurance business, which, according to Katz, was begun in May 2011:

           [WHEELER:] Turning to our operating margins, let’s start with our underwriting
           results. In U.S. Business, overall results were generally positive in the quarter with
           the exception of individual life. The group life mortality ratio for the quarter was
           88.2% as compared to 89.5% in the prior-year quarter and at the low end of our
           2011 guidance range of 88% to 93%.

                   Our individual life mortality ratio for the quarter was 92.5%. This is higher
           than plan and unfavorable compared to the prior-year quarter. This quarter’s
           results were negatively impacted by higher claims incidence in large face amount
           policies.

           119.   On May 10, 2011, the Company filed its Form 10-Q for the period ended March 31,

2011. The Form 10-Q repeated, in substance, the financial results reported in the May 4, 2011 press

release. The Company again purported to disclose on the investigations of the state regulatory

agencies into its death benefit practices and the usage of its retained asset accounts. Notwithstanding

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ongoing audits and the preliminary findings by the California Insurance Commission and State

Controller (which it did not disclose), the Company maintained that allegations of fraud concerning

the usage of its retained asset accounts and violations of state or federal laws were without merit:

           Retained Asset Account Matters

                   The New York Attorney General announced on July 29, 2010 that his office
           had launched a major fraud investigation into the life insurance industry for practices
           related to the use of retained asset accounts [TCA] as a settlement option for death
           benefits and that subpoenas requesting comprehensive data related to retained asset
           accounts had been served on MetLife and other insurance carriers. . . . Management
           believes that any allegations that information about the TCA is not adequately
           disclosed or that the accounts are fraudulent or otherwise violate state or federal
           laws are without merit.

           120.   Defendants’ representations in ¶¶92, 93, 96-103 concerning: (i) reported financial

results for 3Q10, 4Q10, FY10 and 1Q11, in particular, reported income and overall segment

operating earnings for each period; (ii) solid underwriting results and expense management (¶¶92,

93); and (iii) reported mortality results and experience (¶¶93, 97, 99), were each knowingly or

recklessly false for the following reasons:

                  (a)     Defendants knew or recklessly disregarded that 3Q09, 4Q09, FY09 and FY10,

as reported in the February 25, 2011 Form 10-K for the period ended December 31, 2010, and 1Q11

financial results, particularly reported income and operating earnings, were materially misstated both

quantitatively and qualitatively. Defendants admittedly failed to account for known incurred

liabilities (deaths of policyholders that the Company actually knew of or had reason to know of),

which MetLife owed benefits to beneficiaries or state authorities pursuant to unclaimed property

laws. As such, defendants knowingly or recklessly caused the Company’s income and operating

earnings to be materially misstated. See ¶¶150-167. MetLife’s Financial Statements Were

Materially Misstated in Violation of GAAP and SEC Disclosure Rules.



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               (b)     The Company’s 3Q10, 4Q10, FY10 and 1Q11 financial statements were false

and misleading for all of the reasons set forth in Section VIII, MetLife’s Financial Statements Were

Materially Misstated in Violation of GAAP and SEC Disclosure Rules. ¶¶150-167;

               (c)     Defendants also admittedly knew that the Company had for years

systematically used the SSA-DMF across its business units for purposes beneficial to the Company’s

bottom line, including stopping payments to annuitants identified in the SSA-DMF, responding to

regulatory agency inquiries, and complying settlement agreements in litigation. Defendants also

knew, through the prior utilization of the SSA-DMF, that the Company was in possession of or had

access to information that was strong evidence of death of policyholders and knew that the

Company’s processes and procedures were designed or implemented to largely ignore that evidence

or information to the extent that it would require locating beneficiaries, escheating monies to state

agencies or increasing reserves – all of which would negatively impact operating earnings.

Defendants admit to the material impact of its failure to utilize the SSA-DMF on its financial

statements and particularly, reserves and operating earnings. In October 2011, the Company was

forced to disclose that because of its failure to incorporate information known or accessible to the

Company through utilization of the SSA-DMF its liabilities were in excess of its reserves. See

¶¶135, 136;

               (d)     Had defendants utilized the SSA-DMF to identify deceased policyholders and

recognized known incurred liabilities, paid beneficiaries or properly escheated monies to the states

as required by state law and insurance regulations, the Company would have reported operating

earnings of materially less than $0.99 reported in 3Q10, $1.14 in 4Q10, $4.38 in FY10 and $1.33 in

1Q11;




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               (e)     Defendants’ statements, in ¶¶92, 96, 97, regarding the Company’s purported

strong or favorable underwriting experience and results in group life and individual life products and

better expense savings efforts were also knowingly materially false and misleading when they were

made. In truth, defendants knew but failed to disclose that the reported underwriting results in both

group life and individual life for 3Q10, 4Q10, FY10 and 1Q11, to the extent that they contributed to

the Company’s financial performance, was in part due to the Company’s known failure to identify,

account for and pay beneficiaries of policyholders the Company actually knew had died or had

reason to know had died and died long ago;

               (f)     In addition, defendants knew or recklessly disregarded that its statements

concerning lower expenses and expense management, in ¶¶92, 93, 97, were false when made. In

truth, as the Company has now admitted, in addition to the reasons set forth above, defendants’

reported expense management was in part due to the Company’s failure to escheat monies

(unclaimed property), belonging to policyholders’ beneficiaries, which had not been claimed, and

that the Company owed to states pursuant to state unclaimed property laws;

               (g)     Defendants’ statements concerning the Company’s mortality ratios including a

3Q10 group life ratio of 89% and individual life ratio of 86.7%; 4Q10 group life ratio of 89.7% and

individual life ratio of 82.9%; 1Q11 group life ratio of 88.2% and individual life ratio of 92.5% were

also knowingly or recklessly false and misleading when made. See ¶¶93, 97, 99,118. In truth,

defendants knew or recklessly disregarded that the favorable reported mortality ratios were similarly

due to the Company’s failure to account for known deaths of policyholders or access to evidence of

death of policyholders. In fact, on October 27, 2011, when the Company reported its financial

results for 3Q11, which included the $117 million charge to earnings related to the failure to utilize

the SSA-DMF, for purposes designed to actually locate and pay policyholder beneficiaries as

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opposed to avoiding payments, the Company reported sharply increased mortality ratios including

98.5% for group life and 98.5 % for individual life. The increase in reported mortality ratios was

admittedly due to the $117 million reserve charge. ¶142;

               (h)     As alleged herein, defendants misrepresented the Company’s mortality

experience repeatedly during the Class Period. The chart in ¶143 shows reported mortality ratios in

group and individual life between 1Q09 and 3Q11, evidencing the long-term favorable impact of

undisclosed truth concerning the failure to utilize the SSA-DMF to calculate the true mortality ratios;

               (i)     Defendants Henrikson’s and Wheeler’s February 25, 2011 Sarbanes-Oxley

certifications were also materially false. Defendants also knew or deliberately disregarded that the

Company was not designed to assure the reliability of the financial statements, nor did the financial

statements fairly present the financial condition of the Company. Indeed, the report omitted material

facts alleged herein. The Company’s internal controls, practices and procedures were designed

and/or implemented to ignore, for purposes of paying beneficiaries, escheating monies to the state or

increasing reserves, reliable evidence in the Company’s possession or available to it, of death of

policyholders, which required the Company to pay beneficiaries or states as described;

               (j)     As further evidence of defendants’ knowledge or reckless disregard of the

falsity of the alleged misrepresentations, and in addition, their intent to withhold beneficiaries’

monies or ignore evidence of death in its possession, defendants admit even for the 2007 match

process, when the Company found a death that had occurred years before 2007 it used June 1, 2007

as the beginning of the dormancy period, which starts the clock for the state escheatment of

unclaimed property to states. For example, defendants admitted during testimony before insurance

regulators on May 19, 2011 and May 23, 2011 that as part of a 2007 match of individual life policies

against the SSA-DMF, when they found and confirmed that the death of a policyholder had occurred

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in the 1960s or 1970s, the Company generally and intentionally used June 1, 2007 as the date of

proof of death to start the dormancy period. ¶123 and Exhibits A and B;

                  (k)    Finally, defendants knew but failed to disclose that notwithstanding

knowledge based upon the running of a SSA-DMF match against its individual life policies in 2007

that the Company had in possession of beneficiary monies that should have been reserved for, paid

to beneficiaries or escheated to the state, it had never, up through May 2011 for purposes of

determining whether it was holding monies belonging to policyholder beneficiaries, run a SSA-DMF

match against its group life policies. See ¶123 and Exhibits A and B.

                  (l)    Defendants also knew but failed to disclose that the Company had in its

possession monies that had not been paid to beneficiaries and had not been escheated to the states

that were due to policyholder beneficiaries of industrial policies; policies, which had been sold door-

to-door to low-income families more than 50 years ago that the Company had stopped selling in

1964.

           E.     Top MetLife Officials Testify at Regulatory Hearings Admitting to the
                  Company’s Knowledge or Reckless Disregard of False Financial Statements
                  and Related Representations

           121.   On May 19, 2011, certain of MetLife’s executive officers testified pursuant to a

subpoena issued by the State of Florida Office of Insurance Regulations. MetLife’s Executive Vice

President, Todd Katz, and its Senior Vice President, Frank Cassandra, gave live testimony, under

oath, before the Commission concerning the Company’s use and/or non-use of the SSA-DMF and

the Company’s processes and procedures for locating and paying beneficiaries for deceased

policyholders and compliance with Florida unclaimed property laws. Prior to the May 23, 2011

hearing, MetLife spokesperson Chris Breslin reportedly made the following false statement,




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published in Fox Business, My Money, which was knowingly or recklessly false and misleading for

the reasons set forth in ¶¶86(a)-(o), 123:

                          “Our priority is to pay insurance benefits to those who are entitled to them
                           . . . . When beneficiaries cannot be located, we turn those benefits over to
                           the state.”

           122.   During the May 19, 2011 hearing, MetLife, through Katz and Cassandra, admitted

that the Company in fact has used the SSA-DMF since the 1980s for many of its businesses along

with other databases and systematically matched against annuities to prevent payments to reportedly

deceased policyholders who were identified in the SSA-DMF. Katz and Cassandra also admitted

that the Company did not systematically use the SSA-DMF to help identify beneficiaries of

policyholders who had died, nor use it to systematically designate to identify property that was

unclaimed for purposes of starting the escheatment of the unclaimed property to relevant state

agencies. See ¶123 and Exhibits A and B.

           123.   On May 23, 2011, MetLife executives Robert Sollmann, Jr., Executive Vice President

of Retirement Products, Katz and Cassandra testified pursuant to a subpoena issued by the State of

California Insurance Commissioner, Dave Jones. Among other things, during the testimony on May

19, 2011 and May 23, 2011, MetLife, through top executives, admitted to the following:

                         Upon receiving an indication of death, MetLife would suspend annuity
                          payments and did not require a death certificate before suspending annuity
                          payments.

                         The Company has maintained a “Metropolitan Unclaimed Fund System”
                          since 1987. The Unclaimed Property system tracks the date on which funds
                          are put into the system and calculates the date of escheatment. However, the
                          date on which money is entered into the Unclaimed Property system is
                          administrative and not necessarily when a person is identified as deceased in
                          the SSA-DMF.

                         In 2007, the Company used the SSA-DMF to do a sweep and learned of
                          deaths that had occurred as early as 1965 as a result of using the SSA-DMF
                          index, yet only started the dormancy period for escheatment from June 2007,

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                   meaning that defendants knew that the liability had been incurred, and in fact
                   had been incurred years earlier, but specifically intended to hold the money
                   for an additional period (or relevant state escheatment period).

                  The Company admitted that even if it found during its SSA-DMF matches in
                   2010 that a person died in 2005, it would start the dormancy period as of the
                   date of the match as opposed to the date of the death.

                  The Company ran the vast majority of policies in the individual life business
                   against the SSA-DMF in 2007 but not other blocks of business, for example
                   group life.

                  Prior to 2010 and through May 2011, the Company had not run SSA-DMF
                   matches for its group life policies.

                  In 2007, the Company recognized that utilizing the SSA-DMF was an
                   effective tool in determining identities of deceased policyholders and their
                   beneficiaries, and it was an effective tool for match sweeps against retained
                   asset accounts, individual life business, general annuities and group life
                   business.

                  In 2006, the Company ran a SSA-DMF match against its retained asset
                   account and learned of 1300 matches, which resulted in payments to
                   beneficiaries and escheatments to the states. The Company did not run a
                   SSA-DMF match again until 2010 against its retained assets account.

                  MetLife used the SSA-DMF in its annuity business, retained asset account
                   business and for group annuities. MetLife was matching once a month to
                   suspend payments to annuitants matched in the SSA-DMF. The Company
                   began using the SSA-DMF systematically in its annuities business in the
                   mid-90s.

                  The Company used the SSA-DMF in 2004 and 2005 to provide data to
                   certain states about how the SSA-DMF was being used and understood
                   thereafter that it was a useful tool to help find policyholders.

                  The Company began examining processes and procedures for using the
                   SSA-DMF more broadly and more frequently in the Summer of 2010 as part
                   of discussions with state regulators. Katz and Mullaney were involved in the
                   2010 discussions and decision making and made a decision to use the
                   SSA-DMF more frequently and broadly in December 2010.

                  MetLife understood that retained asset accounts are subject to unclaimed
                   property laws.



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           124.    On May 24, 2011, Henrikson gave a presentation to institutional investors at the

Barclays Capital Americas Select Conference. During the conference, Henrikson spoke directly

about the Company’s acquisition of ALICO, the book value of the Company relative to the share

price, and suggested to investors that it was a good time to invest in the Company in light of

increases in operating earnings, net income and the attractiveness of the Company’s financial

statements:

                   [HENRIKSON:] Okay. Financial review, you can see the numbers. They are
           what they are, and I think they’re pretty attractive. I’ll talk about this in another way
           in a second, but you can see the increase in the premium fees and other revenues,
           the operating earnings, net income available, book value numbers, and so forth.
           Book value numbers, I’m not supposed to ever say this is good time, and so forth
           and so on, but it’s important that – where the stock is trading relative to the book
           value, as people remind me.

                                              *       *       *

                  So, we’re financially strong. I would say everything we do in one way or
           another is about maintaining and increasing our financial strength, and that
           includes topline growth. We’re disciplined in our growth. We’re diversified by
           product, geography, distribution, all of this with an eye to shareholder value.

           F.      New York State Attorney General and New York State Department of
                   Financial Services Issues Subpoenas and Demands Information

           125.    On July 5, 2011, Reuters reported that the New York Attorney General had issued

subpoenas to nine life insurance companies, including MetLife, specifically demanding information

regarding their procedures for identifying beneficiaries of life insurance policies and compliance

with relevant state escheatment laws:

           NY Subpoenas Nine Life Insurance Companies

           New York’s top legal officer has sent subpoenas to nine leading life insurers seeking
           information about their practices in identifying and paying out policies for deceased
           customers . . . .

                   New York Attorney General Eric Schneiderman last month sent subpoenas to
           units of AXA SA, Genworth Financial Inc, Guardian Life Insurance Co of America,
           Manulife Financial Corp, Massachusetts Mutual Life Insurance Co, MetLife Inc,
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           New York Life Insurance Co, Prudential Financial Inc, and TIAA-CREF, the source
           said.

                                               *       *       *

                  The investigation is looking into whether insurance companies have done
           enough to identify beneficiaries of life insurance policies once a customer dies, the
           source told Reuters on Tuesday.

                  Schneiderman’s office is also seeking information about unclaimed policy
           proceeds that are supposed to be turned over to the state.

           126.    On July 5, 2011, the New York State Insurance Department, also known as the New

York State Department of Financial Services, sent a letter to all insurers doing business in the State

of New York, including MetLife, directing each to identify deceased policyholders and pay unpaid

benefits by using an official government death list and make payments to their beneficiaries. The

letter expressed concerns that insurance companies, doing business in New York State, may have

been aware of death through utilization of the SSA-DMF, but continuing to deduct premiums until

the policy lapses. In addition, the Department of Financial Services was concerned that life insurers

were using the SSA-DMF to stop annuity payments, but not to locate beneficiaries. The letter was

comprehensive and set forth the requirements and procedures for life insurance companies to follow

to comply with the directive to cross-check policyholders or annuity contracts, insurance policies

and retained asset accounts:

                   The Department is investigating allegations of unfair claims and trade
           practices by authorized life insurers and fraternal benefit societies (collectively, “life
           insurers”). . . . In particular, there may be instances where a death has occurred and
           no claim has been filed, but premiums continue to be deducted from the account
           value or cash value until the policy lapses. In other instances, life insurance policies,
           annuity contracts, or retained asset accounts may simply remain dormant after death.
           In these instances, a valid death benefit is either not paid or the payment is delayed.

                  . . . Some life insurers have utilized the U. S. Social Security
           Administration’s Death Master File (“SSA Master File”) to stop annuity payments
           once a contract holder dies, but do not use the SSA Master File to determine if any
           death benefit payments are due under life insurance policies, annuity contracts, or
           retained asset accounts.
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                                             *         *       *

                   To address the Department’s concerns, life insurers should cross-check all
           life insurance policies, annuity contracts and retained asset accounts on their
           administration data files, including group policies for which a life insurer maintains
           detail insured records, with the latest updated version of the SSA Master File, or
           another database or service that is at least as comprehensive as the SSA Master File,
           to identify any death benefit payments that may be due under life insurance policies,
           annuity contracts, or retained asset accounts as a result of the death of an insured or
           contract or account holder.

                                             *         *       *

                  Each report and update submitted to the Superintendent shall be subscribed
           and affirmed as true under penalty of perjury by a senior officer of the life insurer.

           127.   On July 28, 2011, the Company issued a press release announcing its financial results

for 2Q11. The Company’s press release again touted record financial results driven in part by record

underwriting results in group life and 48% increase in U.S. annuity:

                          MetLife Announces Second Quarter 2011 Results

                                             *         *       *

           MetLife, Inc. . . . today reported second quarter 2011 net income of $1.2 billion, or
           $1.13 per share, and operating earnings of $1.3 billion, or $1.24 per share.

                                             *         *       *

           U.S. BUSINESS

                           U.S. Business operating earnings of $908 million, up 12% due to
                            increases in Insurance Products, Retirement Products and
                            Corporate Benefit Funding

                                                   *       *       *

                           Excellent underwriting results in group life . . . .

                                             *         *       *

           Insurance Products

                  Operating earnings for Insurance Products – which includes group life,
           individual life and non-medical health insurance – were $449 million, up 22% due to
           increases in all three business lines. In particular, the rise in earnings was driven
           by record underwriting results in group life, solid underwriting in non-medical
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           health and higher net investment income. Premiums, fees & other revenues for
           Insurance Products were $5.0 billion, relatively unchanged.

           Retirement Products

                  Operating earnings for Retirement Products – which includes the
           company’s U.S. annuity products – were $201 million, up 48% driven by higher
           separate account fee income. Total annuity sales increased 48% to $7.3 billion,
           driven by strong growth in variable annuities across all distribution channels.

           128.   On July 28, 2011, Morgan Stanley issued a report entitled “MetLife Inc. Quick

Comment: 2Q11 Earnings First Glance.” The report discussed the 2Q11 results and noted the

“highly favorable” results in mortality rates reported in group life:

           MetLife Inc.

           Quick Comment: 2Q11 Earnings First Glance

                  Earnings well above: MetLife reported 2Q11 operating EPS of $1.24,
           substantially above our estimate of $1.08. After adjusting for a broad-range of
           abnormal items, we put core run-rate EPS at $1.37, similarly well above our core
           estimate of $1.28 on a comparable basis.

           Highlights include:

                         US Businesses – . . . Adjusted earnings of $980 million ran considerably
                          above our expectations by $117 million. Every division contributed to the
                          upside, but highly favorable mortality in group life was the single largest
                          variance.

           129.   On July 29, 2011, the Company held a conference call for investors and analysts to

discuss the financial results for its 2Q11. The conference call was hosted by defendants Kandarian,

Wheeler and Mullaney. During the call, defendants made the following representations, in particular

about the Company’s U.S. insurance business, including “excellent” mortality ratios for 2Q11,

while failing to disclose known facts concerning the Company’s claims practices or their impact on

the Company’s financial statements:

                  [KANDARIAN:] Another area strong performance is in US business
           insurance products where we grew earnings by 22% in the quarter on strong
           underwriting results and higher net investment income.
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                                              *       *       *

                  [WHEELER:] Thanks, Steve, and good morning, everybody. MetLife
           reported operating earnings of $1.3 billion or $1.24 per share for the second
           quarter, which, when added to our first-quarter earnings, results in an annualized
           ROE of 11.8% for the first six months of this year.

                                              *       *       *

           Insurance products’ strong performance was driven by a significant increase in
           group insurance underwriting margins and continued improvement in investment
           margins. The group life mortality ratio for the quarter was an excellent 82.1% as
           compared to 86.6% in the prior year quarter and well below our 2011 guidance
           range of 88% to 93%.

                  This result represents group life’s best ever mortality quarter. . . .

                                              *       *       *

                   [MULLANEY:] Colin, it’s Bill Mullaney, let me start on the mortality
           question. Yes, we had an excellent quarter as it relates to group life mortality. As
           Bill said in his remarks, it was the best quarter we ever had. Second quarter tends
           to be a better quarter for us seasonally historically.

                  I think in terms of thinking about the group life mortality going forward,
           obviously we don’t think it will stay at 82%, it was –like I said, quite a good quarter.
           But I would think more toward the low end of the range for the balance of the year.
           We gave a range at Investor Day of 88% to 93% and I think modeling toward the
           low end of the range is probably the best way to think about it.

           130.   After the July 28, 2011 announcement of its 2Q11 financial results, and the July 29,

2011 conference call, the Company’s stock price spiked from a close of $39.81 on July 28, 2011 to a

close of $41.21 on July 29, 2011, on increased trading volume.

           131.   Each of the statements alleged in ¶¶127-129 above were knowingly or recklessly false

and misleading because defendants knew or recklessly disregarded for all of the reasons set forth

herein, each of the following facts:

                  (a)     Operating earnings were materially overstated;

                  (b)     Mortality ratios were materially misrepresented;

                  (c)     Underwriting margins were materially misrepresented; and
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                  (d)     Defendants failed to disclose that material reserve charges were imminent and

as a result of its failure to account and reserve for death it knew of or had reason to know of.

           G.     MetLife Admits for the First Time to the Scope of Regulator Inquiries into
                  Its Handling of Death Benefits Which Could Have a Material Impact on Its
                  Financial Statements – Stock Price Declines

           132.   Just one week later, on August 5, 2011, the Company filed its Form 10-Q for the

period ended June 30, 2011 with the SEC. The Company disclosed that the regulatory investigations

into its death benefits practices had expanded to more than 30 jurisdictions. In addition, gone from

the Form 10-Q were the previously reported denials that allegations concerning the Company’s

retained asset accounts and claims that potential violations of state and federal laws were “without

merit.” Instead, for the first time the Company disclosed that it might be subject to additional

escheatment to the states and that the costs related to said investigations could be “substantial”:

                   Unclaimed Property Inquiries. More than 30 U.S. jurisdictions are auditing
           MetLife, Inc. and certain of its affiliates for compliance with unclaimed property
           laws. Additionally, MLIC and certain of its affiliates have received subpoenas and
           other regulatory inquiries from certain regulators and other officials relating to
           claims-payment practices and compliance with unclaimed property laws. On July
           5, 2011, the New York Insurance Department issued a letter requiring life insurers
           doing business in New York to use data available on the U.S. Social Security
           Administration’s Death Master File or a similar database to identify instances where
           death benefits under life insurance policies, annuities, and retained asset accounts are
           payable, to locate and pay beneficiaries under such contracts, and to report the results
           of the use of the data. It is possible that other jurisdictions may pursue similar
           investigations or inquiries, or issue directives similar to the New York Insurance
           Department’s letter. It is possible that the audits and related activity may result in
           additional payments to beneficiaries, additional escheatment of funds deemed
           abandoned under state laws, administrative penalties, and changes to the
           Company’s procedures for the identification and escheatment of abandoned
           property. The Company is not currently able to estimate the reasonably possible
           amount of any such additional payments or the reasonably possible cost of any
           such changes in procedures, but it is possible that such costs may be substantial.

           133.   On August 5, 2011, Bloomberg issued an article discussing the Company’s August 5,

2011 Form 10-Q, which disclosed that 30 jurisdictions were investigating the Company’s practices


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with respect to paying death benefits. The article noted the Company’s disclosure that the cost of the

investigations and additional escheatments to the states could be substantial:

           MetLife Says 30 Jurisdictions Are Auditing Unpaid Benefits

                   MetLife Inc. (MET), the largest U.S. life insurer, said more than 30 U.S.
           jurisdictions are auditing its practices in a review of whether the industry is holding
           unclaimed funds owed to policyholders, beneficiaries or states.

                   The audits may lead to more payments to beneficiaries, administrative
           penalties or changes in procedures, New York-based MetLife said today in its
           quarterly filing with the U.S. Securities and Exchange Commission.

                  “The company is not currently able to estimate the reasonably possible
           amount of any such additional payments or the reasonably possible cost of any
           such changes in procedures,” MetLife said. “It is possible that such costs may be
           substantial.”

           134.   The August 5, 2011 disclosures in MetLife’s Form 10-Q concerning the possibility of

additional investigations, audits and related activity that may result in administrative penalties,

additional payments and escheatment of abandoned property, caused the Company’s stock price to

decline 11% between Friday, August 5, 2011 and Monday, August 8, 2011. By the close of the

market on August 8, 2011, MetLife stock was down from a close of $36.90 per share on Thursday,

August 4, 2011, to a close of $32.74 per share on Monday, August 8, 2011.

           135.   On October 6, 2011, the Company filed a Form 8-K with the SEC quantifying the

current impact of its prior failure to report and account for IBNR liabilities, stating among other

things that it would take at least a $115 million after-tax charge to increase its reserves in connection

with its use of the SSA-DMF to identify deceased policyholders:

                  MetLife, Inc. . . . has identified the following non-recurring charges that it
           expects to incur for the third quarter of 2011:

                  (1)     The Company expects to incur a $115 million to $135 million, after
                          tax, charge to adjust reserves in connection with the Company’s use
                          of the U.S. Social Security Administration’s Death Master File and
                          similar databases to identify certain group life insurance
                          certificates, individual life insurance policies and other contracts
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                           where the covered person may be deceased, but a claim has not yet
                           been presented to the Company.

           136.   On October 6, 2011, Credit Suisse issued a report entitled “Quick Comment on

MET’s 3Q11.” The report detailed the disclosures in the Company’s Form 8-K of the same date

concerning the reserve charge resulting from the Company’s failure to use the SSA-DMF. In

addition, the report revealed that the internal review resulting in the charge had been done at least

one year earlier:

           MetLife, Inc.

           Quick Comment on MET’s 3Q11

           ▪      Action/Event: Today MET disclosed it would incur total charges of
                  $235mm-$275mm (or $197mm-$237mm excluding the normal quarterly
                  catastrophe load) related to three items. The charges were due to: (1) a
                  $115-$135mm after tax charge related to claim reconciliation with the US
                  Social Security Administration’s Death Master File (11c-13c/sh) . . . .

           ▪      The $115mm-$135mm is an addition to reserves from an internal review
                  that determined future liabilities are in excess of current reserves,
                  reinsurance and IBNR. MET conducted an internal review in which it
                  matched deceased policyholders with the U.S. Social Security
                  Administration’s Death Master File and determined situations where the
                  individual may be deceased but the related claim had not yet been filed.
                  The reserve addition relates 75% to group business and 25% to individual
                  life policies.

           ▪      MET conducted this review over a year ago. It is unclear if any fines will
                  come from the individual states.

           137.   On October 7, 2011, Zacks Equity Research published an article entitled “MetLife’s

Charges to Dampen 3Q Results.” The article discussed the Company’s disclosures of a day earlier

and the charges to reserves resulting from its failure to use the SSA-DMF to pay beneficiaries of

insurance policies:

           MetLife’s Charges to Dampen 3Q Results

                   Yesterday, MetLife Inc. (MET-Analyst Report) intimidated [sic] about a
           string of charges worth about $275 million that it expects to incur in the third quarter
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           of 2011, as per the statement filed with the Securities and Exchange Commission
           (SEC) and other federal authorities.

                  The bulk of the extraordinary expenses include a post-tax charge of $115-
           135 million to make necessary alterations to its insurance reserves. This primarily
           requires reaching out to those insurance policies and other contracts where the
           policyholders may have died but a claim is yet to be filed with MetLife.

           138.    On October 7, 2011, A.M. Best published an article discussing the expected charges

related to the Company’s use of the SSA-DMF:

           MetLife to Record Up to $275 Million in Charges; Some on Social Security
           Death Master File

                  MetLife Inc. will post up to $275 million in third-quarter charges, in part,
           on adjusting reserves related to its use of the U.S. Social Security Administration’s
           Death Master File and similar databases.

                   In a Form 8-K, MetLife . . . said it expects to incur a $115 million to $135
           million charge, after tax, related to the death master file, which lists the name of
           every Social Security number holder who has died. The databases will identify some
           group life insurance certificates, individual life insurance policies and other contracts
           where a covered person may be dead but a claim hasn’t yet been made.

           139.    As a result of the news that the Company would have to increase its reserves to cover

IBNR losses, the Company’s stock price declined from $30.69 on October 6, 2011 to $28.80 on

October 7, 2011.

VI.        POST CLASS PERIOD EVENTS AND ADMISSIONS

           140.    On October 11, 2011, Bloomberg published a report discussing MetLife’s reported

after-tax charge to increase reserves as a result of death benefits investigation:

           MetLife Joins AIG Taking Benefit Charge Amid Regulatory Probes

                   MetLife Inc. (MET), the largest U.S. life insurer, has joined American
           International Group Inc. (AIG) by taking a charge tied to reserves for death benefits
           as regulators probe the industry’s practices for unclaimed funds.

                   MetLife said last week that it will take a third-quarter charge of $115 million
           to $135 million as it uses data such as Social Security Administration death records
           to identify cases where it hadn’t paid claims. AIG said in August that it added about


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           $100 million to reserves in the second quarter after changing its process for
           determining when policyholders die.

                                             *      *       *

                  MetLife began using the Social Security Death Master File to stop some
           annuity payouts starting in the late 1980s, Todd Katz, an executive vice president at
           the New York-based insurer, said at a May hearing in Florida.

                                             *      *       *

           MetLife’s Change

                  MetLife checked group life policies for the first time against the databases,
           which contributed to the charge announced last week, said Christopher Breslin
           [Vice President Corporate Media Relations], a spokesman.

           141.   On October 27, 2011, the Company issued a press release announcing its 3Q11

financial results noting that as a result of the reserve charges announced on October 6, 2011,

operating earnings for insurance products were down 23%. The press release stated as follows:

                           MetLife Announces Third Quarter 2011 Results

                                             *      *       *

           MetLife, Inc. today reported third quarter 2011 net income of $3.6 billion, or $3.33
           per share, and operating earnings of $1.2 billion, or $1.11 per share.

                                             *      *       *

           THIRD QUARTER 2011 SUMMARY

                 Operating earnings of $1.2 billion, or $1.11 per share, reflecting:

                         a $117 million ($0.11 per share), after tax, charge to increase
                          reserves in connection with the company’s use of the U.S. Social
                          Security Administration’s Death Master File and similar databases
                          to identify potential life insurance claims that have not yet been
                          presented to the company; the charge mostly impacted the
                          Insurance Products segment

                                             *      *       *

           U.S. BUSINESS

                                             *      *       *

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                 Premiums, fees & other revenues of $7.7 billion, up 9% primarily due to
                  growth in Corporate Benefit Funding and Retirement Products

           Insurance Products

                   Operating earnings for Insurance Products – which includes group life,
           individual life and non-medical health insurance – were $265 million, down 23%
           largely due to the previously mentioned reserve adjustment, which impacted group
           and individual life results.

           142.   On October 28, 2011, the Company held a conference call for analysts and investors

to discuss the Company’s 3Q11 financial results. The call was hosted by defendants Wheeler and

Kandarian. During the call, defendants explained the impact of the $117 million after-tax charge

related to the death benefit and SSA-DMF issues alleged herein. In addition, the Company reported

that its individual life mortality rate was a whopping 98.5% and group life mortality ratio was also

98.5%:

           [KANDARIAN:] As noted in the 8-K we filed October 6, MetLife recorded a
           number of one-time charges in the third quarter. Absent these charges and some
           other one-time items, MetLife’s earnings would have been $1.28 per share, which
           we believe is closer to the Company’s true earnings power.

                                             *      *       *

           [WHEELER:] There were several unusual items in this quarter. First, we have taken
           an after-tax charge of $117 million or $0.11 per share to increase reserves in
           connection with our use of the US Social Security Administration’s Death Master
           File and similar databases to identify potential life insurance claims for pending
           and incurred, but not reported claim liabilities referred to as IBNR – over 70% of
           the charges in our Group Life business, nearly 25% in Individual Life with the
           balance in Corporate Benefit Funding.

                                             *      *       *

                   The Group Life mortality ratio for the quarter was 98.5%. It’s elevated due
           to the reserve strengthening related to the life insurance claims adjustment that I
           mentioned previously. Adjusting for this item, the loss ratio was 88.9%, near the low
           end of the 2011 guidance range of 88% to 93% and in line versus the prior-year
           quarter of 89%.

                                             *      *       *


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                   Our Individual Life mortality ratio for the quarter was 98.5%, elevated due
           to the reserve strengthening related to the life insurance claims adjustment that I
           mentioned previously. On the normalized basis, the mortality loss ratio was 89%, up
           from the prior-year quarter of 86.7% and above plan due to higher large face claims
           in the quarter.

                                                     *          *          *

                   While reserve adjustments go through the income statement, the hedges in
           our derivatives portfolio do not go through the income statement, but are rather
           reflected in unrealized gains.

           143.      In addition to the details of the financial impact of the reserve charge, the report

stated that both group life and individual life mortality ratios had skyrocketed to 98.5%, higher than

had been reported at any time since 1Q09:

                            Reported Mortality Ratios During the Relevant Period
              1Q09       2Q09     3Q09      4Q09         1Q10       2Q10       3Q10       4Q10      1Q11      2Q11      3Q11
   Reported
             G 92.2%   G 91.3%   G 92.2%   G 89.7%    G 89.5%   G 86.6%         G 89%    G 89.7%   G 88.2%   G 82.1%   G 98.5%
   Mortality
             I 82.6%   I 74.9%   I 91.1%   I 81.1%    I 87.6%   I 80.4%        I 86.7%   I 82.9%   I 92.5%   I 84.4%   I 98.5%
    Ratio




           144.      On December 5, 2011, the New York State Department of Financial Services issued

an Interim Report of the Superintendent pursuant to §308 of the New York Insurance Law. The

report confirmed that insurers, including MetLife, have retained monies for years that they knew or

had reason to know should have been paid to beneficiaries on policyholders’ deaths, some dating

back to the 1970s:

                           Interim Report of the Superintendent
               Pursuant to Section 308 of the New York Insurance Law
  Relating to Investigating Claims and Locating Beneficiaries Owed Death Benefits
     Under Life Insurance Policies, Annuity Contracts, and Retained Asset Accounts

                                                     December 5, 2011
           Summary

                    LIFE INSURERS SHOULD REGULARLY MATCH life insurance policies
           against a reliable death list, rather than just waiting for claims to be filed. The
           technology exists, and it is clear that some insurers have been utilizing such death
           list databases in determining whether to curtail annuity payments. In response to
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           the Department’s investigation, life insurers that have undertaken the prescribed
           matching efforts have made $52.6 million in payments to almost 8,000 beneficiaries
           that would not have otherwise been made. About $16.9 million of that sum has been
           paid to New York payees. Moreover, matching done as a result of the Department’s
           review has already produced another almost 28,000 matches for which claims
           processing has been initiated and located another almost one million initial matches
           that need further checking, but will likely result in substantial additional payments.

           Background

                    THE DEPARTMENT OF FINANCIAL SERVICES (the “Department” or
           “DFS”) has been conducting an inquiry into allegations of unfair claims and trade
           practices by authorized life insurers and fraternal benefit societies (collectively,
           “insurers”) based on concerns that insurers may not be adopting and implementing
           proper standards for investigating claims and locating beneficiaries with respect to
           death benefits under life insurance policies, annuity contracts, and retained asset
           accounts. In particular, there may be instances where a death has occurred and no
           claim has been filed, but premiums continue to be deducted from the account value
           or cash value until the policy lapses. In some instances beneficiaries may be
           unaware that they have been named as a beneficiary and not realize that they need to
           file a claim. In the context of retained asset accounts, funds may simply remain
           dormant after the death . . . .

                   Recently, the Department issued a letter pursuant to Section 308 of the New
           York Insurance Law (“308 letter”) advising all insurers that a cross-check of all life
           insurance policies, annuity contracts, and retained asset accounts on their
           administration data files, including group policies for which an insurer maintains
           detailed insured records, should be performed with the latest updated version of the
           U. S. Social Security Administration’s Death Master File (“SSA-DMF”) – or another
           database or service that is at least as comprehensive as the SSA-DMF – to identify
           any death benefit payments that may be due under life insurance policies, annuity
           contracts, or retained asset accounts as a result of the death of an insured or contract
           or account holder. . . .

           Findings to Date

                   BASED ON THE DEPARTMENT’S INVESTIGATION, including
           responses to the Department’s 308 requests, it appears that some insurers have
           utilized the SSA-DMF to stop annuity payments once a contract holder dies, but
           have not used the SSA-DMF to determine if any death benefit payments are due
           under life insurance policies, annuity contracts, or retained asset accounts.

                                              *       *       *

                   The earliest year of death for which a benefit payment has been made thus
           far is 1970 . . . .

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                                                 Earliest Date of      Largest          Average
                   Type of Business                   Death          Amount Paid       Amount Paid
           Individual Life                       1970               $673,485           $6,994
           Group Life                            1989               $199,827           $2,786
           Individual Annuity                    1994               $365,264           $36,363
           Group Annuity                         1988               $167,821           $6,978
           Retained Assets                       2005               $137,690           $17,836

                                             *          *    *

                   Overall, insurers report that they have cross-checked approximately 79.22
           million policy records against the SSA-DMF. This has resulted in approximately
           2.68 million initial matches. Many initial matches have been eliminated for reasons
           such as: policies not in force at time of death, match is not with the same person, and
           claim already submitted. Insurers are still in the process of validating and/or
           investigating approximately 950,000 initial matches. Approximately 7,934
           payments have already been made to individuals totaling approximately $52.6
           million, including about 1,209 payments made to New York payees totaling
           approximately $16.9 million. Insurers have also initiated claims processing for
           approximately 27,889 other matches.

                                             *          *    *

                   With regard to specific practices involving utilization of the SSA-DMF, there
           are a small number of insurers that have been performing regular SSA-DMF cross-
           checks for a number of years including Massachusetts Mutual Life Insurance
           Company and Prudential Insurance Company of America. Some other insurers have
           more recently adopted regular cross-check procedures, including Metropolitan Life
           Insurance Company. However, many insurers have not made regular use of SSA-
           DMF cross-checks to pay unreported insurance benefits.

           145.   On February 28, 2012, the Company filed its Form 10-K for the year ended

December 31, 2011. The Form 10-K made additional disclosures about the impact of the

Company’s historical failure to use the SSA-DMF and the effect on the Company’s current financial

statements:

           On an annual basis, we perform experience studies, as well as update our
           assumptions surrounding both expected policyholder behaviors and the related
           investment environment. These updates, commonly known as unlocking events,
           result in changes to certain insurance related liabilities, DAC and revenue
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           amortization. The impact of updates to our assumptions, in both 2011 and 2010
           primarily related to policyholder behaviors, such as projected premium assumptions
           and various factors impacting persistency, coupled with insurance related
           refinements, resulted in a net increase to operating earnings of $41 million. Partially
           offsetting these favorable impacts was a $109 million charge, recorded in the third
           quarter of the current year, related to our use of the Death Master File, in both our
           group and individual life businesses.

                                              *       *       *

                  The Company’s use of the Death Master File in connection with our post-
           retirement benefit business resulted in a charge in the third quarter of the current year
           of $8 million. Other insurance liability refinements and mortality results negatively
           impacted our year-over-year operating earnings by $20 million.

VII.       METLIFE REACHES SETTLEMENT AGREEMENT WITH SIX STATES
           VALUED AT $500 MILLION

           146.    On April 23, 2012, Bloomberg reported that MetLife had agreed with state agencies

and regulators to pay the states a total of $500 million to settle claims related to death benefits:

           MetLife to Pay $500 Million to Settle Death-Benefit Probe

                  MetLife Inc. (MET), the largest U.S. life insurer, will pay about $500
           million in a multistate settlement after regulators reviewed whether companies
           were holding funds that should go to beneficiaries.

                    MetLife said $188 million will be paid in 2012, and remaining funds over
           the next 17 years. The New York-based company said it reserved for the expense
           after taking charges against earnings (MET), including one in the first quarter for $52
           million. The insurer said it will use Social Security Administration records to
           determine when policyholders die.

                                              *       *       *

                   Life insurers are generally required to pay claims after being notified of a
           policyholder’s death and receiving a valid death certificate. Chiang said a hearing
           showed that MetLife didn’t use information the insurer had from Social Security data
           to pay benefits and wasn’t forwarding funds to his office as unclaimed property.

                                              *       *       *

           Jones, Cuomo

                                              *       *       *


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                  . . . An investigation by New York’s Department of Financial Services into
           instances where insured parties died and beneficiaries didn’t file claims has led to
           more than 32,000 payments totaling $262.2 million, according to a statement from
           Cuomo today.

           147.   On April 23, 2012, the Company issued a press release regarding the resolution of the

multi-state examination into its use of the SSA-DMF:

           MetLife Resolves Multi-State Examinations

                  NEW YORK – (BUSINESS WIRE) – Apr. 23, 2012 – MetLife, Inc. (NYSE:
           MET) issued the following statement today regarding its resolution of multi-state
           examinations related to unclaimed property and the company’s use of the Social
           Security Death Master File:

                                             *       *       *

           MetLife agrees that periodic matching of administrative records against available
           external sources such as the Social Security Death Master File is a best practice, and
           the company is implementing a monthly matching process which it believes will be
           effective in identifying the small proportion of deaths where a claim is not
           submitted.

                                             *       *       *

                  The total insurance in force for these “industrial” policyholders is
           approximately $438 million, for which the company is appropriately reserved. The
           company expects that $188 million of the total will be paid out in 2012, with the
           remainder paid over the next 17 years. In the first quarter of 2012, the company
           recorded a $52 million post-tax charge representing a multi-state examination
           payment related to unclaimed property and MetLife’s use of the Social Security
           Death Master File, as well as the expected acceleration of benefit payments to
           policyholders under the settlement.

           148.   The Regulatory Settlement Agreement between MetLife and the participating states

details that in addition in exchange for the releases of claims, which could have been brought by the

states, the Company agreed to wide-ranging corporate reforms, agreed to pay the states $40 million

for the cost of their investigations and subject itself to enforcement action for failure to comply with

the turn of the agreement.         The Regulatory Settlement Agreement, excerpted below, also




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memorialized certain of the findings leading to concerns about the Company’s death benefit

practices:

                  WHEREAS, based upon the information gathered to date, the Departments
           have identified concerns regarding:

                  A.      The adequacy of the Company’s policies and procedures to ensure
                          that life insurance and endowment policies, annuities, “Retained
                          Asset Accounts” (hereafter defined) and other funds are either timely
                          paid out to “Beneficiaries” (hereafter defined), or timely reported or
                          remitted in accordance with the “Unclaimed Property Laws” and the
                          “Insurance Laws” (hereafter defined);

                  B.      The Company’s historical use of the DMF to terminate payment
                          under annuity contracts in the “payout” phase to annuitants who have
                          died, but not attempt to locate Beneficiaries to pay out the death
                          benefit under annuity contracts or life policies issued by the
                          Company;

                  C.      The adequacy of the Company’s policies and procedures to ensure
                          that the financial benefits due under matured annuity contracts are
                          paid to annuitants or reported and remitted in accordance with the
                          Unclaimed Property Laws and the Insurance Laws;

                  D.      The adequacy of the Company’s policies and procedures to ensure
                          that assets held in the Company’s Retained Asset Accounts are paid
                          to Beneficiaries or “Accountholders” (hereafter defined) or reported
                          and remitted in accordance with the Unclaimed Property Laws, when
                          the Accountholder is listed as deceased on the DMF, or, alternatively,
                          the Accountholder has not initiated a financial or administrative
                          action with respect to the Retained Asset Account for an extended
                          period of time;

                                            *       *       *

                   WHEREAS, in 2007, the Company matched substantially all of its individual
           life policies for which it had electronic records, including policies in in-force,
           terminated and non-forfeiture status against the DMF and identified over $50 million
           in death benefits, which were paid to Beneficiaries and over $30 million in
           unclaimed benefits which have been or will be reported and remitted to the
           appropriate states in accordance with the Unclaimed Property Laws;

                    WHEREAS, in 2010, subsequent to the commencement of the Multi-State
           Examination, the Company established its Electronic Death Match (“EDM”)
           initiative pursuant to which the Company committed to match its individual life and
           annuity, group life and annuity and retained asset accounts against the DMF no less
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           frequently than annually and, in 2011, in accordance with that initiative, as well as
           a request for a report by the New York Superintendent of Insurance pursuant to
           Section 308 of the New York Insurance Law, the Company performed matches of
           the administrative records for individual and group life, individual and group
           annuities and retained asset accounts of all of the MetLife affiliated companies for
           all fifty states, and the Company has to date identified approximately $96 million to
           be paid to Beneficiaries from these matches, and over $16 million to be paid to the
           states as unclaimed property;

                                             *      *       *

           Business Reforms. The Company agrees that within sixty (60) days from the
           Effective Date of this Agreement, the Company shall adopt the following policies
           and procedures:

                  a.      Perform comparisons, either directly or indirectly, of all of its in-
                          force Insureds, Accountholders, Annuity Contract Owners, and
                          annuitants, for which the Company provides Recordkeeping services,
                          against the DMF, or an equivalent database containing the same
                          information as the DMF, on at least a monthly basis in accordance
                          with the transition period set forth in Schedule B. The Company
                          shall use the comparison criteria specified in Schedule A. In the
                          event that the Company uses different comparison criteria than
                          those specified in Schedule A, the Company may be subject to
                          sanctions to the extent that it obtains five percent (5%) fewer valid
                          matches than would otherwise have been obtained using Schedule A.

                  b.      Subject to Schedule B, if the Company is not contacted by a
                          Beneficiary within one hundred twenty (120) days of the Date of
                          Death Notice, the Company shall promptly commence a Thorough
                          Search, which shall be completed within one (1) year from the Date
                          of Death Notice. At the conclusion of that one (1) year period, if
                          (i) the Beneficiary cannot be located by a Thorough Search and (ii)
                          the Company is unable to establish an Exception, it shall report and
                          remit the death benefit proceeds as Unclaimed Property to the
                          affected state(s) in accordance with the applicable Unclaimed
                          Property Laws. . . .

                  c.      For the sole purpose of this Agreement, the Company, within the
                          time period in Schedule B, shall implement policies and procedures
                          establishing a DMF listing as prima facie proof of death and
                          requiring the Company to initiate its death claims process and
                          conduct a Thorough Search for Beneficiaries in accordance with
                          Section 2(b) of this Agreement. . . .



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                  d.      Utilize the DMF on all of its Life Insurance Policy, Annuity Contract,
                          and Retained Asset Account product lines using the comparison
                          methodologies . . . .

           A.     New York State Not Signatory to the Multi-State Settlement Agreement
                  Announces Progress of Department of Finance Yielding $262 Million

           149.   On April 23, 2012, New York State Governor Andrew Cuomo issued a press release

announcing that the investigation being done by the New York State Department of Financial

Services had recovered more than $260 million from insurance companies, an increase of over $200

million from the reported $52 million in December 2011:

           Governor Cuomo Announces DFS Investigation into Life Insurers Recovers
           More Than a Quarter Billion Dollars in Unpaid Benefits for Consumers
           Nationwide

           Investigation Finds Tens of Thousands of Policies Went Unpaid Because Insurance
           Companies Did Not Check if Policy Holders Had Died; Investigation Helped 7,525
           New Yorkers Recover Almost $100 Million in Life Insurance Payouts

           Albany, NY (April 23, 2012)

                   Governor Andrew M. Cuomo today announced that a Department of
           Financial Services (DFS) investigation into how insurance companies tracked life
           insurance policy holders has resulted in 32,715 payments to consumers nationwide
           totaling $262.2 million, including 7,525 payments totaling $95.9 million to New
           Yorkers.

                                              *       *       *

                     Meanwhile, the investigation found that insurance companies often used the
           list of recent deaths to verify the status of people getting annuity checks, and, when a
           death was verified, the insurance company stopped the annuity payment.

                                              *       *       *

                   As a result of its investigation, the state demanded that insurers use the U.S.
           Social Security Administration’s Death Master File to investigate policies for which
           no claims have been made and to find beneficiaries who are eligible for benefits but
           have not filed claims. New York was the first state to order the cross-check policy
           and will issue a regulation to mandate this action in the future. Following that
           edict, insurers reported they cross-checked approximately 89.58 million records.
           Insurers are still investigating more than 445,000 potential matches for unpaid
           claims.

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                  Some of the larger individual payments made so far include the following:

                         $344,757.37 to a Northport, New York beneficiary on an individual
                          life insurance policy where the insured died in 2007.

                         $217,031.88 to a Rockville Center, New York beneficiary on two
                          individual annuities where the annuitant died in 2006.

                         $138,051.81 to a Queens, New York beneficiary on an individual
                          life insurance policy where the insured died in 1998.

                         $107,399.60 to a Brooklyn, New York beneficiary on an individual
                          annuity where the annuitant died in 2005.

VIII. METLIFE’S FINANCIAL STATEMENTS WERE MATERIALLY MISSTATED
      IN VIOLATION OF GAAP AND SEC DISCLOSURE RULES

           150.   As detailed herein, defendants concealed significant loss exposures stemming from

the Company’s blatant disregard of the SSA-DMF in its life insurance business for purposes of

locating beneficiaries of deceased policyholders recognizing liabilities or escheating unclaimed

property to the states. By concealing these loss exposures, each of MetLife’s Class Period financial

statements9 were materially misstated and in violation of GAAP10 and SEC disclosure rules for the

following reasons:




9
       MetLife’s Class Period financial statements filed with the SEC include: Forms 10-Q filed on
May 5, 2010, August 2, 2010, August 3, 2010 Registration Statement, November 4, 2010, May 10,
2011 and August 5, 2011; Forms 10-K filed on February 26, 2010, February 25, 2011; and the
March 4, 2011 Registration Statement.
10
       GAAP constitutes those standards recognized by the accounting profession as the
conventions, rules and procedures necessary to define accepted accounting practices at a particular
time. The SEC has the statutory authority for the promulgation of GAAP for public companies and
has delegated that authority to the Financial Accounting Standards Board (“FASB”). SEC
Regulation S-X, Rule 4-01, 17 C.F.R. § 210.4-01(a)(1), provides that financial statements filed with
the SEC that are not presented in conformity with GAAP will be presumed to be misleading, despite
footnotes or other disclosures.



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                  (a)    MetLife failed to disclose loss contingencies and legal proceedings related to a

multi-state investigation concerning the Company’s use of the SSA-DMF, in violation of FASB

Accounting Standards Codification (“ASC”) 450, SEC Regulation S-K, Item 103, and SEC

Regulation S-K, Item 303; and

                  (b)    MetLife understated life insurance claim reserves for IBNR claims that had

been identified on the SSA-DMF, in violation of ASC 944 and American Institute of Certified Public

Accountants (“AICPA”) accounting rules.

           151.   Both of the above misstatements were material to the Company’s Class Period

financial statements. The multi-state investigation which began in 2009 (that MetLife failed to

disclose) resulted in a $500 million settlement (potentially increasing to $700 million) that was

revealed after the Class Period while the understatement of claim reserves resulted in over $143

million in after-tax charges that MetLife was forced to record at the end of the Class Period.

           A.     MetLife Failed to Disclose Loss Contingencies and Legal Proceedings in
                  Violation of GAAP and SEC Disclosure Rules

           152.   During the Class Period, MetLife concealed material loss exposures relating to a

multi-state examination surrounding MetLife’s use of the SSA-DMF. The multi-state investigations

began by at least September 22, 2009 when Florida and Illinois launched a joint Market Conduct

Examination of the Company’s use of the SSA-DMF.”11 Despite the fact that these investigations

began in late 2009, MetLife did not disclose the investigations or the possibility of losses stemming

from the investigations until August 2011 when the Company first disclosed it was under




11
           Regulatory Settlement Agreement, dated April 19, 2012.



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investigation and disclosed to investors the related costs “may be substantial.” The full extent of

MetLife’s true loss exposure was eventually revealed after the Class Period when the Company

settled with state regulators for $700 million.

           153.   MetLife’s failure to disclose these investigations and related loss exposures in its

Class Period financial statements violated GAAP and SEC disclosure rules. As depicted in the chart

below, MetLife failed to make these required GAAP and SEC disclosures in each of its Class Period

financial statements.

                             Item 103 Reg. S-K:            Item 303 Reg. S-K:     ASC 450: footnotes to
                             ‘Legal Proceedings’                MD&A             the financial statements
Form 10-K
                                      none                       none                      none
filed on Feb. 26, 2010
Form 10-Q
                                      none                       none                      none
filed on May 5, 2010
Form 10-Q
                                      none                       none                      none
filed on August 2, 2010
Prospectus
filed on August 3,                    none                       none                      none
2010
Form 10-Q
filed on November 4,                  none                       none                      none
2010
Form 10-K
                                      none                       none                      none
filed on Feb. 25, 2011
Prospectus
filed on March 4,                     none                       none                      none
2011
Form 10-Q
                                      none                       none                      none
filed on May 10, 2011
Form 10-Q
                                    partial12                   partial                   partial
filed on August 5, 2011




12
        MetLife disclosed the multi-state investigation for the first time but did not provide a range
of the possible loss exposure faced by the Company.



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                   1.      SEC Regulation S-K Item 103 “Legal Proceedings”

           154.    MetLife’s failure to make any disclosures regarding the multi-state investigation prior

to August 2011 was in direct violation of SEC Regulation S-K, Item 103 “Legal Proceedings,”

which requires the disclosure of “proceedings known to be contemplated by governmental

authorities.” For any such contemplated investigation or proceeding, Item 103 requires the

following information to be disclosed in the financial statements:

                   Describe briefly any material pending legal proceedings, other than ordinary
           routine litigation incidental to the business, to which the registrant or any of its
           subsidiaries is a party or of which any of their property is the subject. Include the
           name of the court or agency in which the proceedings are pending, the date instituted,
           the principal parties thereto, a description of the factual basis alleged to underlie the
           proceeding and the relief sought.

           155.    Clearly, the multi-state market conduct examination that began in late 2009 and

escalated throughout the Class Period was the exact type of governmental proceeding described

under this SEC disclosure rule. MetLife’s failure to disclose the investigation in any of its Class

Period financial statements through August 2011 was a violation of SEC Regulation S-K and

rendered the financial statements materially false and misleading. The fact that the multi-state

investigation had not yet resulted in any formal action as of each reporting date did not negate the

disclosure requirement as Item 103 clearly covers proceedings “known to be contemplated by

governmental authorities.” In fact, MetLife demonstrated its view of the disclosure threshold for this

type of contemplated government proceeding when it disclosed a similar investigation beginning in

mid 2010.13 Notably, this disclosed investigation on MetLife’s use of retained asset accounts did not




13
        In its August 2, 2010 Form 10-Q, MetLife disclosed details of an investigation concerning its
retained asset account. The disclosure stated: “The New York Attorney General recently announced


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result in any monetary settlements with New York or other states while the SSA-DMF investigation

that went entirely undisclosed has resulted in a $700 million multi-state settlement.

                  2.     ASC 450 “Contingencies”

           156.   MetLife’s lack of disclosures regarding the SSA-DMF investigations and potential

loss exposure stemming from those investigations also violated FASB, ASC 450. In addition to the

disclosure requirements found in SEC Regulation S-K, ASC 450 requires disclosure in the footnotes

to the financial statements for material loss contingencies and/or significant risks and uncertainties.

Notably, the SEC staff has reminded registrants that Item 103 of SEC Regulation S-K and FASB

Codification Topic 450, Contingencies have different requirements and objectives and should be

approached separately to ensure compliance.14 The occurrence, or non-occurrence, of a future event,

such as a possible enforcement action or litigation brought by state insurance commissioners or state

attorneys general meets the definition of a loss contingency under GAAP.15 Under ASC 450,

disclosing a loss contingency in the notes to the financial statements is required when there is more




that his office had launched a major fraud investigation into the life insurance industry for practices
related to the use of retained asset accounts and that subpoenas requesting comprehensive data
related to retained asset accounts have been served on MetLife and other insurance carriers.”
14
        AICPA National Conference on Current SEC & PCAOB Development (December, 2010).
Therefore, the statutory requirements that govern SEC Regulation S-K disclosures are independent
of the requirement to file financial statements that are in compliance with GAAP. Stressing the
importance of this concept, the SEC staff has noted that management needs to “take back the
financial statements” (to provide the disclosures required by GAAP) from the lawyers who may
want to restrict litigation disclosures.
15
       ASC 450 (formerly Statement of Financial Accounting Standards No. 5, Accounting for
Contingencies) defines a loss contingency as “an existing condition, situation, or set of
circumstances involving uncertainty as to [a] possible . . . loss to an enterprise that will ultimately be
resolved when one or more future events occur or fail to occur.”



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than a remote chance that a loss will be incurred (even in the event that a reliable estimate of

eventual losses cannot be made at the time).16 In fact, ASC 450 specifically addresses the disclosure

of “Litigation, Claims, and Assessments” and, notably, the SEC has stated that these GAAP rules

apply to pending litigation or proceedings. The SEC has noted that companies often are exposed to

financial loss prior to the commencement of a formal claim, i.e., a company may expect a current

government investigation to result in a formal claim upon completion of the investigation. ASC 450

states:

           The following factors, among others, must be considered in determining whether
           accrual and/or disclosure is required with respect to pending or threatened litigation
           and actual or possible claims and assessments:

                  a.      The period in which the underlying cause (i.e., the cause for action)
                          of the pending or threatened litigation or of the actual or possible
                          claim or assessment occurred.

                  b.      The degree of probability of an unfavorable outcome.

                  c.      The ability to make a reasonable estimate of the amount of loss.

                                             *       *       *

           With respect to unasserted claims and assessments, an enterprise must determine the
           degree of probability that a suit may be filed or a claim or assessment may be
           asserted and the possibility of an unfavorable outcome. . . . [A]n investigation of an
           enterprise by a governmental agency, if enforcement proceedings have been or are
           likely to be instituted, is often followed by private claims for redress, and the
           probability of their assertion and the possibility of loss should be considered in each
           case.




16
        It is clear that the threshold for disclosure of a loss contingency (as opposed to a higher
threshold for the accrual of a loss contingency) is very low – GAAP requires disclosure if, “[t]he
chance of the future event or events occurring is more than remote but less than likely.” Under
ASC 450: “The disclosure shall indicate the nature of the contingency and shall give an estimate
of the possible loss or range of loss or state that such an estimate cannot be made.”



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           157.   Once again, it is clear that the multi-state market conduct examination that began in

late 2009 and escalated throughout the Class Period met the disclosure criteria under this GAAP

disclosure rule. MetLife’s failure to disclose the investigation in any of its Class Period financial

statements through August 2011 was a violation of ASC 450 and rendered the financial statements

materially false and misleading.17 Similar to the disclosure rules of SEC Regulation S-K described

above, the fact that the investigation had not yet resulted in any formal action as of each reporting

date did not negate the disclosure requirement as ASC 450 clearly covers “pending or threatened

litigation” and “unasserted claims.” Notably, MetLife disclosed the retained asset account

investigation, referred to above, in the footnotes to its financial statements under the heading

“Contingencies, Commitments and Guarantees,” beginning in August 2010, but failed to disclose the

more material SSA-DMF investigation.

                  3.     SEC Regulation S-K Item 303: Management’s Discussion and Analysis

           158.   Similar to the disclosure requirements of ASC 450 which pertain to the footnotes of

the financial statements, SEC Regulation S-K, Item 303, requires disclosure of contingent liabilities

in the “Management’s Discussion and Analysis” section of the financial statements. Specifically,

Item 303 requires a company to disclose “uncertainties. . . that the registrant reasonably expects

will have a material . . . unfavorable impact on . . . income.” The SEC has consistently commented

that these disclosure rules cover contingent liabilities such as government investigations and

contemplated legal proceedings. For example, in a speech during the 2004 AICPA National




17
       SEC Regulation S-X, Rule 4-01, 17 C.F.R. §210.4-01(a)(1), provides that financial
statements filed with the SEC that are not presented in conformity with GAAP will be presumed to
be misleading.



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Conference on Current SEC and PCAOB Developments,18 Scott A. Taub, Deputy Chief Accountant

in the SEC’s Office of the Chief Accountant noted the following regarding the disclosure

requirements of ASC 450-20-50 and SEC Regulation S-K, Item 303:

                    Given these requirements, the recording of a material accrual for a contingent
           liability related to an event that occurred several years before should not be the first
           disclosure regarding that contingency. Rather, disclosures regarding the nature of the
           contingency and the amounts at stake should, in most cases, have already been
           provided. Disclosures should discuss the nature of the contingency and the possible
           range of losses for any item where the maximum reasonably possible loss is material.
           Vague or overly broad disclosures that speak merely to litigation, tax, or other risks
           in general, without providing any information about the specific kinds of loss
           contingencies being evaluated are not sufficient.

The SEC’s Taub completed his point by commenting: “I find it somewhat surprising how often

‘zero’ is the recorded loss [i.e., a no loss exposure at all has been disclosed] right up until a large

settlement is announced.” This was precisely what occurred in MetLife’s financial statements

during the Class Period – the Company made no disclosures prior to August 5, 2011 and then, just

seven months later, investors were blindsided by the announcement of the $700 million multi-state

settlement.

           B.     MetLife Understated Life Insurance Claim Reserves in Violation of GAAP

           159.   MetLife was also required under GAAP to record a liability, also known as a reserve,

for expected payouts related to life insurance benefits. More specifically, MetLife was required to

reserve for death benefits that had been incurred (i.e., the claimant had already died) but not yet

reported (i.e., a beneficiary had not yet notified MetLife). Under GAAP, these reserves are referred




18
       Similar remarks were made at subsequent conferences, including the 2010 AICPA National
Conference on Current and SEC and PCAOB Developments.



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to as “incurred but not yet reported” or “IBNR” and are fundamental to the financial statements of

insurance companies. ASC 944 states:

                   A liability for unpaid claims (including estimates of costs for claims
           relating to insured events that have occurred but have not been reported to the
           insurer)… shall be accrued when insured events occur.

           160.   The Audit and Accounting Guide for Life and Health Insurance Entities (“AICPA

Audit and Accounting Guide”), which was applicable to MetLife during the Class Period, contains

similar accounting guidance, including: “Insurance entities [are required to] set up estimated

reserves for unreported claims [or] Incurred but not reported claims: . . .claims relating to insured

events that have occurred (the insured has died or become disabled so that payment under the

terms of an insurance contract is due ) but the entity has not yet received notice of the claim as of

the date of the financial statements.”

           161.   In violation of these essential and fundamental GAAP provisions for the insurance

industry, MetLife blatantly ignored information it knew or had available to it through utilization of

the SSA-DMF and failed to record liabilities (reserves) for life insurance claims that had clearly been

incurred (and were easily identifiable using the SSA-DMF) but had not yet been reported. As a

result, MetLife understated its life insurance claim reserves and overstated its earnings in its Class

Period financial statements. MetLife’s financial statements also included the false representation

that:

                   The Company establishes liabilities for amounts payable under insurance
           policies, including traditional life insurance, traditional annuities, certain accident
           and health, and non-medical health insurance . . . . Such liabilities are established
           based on methods and underlying assumptions in accordance with GAAP . . . .

           162.   As alleged herein, defendants knew or recklessly disregarded, during the Class

Period, that MetLife’s reserves were not adequate to cover all incurred claims indentified or

identifiable in the SSA-DMF. For example, according to the multi-state Regulatory Settlement

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Agreement, in 2007 MetLife performed a match across certain of its insurance records using the

SSA-DMF and had discovered over $80 million in IBNR claims that had not been reserved for. In

2010, after the multi-state examination had began, MetLife performed additional matches using the

SSA-DMF and discovered additional IBNR claims that had not been reserved for. Despite these red

flags, defendants continued to understate claim reserves throughout the Class Period until recording

charges totaling $143 million after tax (approximately $220 million before tax) in late 2011 and

early 2012.

           163.   The charges recorded by MetLife included a $117 million after-tax charge in 3Q11,

equal to $0.11 per share, to “increase reserves in connection with the company’s use of the

U.S. Social Security Administration’s Death Master File and similar databases to identify potential

life insurance claims that have not yet been presented to the company.” After the Class Period, in

1Q12, MetLife announced an additional $26 million after-tax charge related to IBNR claims

associated with the SSA-DMF. In total, the estimated claims to be paid as a result of the SSA-DMF

settlements with the states is $667 million with $188 million to be paid out by the end of 2012. As

part of the settlement, MetLife also admitted that by failing to use the SSA-DMF during the Class

Period, the Company had failed to “identify liabilities” (and therefore failed to record adequate claim

reserves) in its Class Period financial statements19 and the Company was fixing the problem going

forward.




19
        Pursuant to the settlement to resolve the audits, the Company will, among other things, take
specified action to identify liabilities under life insurance, annuity, and retained asset contracts,
and, to the extent that it is unable to locate owners of amounts payable, to escheat these amounts
with interest at a specified rate to the appropriate states. Additionally, the Company has agreed to
accelerate the final date of certain industrial life policies and to escheat unclaimed benefits of such


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           164.   Based on the above charges MetLife was forced to record in order to establish its

reserves in accordance with GAAP, MetLife’s Class Period reserves were understated by at least the

following amounts:

       (in $millions)                    December 31, 2009            December 31, 2010
       Group Life: Liability for
                                                $2,981                       $2,717
       Future Policy Benefits
       minimum additional
                                                $15420                        $154
       reserve required
       % understated                            5.2%                          5.7%

           C.     The Misstatements Identified Above Were Material to MetLife’s Financial
                  Statements

           165.   MetLife’s disclosure violations and understatement of claim reserves were both

material misstatements in the Company’s Class Period financial statements.            In SEC Staff

Accounting Bulletin No. 99 (“SAB 99”), the SEC makes clear that any determination of materiality

hinges on both qualitative and quantitative factors. The SEC notes that “exclusive reliance on . . .

any percentage or numerical threshold has no basis in the accounting literature or the law.”




policies. Pursuant to the settlements, the Company will, among other things, adopt specified
procedures for identifying liabilities under life insurance, annuity, and retained asset contracts,
for seeking to contact and pay beneficiaries under such liabilities, and for escheating unclaimed
property to appropriate states.
20
        Calculated based on after-tax charges of $117 million in 3Q11 and $26 million in 1Q12, a tax
rate of 35% (which was the effective tax rate for MetLife’s insurance products business segment at
3Q11 and 1Q12), and 70% of the charges being allocated to group life (which was the disclosed 75%
for the 3Q11 charge).



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Instead, SAB 99 cites to the concept of materiality from FASB Statement of Financial Accounting

Concepts No. 2, Qualitative Characteristics of Accounting Information.21

           166.   The disclosure (or lack of disclosure) of the investigation and associated loss

contingencies surrounding the multi-state conduct examination into MetLife’s use of the SSA-DMF

was clearly qualitatively and quantitatively material during the Class Period. There are several

qualitative factors including the egregiousness of the practices MetLife was engaged in (including

the fact that MetLife was using the same SSA-DMF to promptly stop making annuity payments to

deceased customers) and the fact that state government investigations are serious events that are

clearly important to investors regardless of size. Quantitatively, the size of the eventual settlement,

$700 million settlement, is clear evidence that the disclosure of the investigation and associated loss

exposures faced by the Company would have been material to investors during the Class Period.

           167.   The understatement of life insurance claim liabilities and reserves was also

qualitatively and quantitatively material. Qualitatively, claim reserves are one of the most important

components of an insurance company’s financial statements and closely watched by investors. For

example, the Company has stated:

                  Our earnings significantly depend upon the extent to which our actual
           claims experience is consistent with the assumptions we use in setting prices for
           our products and establishing liabilities for future policy benefits and claims.

                                           *      *       *




21
        “The omission or misstatement of an item in a financial report is material if, in the light of
surrounding circumstances, the magnitude of the item is such that it is probable that the judgment of
a reasonable person relying upon the report would have been changed or influenced by the inclusion
or correction of the item.”



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            The Company’s principal cash outflows primarily relate to the liabilities associated
            with its various life insurance, property and casualty, annuity and group pension
            products, operating expenses and income tax, as well as principal and interest on its
            outstanding debt obligations. Liabilities arising from its insurance activities
            primarily relate to benefit payments under the aforementioned products, as well as
            payments for policy surrenders, withdrawals and loans.

 Quantitatively, as shown below, the $143 million in after-tax charges recorded by MetLife in 2011-

 2012 to correct for the understatement of claim reserves would have materially impacted MetLife’s

 reported results in each of the quarters during the Class Period:



 (in $millions)        4Q09         1Q10        2Q10         3Q10         4Q10        1Q11          2Q11
Originally
Reported Net            $289         $805       $1,526       $286          $51         $830         $1,206
Income
additional
reserve
requirement as          50%          18%          9%         50%          280%         17%          12%
a % of reported
net income

 IX.        LOSS CAUSATION/ECONOMIC LOSS RELEVANT TO SECTION 10(b)
            EXCHANGE ACT VIOLATIONS

            168.   During the Class Period, as detailed herein, defendants made false and misleading

 statements concerning the current and future financial condition of the Company and engaged in a

 scheme to deceive investors regarding the same. Specifically, as alleged herein, the Company

 qualitatively and quantitatively misstated its financial results for each of the reporting periods

 alleged herein.

            169.   In addition to the false financial statements the Individual Defendants and MetLife

 represented the overall strength of the Company’s business by falsely and repeatedly stating that the

 Company’s mortality and underwriting experience were more favorable than they were in truth, and

 failing to disclose that its mortality underwriting and overall operating results were materially

 misstated because the Company ignored evidence of known policyholder deaths and failed to pay

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beneficiaries monies owed to them or escheat unclaimed property to states. These materially false

representations caused MetLife’s stock to trade at an inflated level and operated as a fraud or deceit

on the Class (defined below).

           170.   Later, when the relevant truth regarding financial impact of the Company’s flawed

processes and procedures of utilization or non-utilization of the SSA-DMF and exposure to

beneficiaries of deceased policyholders and state agencies, MetLife’s stock price declined, as the

prior artificial inflation came out of the stock price.

           171.   Throughout the Class Period, it was part of defendants’ scheme to present a

misleading picture of MetLife’s financial condition and prospects by failing to truthfully disclose

that the Company’s true financial condition, earnings, reserves, expenses, losses, underwriting and

mortality experience and exposure to states for escheatment of unclaimed property. Defendants’

financial reports were in violation of GAAP and/or SEC disclosure rules and inconsistent with the

Company’s representations concerning its true financial condition processes and procedures for

assessing and reserving for claims, its reported income and earnings results.

           172.   Defendants’ false and misleading statements concerning its operational financial

statements had the intended effect as they each and together caused MetLife’s stock to trade at

artificially inflated prices throughout the Class Period, causing MetLife’s stock to trade as high as

$47.72 per share on February 7, 2011. When the relevant true facts of the Company’s financial and

operating conditions, which had been concealed by defendants’ fraudulent scheme, began to be

revealed to the market, MetLife’s stock price declined as the prior artificial inflation began to come

out of MetLife’s stock price.

           173.   For example, during the Class Period defendants misrepresented the Company’s true

financial condition. Notwithstanding that the Company, in May 2011, through certain of its senior

officers, testified that its processes and procedures prior to and during the Class Period knowingly

did not include the broad utilization of the SSA-DMF to determine liabilities to beneficiaries and

states, and that the Company had been in discussion with state regulators surrounding its usage or

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non-usage of the SSA-DMF, defendants maintained that with respect to inquiries concerning

retained asset accounts (which were subject to unclaimed property laws). Moreover, on July 28,

2011, the Company announced its 2Q11 financial results with no mention of the ongoing

investigations or known financial impact of the internal findings or findings by regulators. See

¶¶127-129. The Company’s positive 2Q11 financial results, which again boasted of highly favorable

mortality ratios in group life, strong underwriting results and operating earnings (¶¶127-129) caused

the stock price to remain artificially inflated.

           174.   On August 5, 2011, MetLife filed its Form 10-Q for the period ending June 30, 2011,

MetLife disclosed for the first time that regulators from 30 jurisdictions had begun to investigate,

not only its handling of retained asset accounts, but its overall handling of unclaimed property and

failure to cross-check its policies with the SSA-DMF. This was new information that included

financial exposure, the breadth and depth of which were not previously disclosed. In fact, the

August 5, 2011 Form 10-Q disclosed for the first time the regulatory investigation would result in:

(i) additional payment to beneficiaries; (ii) additional escheatment of funds to states; (iii)

administrative penalties; and (iv) changes to the Company’s internal procedures for compliance with

state escheatment laws.

           175.   There was more, while the Company had previously contended that disclosures

related to the handling of retained assets were sufficient and that allegations of fraud were without

merit, those blanket denials were removed and instead replaced with a warning that costs associated

with the investigations and payments related to unclaimed property inquiries could be substantial.

           176.   The August 5, 2011 disclosures in MetLife’s Form 10-Q caused the Company’s

stock price to decline 11% between Friday, August 5, 2011, and Monday, August 8, 2011. By close

of market hours on August 8, 2011, MetLife stock traded down from a close of $36.90 on Thursday,

August 4, 2011, to a close of $32.74 on Monday, August 8, 2011.

           177.   On October 6, 2011, MetLife filed with the SEC a Form 8-K quantifying the impact

of the regulatory investigations reported on August 5, 2011, stating among other things that it would

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take at least a $115 million after-tax charge to increase its reserves in connection with its use of the

SSA-DMF to identify deceased policyholders. See ¶¶135-139.

           178.   As a result of the October 6, 2011 news that the Company would have to increase its

reserves to cover IBNR losses, the Company’s stock price declined from $30.69 on October 6, 2011

to $28.80 on October 7, 2011. ¶¶135-139.

           179.   Like other members of the Class of purchasers of MetLife stock who purchased at

artificially inflated prices during the Class Period, lead plaintiff suffered an economic loss, i.e.,

damages, under the Federal Securities Laws when MetLife’s stock price continued to decline

following the Company’s disclosures on August 5, 2011 and October 6, 2011 regarding defendants’

scheme to conceal MetLife’s true financial condition.

X.         NO SAFE HARBOR

           180.   MetLife’s verbal “Safe Harbor” warnings accompanying its oral forward-looking

statements (“FLS”) issued during the Class Period were ineffective to shield those statements from

liability.

           181.   Defendants are also liable for any false or misleading FLS pleaded because, at the

time each FLS was made, the speaker knew the FLS was false or misleading and the FLS was

authorized and/or approved by an executive officer of MetLife who knew that the FLS was false.

None of the historic or present tense statements made by defendants were assumptions underlying or

relating to any plan, projection or statement of future economic performance, as they were not stated

to be such assumptions underlying or relating to any projection or statement of future economic

performance when made, nor were any of the projections or forecasts made by defendants expressly

related to or stated to be dependent on those historic or present tense statements when made.




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XI.        APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE
           MARKET

           182.   Plaintiff will rely upon the presumption of reliance established by the fraud-on-the-

market doctrine in that, among other things:

                  (a)    Defendants made public misrepresentations or failed to disclose material facts

during the Class Period;

                  (b)    The omissions and misrepresentations were material;

                  (c)    The Company’s stock traded in an efficient market;

                  (d)    The misrepresentations alleged would tend to induce a reasonable investor to

misjudge the value of the Company’s stock; and

                  (e)    Plaintiff and other members of the Class purchased MetLife common stock

between the time defendants misrepresented or failed to disclose material facts and the time the true

facts were disclosed, without knowledge of the misrepresented or omitted facts.

           183.   At all relevant times, the market for MetLife common stock was efficient for the

following reasons, among others:

                  (a)    As a regulated issuer, MetLife filed periodic public reports with the SEC; and

                  (b)    MetLife regularly communicated with public investors via established market

communication mechanisms, including through regular dissemination of press releases on the major

news wire services and through other wide-ranging public disclosures, such as communications with

the financial press, securities analysts and other similar reporting services.

XII.       CLASS ACTION ALLEGATIONS

           184.   Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of all persons who purchased MetLife common stock during the Class



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Period (the “Class”). Excluded from the Class are defendants and their families, and directors and

officers of MetLife and their families and affiliates.

           185.   The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court. MetLife has over 1 billion shares of common stock outstanding.

           186.   There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

                  (a)    Whether the Exchange Act was violated by defendants;

                  (b)    Whether defendants omitted and/or misrepresented material facts;

                  (c)    Whether defendants’ statements omitted material facts necessary in order to

make the statements made, in light of the circumstances under which they were made, not

misleading;

                  (d)    Whether defendants knew or recklessly disregarded that their statements were

false and misleading;

                  (e)    Whether the price of MetLife common stock was artificially inflated; and

                  (f)    The extent of damage sustained by Class members and the appropriate

measure of damages.

           187.   Plaintiff’s claims are typical of those of the Class because plaintiff and the Class

sustained damages from defendants’ wrongful conduct.

           188.   Plaintiff will adequately protect the interests of the Class and has retained counsel

who are experienced in class action securities litigation. Plaintiff has no interests which conflict

with those of the Class.

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           189.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

                                                COUNT I

                  For Violation of Section 10(b) of the Exchange Act and Rule 10b-5
                                  Against the Individual Defendants

           190.    Plaintiff incorporates ¶¶1-190 by reference.

           191.    During the Class Period, defendants disseminated or approved the false statements

specified above, which they knew or recklessly disregarded were misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

           192.    Defendants violated §10(b) of the Exchange Act and Rule 10b-5 in that they:

                   (a)    Employed devices, schemes, and artifices to defraud;

                   (b)    Made untrue statements of material facts or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they were

made, not misleading; or

                   (c)    Engaged in acts, practices, and a course of business that operated as a fraud or

deceit upon plaintiff and others similarly situated in connection with their purchases of MetLife

common stock during the Class Period.

           193.    Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for MetLife common stock. Plaintiff and the Class

would not have purchased MetLife common stock at the prices they paid, or at all, if they had been

aware that the market prices had been artificially and falsely inflated by defendants’ misleading

statements.



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           194.   As a direct and proximate result of defendants’ wrongful conduct, plaintiff and the

other members of the Class suffered damages in connection with their purchases of MetLife

common stock during the Class Period.

                                              COUNT II

                        For Violation of Section 20(a) of the Exchange Act
                    Against All Defendants Except the Underwriter Defendants

           195.   Plaintiff incorporates ¶¶1-194 by reference.

           196.   The Individual Defendants acted as controlling persons of MetLife within the

meaning of §20(a) of the Exchange Act. By virtue of their positions and their power to control

public statements about MetLife, the Individual Defendants and directors had the power and ability

to control the actions of MetLife and did control communications made to the public and investors,

including, but not limited to, the Offering Materials. MetLife controlled the Individual Defendants

and its other officers and employees. By reason of such conduct, defendants are liable pursuant to

§20(a) of the Exchange Act.

XIII. CLAIMS FOR VIOLATIONS OF SECTIONS 11, 12 AND 15 OF THE
      SECURITIES ACT OF 1933

           197.   The Securities Act claims set forth herein below are based on strict liability and

negligence and are not based on any allegation that any defendant engaged in fraud or intentional

misconduct. Plaintiff specifically disclaims any reference to or reliance on allegations of fraud.

           198.   This claim is brought on behalf of all persons who purchased or acquired the common

stock of MetLife pursuant or traceable to the Company’s false and misleading August 3, 2010

Registration Statement and the March 4, 2011 Registration Statement (collectively, the “Offering

Materials”). The Offering Materials were issued in connection with MetLife’s August 3, 2010




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public offering of 75 million shares of MetLife common shares and MetLife’s March 4, 2011

offering of 68.5 million shares of MetLife common shares, respectively (the “Offerings”).

           199.   Plaintiff seeks to recover damages under §§11 and 12(a)(2) and 15 of the Securities

Act, 15 U.S.C. §§77k, 77l(a)(2) and 77o, for untrue statements of material fact, the omission of facts

necessary to make statements not misleading and the omission of material facts required to be stated

in the Offering Materials.

           A.     False and Misleading Statements and Omissions in the Registration
                  Statements and Offering Materials

           200.   The August 3, 2010 Offering: On August 3, 2010, the Company filed the August 3,

2010 Registration Statement with the SEC setting forth the terms of MetLife common stock, offering

of 75 million shares of its common stock in connection with the acquisition of AIG’s ALICO

international life insurance business.22 Through the August 3, 2010 Registration Statement, MetLife

as the issuer would offer 75,000,000 (seventy-five million) shares of MetLife common stock $0.01 a

value per share. If the underwriters sold more than 75,000,000 shares of the common stock, the




22
       The August 3, 2010 Registration Statement included the August 3, 2010 Prospectus
Supplement, which was issued pursuant to MetLife’s November 6, 2007 shelf registration statement
and prospectus and incorporated the following documents by reference:

           Annual Report on Form 10-K for the year ended December 31, 2009; Quarterly
           Reports on Form 10-Q for the quarters ended March 31, 2010 and June 30, 2010;
           Definitive Proxy Statement filed on March 23, 2010 Registration Statement on Form
           8-A, relating to MetLife, Inc.’s common stock and Series A Junior Participating
           Preferred Stock purchase rights, filed on March 31, 2000, as amended and restated by
           the Registration Statement on Form 8-A/A, Amendment No. 1 filed on March 11,
           2010; and Current Reports on Form 8-K filed on January 29, 2010, February 22,
           2010, March 5, 2010, March 11, 2010, April 13, 2010, May 3, 2010, May 7, 2010,
           May 17, 2010 and August 2, 2010.



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underwriters would have the option to purchase 11.25 million additional shares to cover the over-

allotments.

           201.   The August 3, 2010 Registration Statement by reference the February 26, 2010 Form

10-K for fiscal year ended December 31, 2009 and Forms 10-Q for periods ended March 31, 2010

and June 30, 2010, each of which contained false financial statements as detailed below at ¶¶207-

224. In addition, the August 3, 2010 Registration Statement purported to warn investors in its

common stock of certain risks connected to the August 3, 2010 offering. Each of the purported

warnings were false however because they omitted material facts:

                  We establish, and carry as liabilities, actuarially determined amounts that
           are calculated to meet our policy obligations when a policy matures or is
           surrendered, an insured dies or becomes disabled or upon the occurrence of other
           covered events, or to provide for future annuity payments. We compute the amounts
           for actuarial liabilities reported in our consolidated financial statements in
           conformity with accounting principles generally accepted in the United States of
           America (“GAAP”).

                                             *      *       *

           Liability for Future Policy Benefits and Policyholder Account Balances

                   The Company establishes liabilities for amounts payable under insurance
           policies, including traditional life insurance, traditional annuities and non-medical
           health insurance. . . . Such liabilities are established based on methods and
           underlying assumptions in accordance with GAAP and applicable actuarial
           standards. Principal assumptions used in the establishment of liabilities for future
           policy benefits are mortality . . . .

                                             *      *       *

           Assumptions as to mortality and persistency are based upon the Company’s
           experience when the basis of the liability is established.

           202.   On August 6, 2010, the Company issued a press release announcing that it had

completed the offering of 86.25 million shares of its common stock, which included the over

allotment provided to underwriters and raised gross proceeds of $3.6 billion:

           MetLife Completes Public Offerings
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           NEW YORK, Aug 06, 2010 (BUSINESS WIRE) –

                   MetLife, Inc. . . . announced today that it has closed its recently announced
           public offering of 75 million shares of common stock and issued an additional 11.25
           million shares of common stock pursuant to the exercise in full by the underwriters
           of their over-allotment option. The total offering of 86.25 million shares produced
           gross proceeds of approximately $3.6 billion.

                  MetLife also has closed its public offerings of $3 billion in aggregate
           principal amount of senior debt in several series with varying maturities and interest
           rates.

                   Net proceeds from the common stock and senior debt offerings will be used
           to help finance the company’s previously announced acquisition of American Life
           Insurance Company from American International Group, Inc. . . . .

           203.   The March 4, 2011 Offering: On March 4, 2011, the Company filed the March 4,

2011 Registration Statement, which included the March 4, 2011 Form 424 (b)(5) Prospectus

Supplement to the shelf registration statement and prospectus filed with the SEC on November 30,

2010.23

           204.   In addition to the false financials, the March 4, 2011 Registration Statement also

made the following false purported warnings representations concerning the Company’s reserve

methodologies, mortality results and compliance with state and regulatory capital requirements:

           We experienced excellent mortality results in our group life business due to a
           decrease in severity, as well as favorable reserve refinements in the current year.



23
        The March 4, 2011 Registration Statement offered 146 million shares of common stock of
Met Life, including 68 million shares of the Company’s common stock at $43.25 per share and AIG
offering another 78 million shares of MetLife common stock. The March 4, 2011 Registration
Statement, incorporated by reference, the Company’s Annual Report on Form 10-K for the year
ended December 31, 2010 and in Amendment No. 1 to the Form 10-K/A filed with the SEC on
March 1, 2011. The March 4, 2011 Registration Statement also incorporated by reference, the
Company’s Forms 8-K filed on August 2, 2010, November 30, 2010, March 1, 2011 and March 2,
2011, each of which contained false financial statements and other misrepresentations discussed
above.



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                                             *       *       *

           Liability for Future Policy Benefits and Policyholder Account Balances

                    The Company establishes liabilities for amounts payable under insurance
           policies, including traditional life insurance, traditional annuities, certain accident
           and health, and non-medical health insurance. . . . Such liabilities are established
           based on methods and underlying assumptions in accordance with GAAP and
           applicable actuarial standards. Principal assumptions used in the establishment of
           liabilities for future policy benefits are mortality . . . .

                                             *       *       *

           Assumptions as to mortality and persistency are based upon the Company’s
           experience when the basis of the liability is established.

                                             *       *       *

           Other Policy-Related Balances

                                             *       *       *

                  The liability for policy and contract claims generally relates to incurred but
           not reported death, disability, long-term care and dental claims, as well as claims
           which have been reported but not yet settled. The liability for these claims is based
           on the Company’s estimated ultimate cost of settling all claims. The Company
           derives estimates for the development of incurred but not reported claims
           principally from actuarial analyses of historical patterns of claims and claims
           development for each line of business.

           205.   The March 4, 2011 Registration Statement also purported to make the following

warnings concerning policyholder liabilities, underwriting, claims and reserve experiences and

litigation contingencies. Each of the following statements were false and misleading because the

Registration Statements omitted material facts:

           Policyholder Liabilities

                  We establish, and carry as liabilities, actuarially determined amounts that
           are calculated to meet our policy obligations when a policy matures or is
           surrendered, an insured dies. We compute the amounts for actuarial liabilities
           reported in our consolidated financial statements in conformity with GAAP.




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           206.   On March 8, 2011, the Company issued a press release announcing that it had

completed the public offering of more than 68 million shares of its common stock, raising gross

proceeds of $2.97 billion:

           MetLife Announces Completion of Common Stock and Common Equity Unit
           Offerings

           NEW YORK, Mar 08, 2011 (BUSINESS WIRE) –

                  MetLife, Inc. . . . announced today that it and ALICO Holdings LLC, a
           subsidiary of American International Group, Inc. (AIG), have closed their recently
           announced offering of 146,809,712 shares of MetLife common stock.

                   MetLife offered 68,570,000 shares of its common stock to the public for
           gross proceeds of $2.97 billion. Net proceeds from MetLife’s sale of its common
           stock were used to repurchase and cancel 6,857,000 shares of contingent convertible
           preferred stock owned by AIG.

           B.     Material Misstatements and Omissions in the Offering Materials

                  1.      MetLife’s Financial Statements Were Materially Misstated in
                          Violation of GAAP and SEC Disclosure Rules

           207.   The Offering Materials omitted facts concerning significant loss exposures stemming

from the Company’s disregard of the SSA-DMF in its life insurance business for purposes of

locating beneficiaries of deceased policyholders recognizing liabilities or escheating unclaimed

property to the states. By omitting these loss exposures, each of MetLife’s Class Period financial




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statements24 were materially misstated and in violation of GAAP25 and SEC disclosure rules for the

following reasons:

                  (a)    The Offering Materials omitted loss contingencies and legal proceedings

related to a multi-state investigation concerning the Company’s use of the SSA-DMF, in violation of

ASC 450, SEC Regulation S-K, Item 103, and SEC Regulation S-K, Item 303; and

                  (b)    The financial statements incorporated in the Offering Materials understated

life insurance claim reserves for IBNR claims that had been identified on the SSA-DMF, in violation

of ASC 944 and AICPA accounting rules.

           208.   The above omissions and misstatements were material to the Company’s Class Period

financial statements. The multi-state investigation which began in 2009 (that MetLife failed to

disclose) resulted in a $500 million settlement (potentially increasing to $700 million) that was

revealed after the Class Period while the understatement of claim reserves resulted in over $143

million in after-tax charges that MetLife was forced to record at the end of the Class Period.




24
       MetLife’s Class Period financial statements filed with the SEC include: Forms 10-Q filed on
May 5, 2010, August 2, 2010, August 3, 2010 Registration Statement, November 4, 2010, May 10,
2011; and August 5, 2011 Form 10-K filed on February 26, 2010, February 25, 2011; and the March
4, 2011 Registration Statement.
25
        GAAP constitutes those standards recognized by the accounting profession as the
conventions, rules and procedures necessary to define accepted accounting practices at a particular
time. The SEC has the statutory authority for the promulgation of GAAP for public companies and
has delegated that authority to the Financial Accounting Standards Board. SEC Regulation S-X, Rule
4-01 17 C.F.R. § 210.4-01(a)(1), provides that financial statements filed with the SEC that are not
presented in conformity with GAAP will be presumed to be misleading, despite footnotes or other
disclosures.



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                  2.     MetLife Failed to Disclose Loss Contingencies and Legal Proceedings
                         in Violation of GAAP and SEC Disclosure Rules

           209.   The Offering Materials omitted material loss exposures relating to a multi-state

examination surrounding MetLife’s use of the SSA-DMF. The multi-state investigations began by at

least September 22, 2009 when Florida and Illinois launched a joint Market Conduct Examination of

the Company’s use of the SSA-DMF.”26 Despite the fact that these investigations began in late

2009, The Offering Materials did not disclose the investigations or the possibility of losses stemming

from the investigations until August 2011 when the Company first disclosed it was under

investigation and disclosed to investors the related costs “may be substantial.” The full extent of

MetLife’s true loss exposure was eventually revealed after the Class Period when the Company

settled with state regulators for $700 million.

           210.   The omissions of these investigations and related loss exposures in its Class Period

financial statements and Offering Materials violated GAAP and SEC disclosure rules. As depicted in

the chart below, MetLife’s financial statements in the Offering Materials failed to make these

required GAAP and SEC disclosures in each of its Class Period financial statements.




26
           Regulatory Settlement Agreement, dated April 19, 2012.



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                              Item 103 Reg. S-K:           Item 303 Reg. S-K:      ASC 450: footnotes to
                              ‘Legal Proceedings’               MD&A              the financial statements
Form 10-K
                                      none                       none                        none
filed on Feb. 26, 2010
Form 10-Q
                                      none                       none                        none
filed on May 5, 2010
Form 10-Q
                                      none                       none                        none
filed on August 2, 2010
Prospectus
filed on August 3,                    none                       none                        none
2010
Form 10-Q
filed on November 4,                  none                       none                        none
2010
Form 10-K
                                      none                       none                        none
filed on Feb. 25, 2011
Prospectus
filed on March 4,                     none                       none                        none
2011
Form 10-Q
                                      none                       none                        none
filed on May 10, 2011
Form 10-Q
                                    partial27                   partial                     partial
filed on August 5, 2011


                         a.      SEC Regulation S-K Item 103 “Legal Proceedings”

           211.   The Offering Materials omitted any disclosures regarding the multi-state investigation

prior to August 2011 was in direct violation of SEC Regulation S-K, Item 103 “Legal Proceedings,”

which requires the disclosure of “proceedings known to be contemplated by governmental

authorities.” For any such contemplated investigation or proceeding, Item 103 requires the

following information to be disclosed in the financial statements:




27
        MetLife disclosed the multi-state investigation for the first time but did not provide a range
of the possible loss exposure faced by the Company.



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                   Describe briefly any material pending legal proceedings, other than ordinary
           routine litigation incidental to the business, to which the registrant or any of its
           subsidiaries is a party or of which any of their property is the subject. Include the
           name of the court or agency in which the proceedings are pending, the date instituted,
           the principal parties thereto, a description of the factual basis alleged to underlie the
           proceeding and the relief sought.

           212.    The omissions of these investigations in any of its Class Period financial statements

through August 2011 was a violation of SEC Regulation S-K and rendered the financial statements,

incorporated into the Offering Materials, materially false and misleading.

                           b.      ASC 450 “Contingencies”

           213.    The omission of the SSA-DMF investigations and potential loss exposure stemming

from those investigations also violated FASB, ASC 450. In addition to the disclosure requirements

found in SEC Regulation S-K, ASC 450 requires disclosure in the footnotes to the financial

statements for material loss contingencies and/or significant risks and uncertainties. Notably, the

SEC staff has reminded registrants that Item 103 of SEC Regulation S-K and FASB Codification

Topic 450, Contingencies have different requirements and objectives and should be approached

separately to ensure compliance.28 The occurrence, or non-occurrence, of a future event, such as a

possible enforcement action or litigation brought by state insurance commissioners or state attorneys

general meets the definition of a loss contingency under GAAP.29 Under ASC 450, disclosing a loss




28
         AICPA National Conference on Current SEC & PCAOB Development (December, 2010).
Therefore, the statutory requirements that govern Regulation S-K disclosures are independent of the
requirement to file financial statements that are in compliance with GAAP. Stressing the importance
of this concept, the SEC staff has noted that management needs to “take back the financial
statements” (to provide the disclosures required by GAAP) from the lawyers who may want to
restrict litigation disclosures.
29
       ASC 450 (formerly Statement of Financial Accounting Standards No. 5, Accounting for
Contingencies) defines a loss contingency as “an existing condition, situation, or set of


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contingency in the notes to the financial statements is required when there is more than a remote

chance that a loss will be incurred (even in the event that a reliable estimate of eventual losses

cannot be made at the time).30 In fact, ASC 450 specifically addresses the disclosure of “Litigation,

Claims, and Assessments” and, notably, the SEC has stated that these GAAP rules apply to pending

litigation or proceedings. The SEC has noted that companies often are exposed to financial loss

prior to the commencement of a formal claim, i.e., a company may expect a current government

investigation to result in a formal claim upon completion of the investigation. ASC 450 states:

           The following factors, among others, must be considered in determining whether
           accrual and/or disclosure is required with respect to pending or threatened litigation
           and actual or possible claims and assessments:

                  a.      The period in which the underlying cause (i.e., the cause for action)
                          of the pending or threatened litigation or of the actual or possible
                          claim or assessment occurred.

                  b.      The degree of probability of an unfavorable outcome.

                  c.      The ability to make a reasonable estimate of the amount of loss.

                                             *       *       *

           With respect to unasserted claims and assessments, an enterprise must determine the
           degree of probability that a suit may be filed or a claim or assessment may be
           asserted and the possibility of an unfavorable outcome. . . .




circumstances involving uncertainty as to [a] possible . . . loss to an enterprise that will ultimately be
resolved when one or more future events occur or fail to occur.”
30
        It is clear that the threshold for disclosure of a loss contingency (as opposed to a higher
threshold for the accrual of a loss contingency) is very low – GAAP requires disclosure if, “[t]he
chance of the future event or events occurring is more than remote but less than likely.” Under
ASC 450: “The disclosure shall indicate the nature of the contingency and shall give an estimate
of the possible loss or range of loss or state that such an estimate cannot be made.”



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            [A]n investigation of an enterprise by a governmental agency, if enforcement
           proceedings have been or are likely to be instituted, is often followed by private
           claims for redress, and the probability of their assertion and the possibility of loss
           should be considered in each case.

           214.   The omission of the of the investigation in any of its Class Period financial statements

of the Offering Materials was a violation of ASC 450 and rendered the financial statements

materially false and misleading.31

                          c.      SEC Regulation S-K Item 303: Management’s Discussion and
                                  Analysis

           215.   Similar to the disclosure requirements of ASC 450 which pertain to the footnotes of

the financial statements, SEC Regulation S-K, Item 303, requires disclosure of contingent liabilities

in the “Management’s Discussion and Analysis” section of the financial statements. Specifically,

Item 303 requires a company to disclose “uncertainties . . . that the registrant reasonably expects

will have a material . . . unfavorable impact on . . . income.” The SEC has consistently commented

that these disclosure rules cover contingent liabilities such as government investigations and

contemplated legal proceedings. For example, in a speech during the 2004 AICPA National

Conference on Current SEC and PCAOB Developments,32 Scott A. Taub, Deputy Chief Accountant

in the SEC’s Office of the Chief Accountant, noted the following regarding the disclosure

requirements of ASC 450-20-50 and SEC Regulation S-K, Item 303:




31
       SEC Regulation S-X, Rule 4-01, 17 C.F.R. §210.4-01(a)(1), provides that financial
statements filed with the SEC that are not presented in conformity with GAAP will be presumed to
be misleading.
32
       Similar remarks were made at subsequent conferences, including the 2010 AICPA National
Conference on Current and SEC and PCAOB Developments.



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           Given these requirements, the recording of a material accrual for a contingent
           liability related to an event that occurred several years before should not be the first
           disclosure regarding that contingency. Rather, disclosures regarding the nature of the
           contingency and the amounts at stake should, in most cases, have already been
           provided. Disclosures should discuss the nature of the contingency and the possible
           range of losses for any item where the maximum reasonably possible loss is material.
           Vague or overly broad disclosures that speak merely to litigation, tax, or other risks
           in general, without providing any information about the specific kinds of loss
           contingencies being evaluated are not sufficient.

The SEC’s Taub completed his point by commenting: “I find it somewhat surprising how often

‘zero’ is the recorded loss [i.e., a no loss exposure at all has been disclosed] right up until a large

settlement is announced.”

           C.     MetLife Understated Life Insurance Claim reserves in Violation of GAAP

           216.   MetLife was also required under GAAP to record a liability, also known as a reserve,

for expected payouts related to life insurance benefits. More specifically, MetLife was required to

reserve for death benefits that had been incurred (i.e., the claimant had already died) but not yet

reported (i.e., a beneficiary had not yet notified MetLife). Under GAAP, these reserves are referred

to as “incurred but not yet reported” or “IBNR” and are fundamental to the financial statements of

insurance companies. ASC 944 states:

                   A liability for unpaid claims (including estimates of costs for claims
           relating to insured events that have occurred but have not been reported to the
           insurer)… shall be accrued when insured events occur.

           217.   The Audit and Accounting Guide for Life and Health Insurance Entities(“AICPA

Audit and Accounting Guide”), which was applicable to MetLife during the Class Period, contains

similar accounting guidance, including: “Insurance entities [are required to] set up estimated

reserves for unreported claims [or] Incurred but not reported claims: . . .claims relating to insured

events that have occurred (the insured has died or become disabled so that payment under the




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terms of an insurance contract is due ) but the entity has not yet received notice of the claim as of

the date of the financial statements.”

           218.   In violation of these essential and fundamental GAAP provisions for the insurance

industry, the Offering Materials omitted material information concerning utilization of the SSA-

DMF and that liabilities (reserves) were not recorded for life insurance claims that had been incurred

(and were easily identifiable using the SSA-DMF) but had not yet been reported in the Offering

Materials omitted that MetLife’s financial statements understated the Company’s life insurance

claim reserves and overstated its earnings in its Class Period financial statements. MetLife’s

financial statements and Offering Materials also included the false representation that:

                   The Company establishes liabilities for amounts payable under insurance
           policies, including traditional life insurance, traditional annuities, certain accident
           and health, and non-medical health insurance . . . . Such liabilities are established
           based on methods and underlying assumptions in accordance with GAAP . . . .

           219.   The Offering materials omitted that MetLife’s reserves were not adequate to cover all

incurred claims indentified or identifiable in the SSA-DMF. The Company ultimately too charges

totaling $143 million after tax (approximately $220 million before tax) in late 2011 and early 2012.

           220.   The charges recorded by MetLife included a $117 million after-tax charge in 3Q11,

equal to $0.11 per share, to “increase reserves in connection with the company’s use of the

U.S. Social Security Administration’s Death Master File and similar databases to identify potential

life insurance claims that have not yet been presented to the company.” After the Class Period, in

1Q12, MetLife announced an additional $26 million after-tax charge related to IBNR claims

associated with the SSA-DMF. In total, the estimated claims to be paid as a result of the SSA-DMF

settlements with the states is $667 million with $188 million to be paid out by the end of 2012.




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           221.   Based on the above charges MetLife was forced to record in order to establish its

reserves in accordance with GAAP, MetLife’s Class Period reserves were understated by at least the

following amounts:

       (in $millions)                    December 31, 2009              December 31, 2010
       Group Life: Liability for
                                                $2,981                         $2,717
       Future Policy Benefits
       minimum additional
                                                $15433                         $154
       reserve required
       % understated                            5.2%                           5.7%

                  1.     The Misstatements Identified Above Were Material to MetLife’s
                         Financial Statements

           222.   MetLife’s disclosure violations and understatement of claim reserves were both

material misstatements in the Company’s Class Period financial statements. In SEC SAB 99, the

SEC makes clear that any determination of materiality hinges on both qualitative and quantitative

factors. The SEC notes that “exclusive reliance on . . . any percentage or numerical threshold has

no basis in the accounting literature or the law.” Instead, SAB 99 cites to the concept of

materiality from FASB Statement of Financial Accounting Concepts No. 2, Qualitative

Characteristics of Accounting Information.34




33
        Calculated based on after-tax charges of $117 million in 3Q11 and $26 million in 1Q12, a tax
rate of 35% (which was the effective tax rate for MetLife’s insurance products business segment at
3Q11 and 1Q12), and 70% of the charges being allocated to group life (which was the disclosed 75%
for the 3Q11 charge).
34
        “The omission or misstatement of an item in a financial report is material if, in the light of
surrounding circumstances, the magnitude of the item is such that it is probable that the judgment of
a reasonable person relying upon the report would have been changed or influenced by the inclusion
or correction of the item.”


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           223.   The disclosure (or lack of disclosure) of the investigation and associated loss

contingencies surrounding the multi-state conduct examination into MetLife’s use of the SSA-DMF

was clearly qualitatively and quantitatively material during the Class Period. There are several

qualitative factors including the egregiousness of the practices MetLife was engaged in (including

the fact that MetLife was using the same SSA-DMF to promptly stop making annuity payments to

deceased customers) and the fact that state government investigations are serious events that are

clearly important to investors regardless of size. Quantitatively, the size of the eventual settlement,

$700 million settlement, is clear evidence that the disclosure of the investigation and associated loss

exposures faced by the Company would have been material to investors during the Class Period.

           224.   The understatement of life insurance claim liabilities and reserves was also

qualitatively and quantitatively material. Qualitatively, claim reserves are one of the most important

components of an insurance company’s financial statements and closely watched by investors. For

example the Company has stated:

           Our earnings significantly depend upon the extent to which our actual claims
           experience is consistent with the assumptions we use in setting prices for our
           products and establishing liabilities for future policy benefits and claims.

                                             *      *       *

           The Company’s principal cash outflows primarily relate to the liabilities associated
           with its various life insurance, property and casualty, annuity and group pension
           products, operating expenses and income tax, as well as principal and interest on its
           outstanding debt obligations. Liabilities arising from its insurance activities
           primarily relate to benefit payments under the aforementioned products, as well as
           payments for policy surrenders, withdrawals and loans.

Quantitatively, as shown below, the $143 million in after-tax charges recorded by MetLife in 2011-

2012 to correct for the understatement of claim reserves would have materially impacted MetLife’s

reported results in each of the quarters during the Class Period.



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 (in $millions)         4Q09       1Q10         2Q10        3Q10         4Q10         1Q11        2Q11
Originally
Reported Net            $289        $805       $1,526       $286          $51         $830       $1,206
Income
additional
reserve
requirement as          50%         18%          9%         50%          280%         17%         12%
a % of reported
net income


                   2.     MetLife Admits Investigation of Death Benefit Claims Could Have a
                          Material Impact on Its Financial Statements – Takes After-
                          Tax Charge to Earnings

            225.   On August 5, 2011, only one week after the July 28, 2011 announcement of its 2Q11

 results, the Company filed with the SEC its Form 10-Q for the period ended June 30, 2011. The

 Company disclosed that:

                  The regulatory investigation into its death benefits practices had expanded to more
                   than 30 jurisdictions;

                  The investigations could result in additional escheatment to the states;

                  The Company could be subjected to administrative penalties; and

                  The costs related to said investigations and procedures could be “substantial.”

            226.   The August 5, 2011 disclosure in MetLife’s Form 10-Q caused the Company’s stock

 price to decline 11% between Friday, August 5, 2011, and Monday, August 8, 2011. By close of the

 market on August 8, 2011, MetLife stock traded down from a close of $36.90 per share on Thursday,

 August 4, 2011, to a close of $32.74 per share on Monday, August 8, 2011.

            227.   On October 6, 2011, the Company filed with the SEC a Form 8-K quantifying the

 impact of the regulatory investigations reported on August 5, 2011, stating among other things that it

 would take at least a $115 million after-tax charge to increase its reserves in connection with its use

 or failure to use the SSA-DMF to identify deceased policyholders:
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           MetLife, Inc. . . . has identified the following non-recurring charges that it expects to
           incur for the third quarter of 2011:

                           (1)     The Company expects to incur a $115 million to $135 million,
                   after tax, charge to adjust reserves in connection with the Company’s use of
                   the U.S. Social Security Administration’s Death Master File and similar
                   databases to identify certain group life insurance certificates, individual life
                   insurance policies and other contracts where the covered person may be
                   deceased, but a claim has not yet been presented to the Company.

           228.    On October 6, 2011, Credit Suisse issued a report entitled “Quick Comment on

MET’s 3Q11.” The report detailed the disclosures in the Company’s Form 8-K of the same date

concerning the reserve charge resulting from the Company’s failure to use the SSA-DMF:

           MetLife, Inc.

           Quick Comment on MET’s 3Q11

           ▪       Action/Event: Today MET disclosed it would incur total charges of
                   $235mm-$275mm (or $197mm-$237mm excluding the normal quarterly
                   catastrophe load) related to three items. The charges were due to: (1) a $115-
                   $135mm after tax charge related to claim reconciliation with the US Social
                   Security Administration’s Death Master File (11c-13c/sh) . . . .

           ▪       The $115mm-$135mm is an addition to reserves from an internal review
                   that determined future liabilities are in excess of current reserves,
                   reinsurance and IBNR. MET conducted an internal review in which it
                   matched deceased policyholders with the U.S. Social Security
                   Administration’s Death Master File and determined situations where the
                   individual may be deceased but the related claim had not yet been filed. The
                   reserve addition relates 75% to group business and 25% to individual life
                   policies.

           229.    On the October 6, 2011 disclosures, the Company’s stock price declined from $30.69

on October 6, 2011 to $28.80 on October 7, 2011.

           230.    On October 27, 2011, the Company issued a press release announcing its 3Q11

financial results. The press release stated as follows:

                   METLIFE ANNOUNCES THIRD QUARTER 2011 RESULTS

                                              *       *       *

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           MetLife, Inc. . . . today reported third quarter 2011 net income of $3.6 billion, or
           $3.33 per share, and operating earnings of $1.2 billion, or $1.11 per share.

                                            *       *       *

           THIRD QUARTER 2011 SUMMARY

                 Operating earnings of $1.2 billion, or $1.11 per share, reflecting:

                          a $117 million ($0.11 per share), after tax, charge to increase
                           reserves in connection with the company’s use of the U.S. Social
                           Security Administration’s Death Master File and similar
                           databases to identify potential life insurance claims that have not
                           yet been presented to the company; the charge mostly impacted the
                           Insurance Products segment

           231.   On October 28, 2011, the Company held a conference call for analysts and investors

to discuss the Company’s 3Q11 financial results and explain the impact of the $117 million after-tax

charge on earnings, its group and individual life business and mortality ratios. The Company

reported that its individual life mortality rate was a whopping 98.5% and group life mortality ratio

was also 98.5%:

           [KANDARIAN:] As noted in the 8-K we filed October 6, MetLife recorded a
           number of one-time charges in the third quarter. Absent these charges and some
           other one-time items, MetLife’s earnings would have been $1.28 per share, which
           we believe is closer to the Company’s true earnings power.

                                            *       *       *

           [WHEELER:] There were several unusual items in this quarter. First, we have
           taken an after-tax charge of $117 million or $0.11 per share to increase reserves in
           connection with our use of the US Social Security Administration’s Death Master
           File and similar databases to identify potential life insurance claims for pending
           and incurred, but not reported claim liabilities referred to as IBNR – over 70% of
           the charges in our Group Life business, nearly 25% in Individual Life with the
           balance in Corporate Benefit Funding.

                                            *       *       *

                   The Group Life mortality ratio for the quarter was 98.5%. It’s elevated due
           to the reserve strengthening related to the life insurance claims adjustment that I
           mentioned previously. . . .

                                            *       *       *

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                   Our Individual Life mortality ratio for the quarter was 98.5%, elevated due
           to the reserve strengthening related to the life insurance claims adjustment that I
           mentioned previously.

                                                     *          *          *

                     While reserve adjustments go through the income statement . . . .

           232.      In addition to the details of the financial impact of the reserve charge, the report

stated that both group life and individual life mortality rates had skyrocketed to 98.5%, higher than

had been reported at any time since 1Q09:

                            Reported Mortality Ratios During the Relevant Period
              1Q09       2Q09     3Q09      4Q09         1Q10       2Q10       3Q10       4Q10      1Q11      2Q11      3Q11
   Reported
             G 92.2%   G 91.3%   G 92.2%   G 89.7%   G 89.5%    G 86.6%         G 89%    G 89.7%   G 88.2%   G 82.1%   G 98.5%
   Mortality
             I 82.6%   I 74.9%   I 91.1%   I 81.1%   I 87.6%    I 80.4%        I 86.7%   I 82.9%   I 92.5%   I 84.4%   I 98.5%
    Ratio




           233.      On February 28, 2012, the Company filed its Form 10-K for the year ended

December 31, 2011. The Form 10-K made additional disclosures about the impact of the

Company’s historical failure to use the SSA-DMF and the effect on the Company’s financial

statements:

           On an annual basis, we perform experience studies, as well as update our
           assumptions surrounding both expected policyholder behaviors and the related
           investment environment. These updates, commonly known as unlocking events,
           result in changes to certain insurance related liabilities, DAC and revenue
           amortization. The impact of updates to our assumptions, in both 2011 and 2010
           primarily related to policyholder behaviors, such as projected premium
           assumptions and various factors impacting persistency, coupled with insurance
           related refinements, resulted in a net increase to operating earnings of $41 million.
           Partially offsetting these favorable impacts was a $109 million charge, recorded in
           the third quarter of the current year, related to our use of the Death Master File, in
           both our group and individual life businesses.

                                                     *          *          *

                  The Company’s use of the Death Master File in connection with our post-
           retirement benefit business resulted in a charge in the third quarter of the current year
           of $8 million. Other insurance liability refinements and mortality results
           negatively impacted our year-over-year operating earnings by $20 million.
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                                              COUNT III

                            Violations of Section 11 of the Securities Act
                                       Against All Defendants

           234.   Plaintiff repeats and reallege each and every allegation contained above in ¶¶197-233

as if fully set forth herein.

           235.   This Count is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, and is

asserted against all defendants on behalf of themselves and all persons who purchased or acquired

MetLife common stock pursuant or traceable to the August 3, 2010 Registration Statement Offering

and the March 4, 2011 Registration Statement Offering. For purposes of this Count, plaintiff

affirmatively states that it does not allege that defendants committed intentional or reckless

misconduct or that defendants acted with scienter or fraudulent intent.

           236.   Lead Plaintiff Central States purchased 8,394 shares of MetLife common stock on

August 3, 2010 at $42.00 pursuant to and traceable to the August 3, 2010 Registration Statement and

was damaged thereby. Central States also purchased 72,120 shares of MetLife common stock on

March 3, 2011, at $43.25 and 51,800 shares on March 4, 2011, pursuant to and traceable to the

March 4, 2011 Registration Statement has been damaged thereby.

           237.   The August 3, 2010 Registration Statement and the March 4, 2011 Registration

Statement were both defective and inaccurate, contained untrue statements of material fact and

omitted to state facts necessary to make the statements in the Offering Materials made not

misleading, and omitted to state material facts required to be stated therein.

           238.   The August 3, 2010 Registration Statement was signed by Henrikson, Wheeler,

Burwell, Grisé, Hubbard, Keane, Kilts, Price, Satcher, Sicchitano and Wang.




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           239.   The March 4, 2011 Registration Statement was signed by Henrikson, Wheeler,

Carlson, Burwell, Wright, Grisé, Hubbard, Keane, Kelly, Kilts, Kinney, Price, Satcher, Sicchitano

and Wang.

           240.   Defendant MetLife is the registrant and issuer for both the Offerings. As such,

MetLife is strictly liable for the materially false statements contained in the August 3, 2010

Registration Statement and the March 4, 2011 Registration Statement.

           241.   Credit Suisse Securities (USA) LLC, Wells Fargo Securities, LLC, BofA Merrill

Lynch, Pierce, Fenner & Smith Incorporated and HSBC participated in and served as underwriters to

the August 3, 2010 Offering.

           242.   Goldman Sachs, CGMI, Credit Suisse (USA) LLC, Wells Fargo Securities, LLC,

BofA Merrill Lynch, Pierce, Fenner & Smith Incorporated and HSBC participated in and served as

underwriters to the March 4, 2011 Offering.

           243.   The Underwriter Defendants helped draft and disseminate the August 3, 2010

Offering Materials and failed to conduct an adequate due diligent investigation, which was a

substantial factor leading to the harm complained of herein.

           244.   Defendant MetLife and the Individual Defendants who signed the August 3, 2010

Registration Statement and/or March 4, 2011 Registration Statement are strictly liable for the false

and misleading statements and omissions incorporated into the registration statements.

           245.   These defendants each had a duty to make a reasonable and diligent investigation of

the truthfulness and accuracy of the statements contained in the Offering Materials. They had a duty

to ensure that such statements were true and accurate and that there were no omissions of material

facts that would make the statements misleading. In the exercise of reasonable care, the Individual

Defendants knew or should have known of the material misstatements and omissions contained in

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the Offering documents and also should have known of the omissions of material facts necessary to

make the statements made therein not misleading. As such, the Individual Defendants are liable to

Lead Plaintiff Central States and the Class.

           246.   The Underwriter Defendants were each underwriters, as that term is used in §11(a)(5)

of the Securities Act, and were sellers of MetLife common stock with respect to the Offerings and

the Company’s common stock sold through the Offering Materials. The underwriters were paid

more than $93 million in connection with the August 3, 2010 offering and more than $31 million in

connection with the March 4, 2011 offering. The Underwriter Defendants were required to

investigate with due diligence the representations contained therein to confirm that they did not

contain materially misleading statements or omit material facts.            None of the Underwriter

Defendants made a reasonable investigation or possessed reasonable grounds for the belief that the

statements described herein, which were contained in the August 3, 2010 Registration Statement and

the March 4, 2011 Registration Statement were true, were without omission of any material facts,

and/or were not misleading.

           247.   None of the untrue statements of omissions alleged herein was a forward-looking

statement, but rather, each concerned exiting facts.

           248.   Lead Plaintiff Central States purchased or acquired MetLife common stock in the

Offerings or traceable thereto in reliance upon the defective August 3, 2010 Registration Statement

and March 4, 2011 Registration Statement and without knowledge of the untruths and/or omissions

alleged herein. Plaintiff and the Class sustained damages when the price of MetLife common stock

declined substantially due to material misstatements and/or omissions in the Offering Materials.

           249.   By reasons of the conduct herein alleged, each defendant violated, and/or controlled a

person who violated §11 of the Securities Act.

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           250.   This action was brought within one year after the plaintiff discovered or reasonably

could have discovered the untrue statements and omissions. Less than three years has elapsed from

the date of the Offerings.

                                               COUNT IV

                        For Violation of Section 12(a)(2) of the Securities Act
                                       Against All Defendants

           251.   Plaintiff incorporates ¶¶197-250 by reference herein.

           252.   This claim is brought by lead plaintiff pursuant to §12(a)(2) of the Securities Act, 15

U.S.C. 77l(a)(2), on behalf of all purchasers of MetLife common stock pursuant to the Offering

Materials and is asserted against all defendants. For purposes of this Count, plaintiff does not claim

that defendants committed intentional or reckless misconduct or that defendants acted with scienter

or fraudulent intent.

           253.   Defendants were sellers and offerors and/or solicitors of purchasers of the MetLife

common stock offered pursuant to the Offering Materials for financial gain. Defendants issued,

caused to issue, and/or signed the August 3, 2010 Registration Statement and/or the March 4, 2011

Registration Statement. The Offering Materials each contained a prospectus and prospectus

supplements used to induce investors, such as plaintiff and the other members of the Class, to

purchase MetLife common stock.

           254.   The prospectus supplements and documents incorporated by reference into the

Offering Materials contained untrue statements of material fact, omitted to state other facts necessary

to make the statements therein made not misleading and omitted material facts required to be stated

therein.

           255.   Plaintiff and the other Class members did not know, nor could they have known, of

the untruths or omissions contained in the Offering Materials.

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           256.   At the time of their purchases or acquisition of MetLife shares, lead plaintiff and

other members of the Class did not know of, or in the exercise of reasonable diligence could not

have known the facts concerning the false statements/omissions alleged herein and could not have

reasonably discovered those facts prior to the Offerings.

           257.   Less than one year has elapsed between the time that plaintiff discovered or

reasonably could have discovered the facts upon which this claim is based and the time that plaintiff

filed this allegation of violations of §12(a)(2) of the Securities Act. Less than three years has

elapsed between the time that the securities upon which this Count is brought were offered to the

public and the time plaintiff filed this claim.

           258.   By reason of the false statements/omissions alleged herein, defendants violated

§12(a)(2) of the Securities Act and are liable to lead plaintiff and the Class members who purchased

or acquired MetLife common stock pursuant to the Offering Materials, each of whom has been

damaged as a result of such violation.

                                               COUNT V

                            Violation of Section 15 of the Securities Act
                    Against All Defendants Except the Underwriter Defendants

           259.   Plaintiffs repeat and reallege each and every allegation contained in ¶¶197-258 above,

as if fully set forth herein.

           260.   This Count is brought pursuant to §15 of the Securities Act, 15 U.S.C. §77o, on

behalf of Lead Plaintiff Central States and other members of the Class who purchased or otherwise

acquired MetLife common stock pursuant to the Offering Materials and who were damaged thereby

against all defendants except the underwriter defendants. For purposes of this Count, Plaintiffs

affirmatively state that they do not claim that defendants committed intentional or reckless

misconduct or that defendants acted with scienter or fraudulent intent.

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           261.   Each of the defendants except the underwriter defendants acted as controlling persons

of MetLife within the meaning of §15 of the Securities Act by virtue of his position as a director

and/or senior officer of MetLife.         By reason of their senior management positions and/or

directorships at the Company, as alleged above, all defendants except the underwriter defendants,

individually and acting pursuant to a common plan, had the power to influence and exercise the same

to cause MetLife to engage in the conduct complained of herein. Defendants were able to and did

control the contents of the Offering Materials, which contained materially false statements and

financial information and were culpable participants in the violation of §§11 and 12 of the Securities

Act alleged herein. By reason of such conduct, each of the defendants except the underwriter

defendants are liable pursuant to §15 of the Securities Act jointly and severally to plaintiffs and other

members of the Class.

XIV. SAFE HARBOR IS INAPPLICABLE TO INITIAL PUBLIC OFFERINGS

           262.   Defendants are liable for any false and misleading forward-looking statement issued

in the August 3, 2010 Registration Statement and/or March 4, 2011 Registration Statement. The

Safe Harbor provision of §27A of the Securities Act, 15 U.S.C. 77z-2(b)(2)(D), specifically excludes

those statements “made in connection with an initial public offering,” which includes all of the false

and misleading statements at issue.

XV.        CLASS ACTION ALLEGATIONS

           263.   Plaintiff brings this action as a class action pursuant to Rules 23(a) and (b)(3) of the

Federal Rules of Civil Procedure on behalf of a class consisting of all those who acquired shares of

MetLife common stock traceable to the Company’s false and misleading August 3, 2010

Registration Statement and March 4, 2011 Registration Statement for its IPO (the “Class”), and who

were damaged thereby. Excluded from the Class are defendants and their families, the officers and


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directors of the Company, at all relevant times, members of their immediate families and their legal

representatives, heirs, successors or assigns and any entity in which defendants have or had a

controlling interest.

           264.   The members of the Class are so numerous that joinder of all members is

impracticable. MetLife stock was actively traded on the NYSE. While the exact number of Class

members is unknown to plaintiff at this time and can only be ascertained through appropriate

discovery, plaintiff believes that there are hundreds, if not thousands, of members in the proposed

Class. Record owners and other members of the Class may be identified from records maintained by

MetLife or its transfer agent and may be notified of the pendency of this action by mail, using the

form of notice similar to that customarily used in securities class actions. MetLife has more than

11.5 million shares of stock outstanding.

           265.   Plaintiff’s claims are typical of the claims of the members of the Class as all members

of the Class are similarly affected by defendants’ wrongful conduct in violation of federal law that is

complained of herein.

           266.   Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

           267.   Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the Securities Act was violated by defendants’ acts as alleged herein;

                  (b)    whether statements made by defendants to the investing public in the Offering

Materials misrepresented material facts about the business, operations and management of MetLife;

and

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                  (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

           268.   A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden of

individual litigation make it impossible for members of the Class to individually redress the wrongs

done to them. There will be no difficulty in the management of this action as a class action.

XVI. PRAYER FOR RELIEF

           WHEREFORE, plaintiff prays for relief and judgment, as follows:

           A.     Determining that this action is a proper class action and certifying plaintiff as a Class

representative under Rule 23 of the Federal Rules of Civil Procedure;

           B.     Awarding compensatory damages in favor of plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

           C.     Awarding plaintiff and the Class their reasonable costs and expenses incurred in this

action, including counsel fees and expert fees;

           D.     Awarding rescission or a rescissory measure of damages; and

           E.     Such equitable/injunctive or other relief as deemed appropriate by the Court.

XVII. JURY DEMAND

           Plaintiff demands a trial by jury.




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